          Case 1:22-bk-11315                 Doc 94      Filed 11/11/22 Entered 11/11/22 13:27:28                                     Desc Main
                                                        Document     Page 1 of 226
Fill in this information to identify the case:

Debtor name         WINE CELLAR INNOVATIONS, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF OHIO, WESTERN DIVISION

Case number (if known)       1:22-bk-11315
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Fifth Third Bank                                  Checking                              2853                                             $0.00




          3.2.     Stock Yards Bank & Trust                          Checking                              1562                                             $0.00




          3.3.     North Side Bank & Trust                           Checking                              1578                                    $69,912.62



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $69,912.62
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit

8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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          Description, including name of holder of prepayment


          8.1.     Various prepaid expenses                                                                                            $26,024.00




9.        Total of Part 2.                                                                                                          $26,024.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   150,693.08       -                                   0.00 = ....                $150,693.08
                                       face amount                            doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                         $150,693.08
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)

19.       Raw materials
          Lumber in various sizes
          and other raw materials                                                         $0.00                                       $747,226.13



20.       Work in progress
          Wine racks and other
          products in process                                                             $0.00                                       $417,436.96



21.       Finished goods, including goods held for resale
          Wine racks and wine
          storage kits                                                                    $0.00                                       $142,106.17



22.       Other inventory or supplies



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 2
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             Name


23.       Total of Part 5.                                                                                                     $1,306,769.26
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                               Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Desks, chairs, cabinets, tables.                                           $3,323.00      N/A                                $3,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Office computer equipment and software.                                  $31,039.00                                         $31,039.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                           $34,039.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
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      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used       Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value           debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Numerous pieces of equipment used in the
          manufacture and production of debtor's
          products including 4 molders, a CNC Double
          End Tendonder, 2 CNC machines, finishing
          equipment, an optimizer, planing and sanding
          machines, bins, hoppers, and other equipment
          as well as spare parts for these machines.                                 $0.00                                          $350,000.00




51.       Total of Part 8.                                                                                                      $350,000.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of         Valuation method used   Current value of
          property                              extent of            debtor's interest         for current value       debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. Approximately 6
                   acres of land with
                   large buildings
                   located at 4575
                   Eastern Avenue,
                   Cincinnati, Ohio             Fee Simple                      Unknown        Tax records                                 $0.00

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                        page 4
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56.        Total of Part 9.                                                                                                                 $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           4 registered trademarks, 2 utility patents, and
           2 design patents.                                                             $0.00                                           Unknown



61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 5
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Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $69,912.62

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $26,024.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $150,693.08

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                           $1,306,769.26

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $34,039.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $350,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $1,937,437.96            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,937,437.96




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 6
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Fill in this information to identify the case:

Debtor name          WINE CELLAR INNOVATIONS, LLC

United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO, WESTERN DIVISION

Case number (if known)              1:22-bk-11315
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1    Wells Fargo Bank NA                          Describe debtor's property that is subject to a lien                   $11,000.00                 Unknown
       Creditor's Name                              Forklift
       800 Walnut Street,
       F0005-044
       Des Moines, IA 50309
       Creditor's mailing address                   Describe the lien
                                                    Security Agreement
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $11,000.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
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Fill in this information to identify the case:

Debtor name        WINE CELLAR INNOVATIONS, LLC

United States Bankruptcy Court for the:          SOUTHERN DISTRICT OF OHIO, WESTERN DIVISION

Case number (if known)           1:22-bk-11315
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Alabama                                             Check all that apply.
          50 N. Rpley St.                                        Contingent
          Montgomery, AL 36104                                   Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number 9372                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Alan Puckett                                        Check all that apply.
          2190 Forestlake Dr.                                    Contingent
          Cincinnati, OH 45244                                   Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Notice Only
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 199
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2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Alexander Steele                                   Check all that apply.
         208 Kentucky Dr.                                      Contingent
         Newport, KY 41071                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Alexis Pels                                        Check all that apply.
         2028 Emerson Ave.                                     Contingent
         Cincinnati, OH 45239                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Alonezo Corbin                                     Check all that apply.
         2670 Lehmn Rd.                                        Contingent
         Cincinnati, OH 45237                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Alred McCoy                                        Check all that apply.
         11071 Dellbrook Court                                 Contingent
         Cincinnati, OH 45241                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Amanda Eastep                                      Check all that apply.
         1238 Purcell Ave., Apt. 1                             Contingent
         Cincinnati, OH 45205                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Andrew Rigsby                                      Check all that apply.
         640 Daniel Ct.                                        Contingent
         Cincinnati, OH 45244                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Anthony J. Wilke                                   Check all that apply.
         5309 Sultana Dr.                                      Contingent
         Cincinnati, OH 45238                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         April Qadah                                        Check all that apply.
         5707 Gardenhill Ln.                                   Contingent
         Cincinnati, OH 45232                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Arizona Department of Revenue                      Check all that apply.
         1600 W. Monroe                                        Contingent
         Phoenix, AZ 85007                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Arkansas Department of Finance                     Check all that apply.
         and Admin                                             Contingent
         PO Box 8123                                           Unliquidated
         Little Rock, AR 72203-8123                            Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 5SLS               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Ashley Stevenson                                   Check all that apply.
         3502 Redskin Dr.                                      Contingent
         Cincinnati, OH 45251                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Assumption Parish Sales & Use                      Check all that apply.
         Tax Dept.                                             Contingent
         PO Drawer 920                                         Unliquidated
         Napoleonville, LA 70390                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 9725               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      WINE CELLAR INNOVATIONS, LLC                                                             Case number (if known)   1:22-bk-11315
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2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Avoyelles Parish School Board                      Check all that apply.
         221Tunica Drive West                                  Contingent
         Marksville, LA 71351                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 6790               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Beauregard Parish Sheriff Office                   Check all that apply.
         (BPSO)                                                Contingent
         PO Box 639                                            Unliquidated
         DeRidder, LA 70634-0639                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 4357               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Bossier City - Parish Sales and                    Check all that apply.
         Use tax                                               Contingent
         PO Box 71313                                          Unliquidated
         Bossier City, LA 71171-1313                           Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 9007               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Brandon Foster                                     Check all that apply.
         1551 Shenandoah Ave.                                  Contingent
         Cincinnati, OH 45237                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Brett Norris                                       Check all that apply.
         4412 Verne Ave.                                       Contingent
         Cincinnati, OH 45209                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Brian Sizemore                                     Check all that apply.
         3475 Winter Holly Rd.                                 Contingent
         Amelia, OH 45102                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Caddo Shreveport Sales and Use                     Check all that apply.
         Tax Commi                                             Contingent
         PO Box 104                                            Unliquidated
         Shreveport, LA 71161                                  Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 3164               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Caitlin Hutzel                                     Check all that apply.
         363 Red Bird Dr.                                      Contingent
         Loveland, OH 45140                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.23     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Caleb Embry                                        Check all that apply.
         2821 Clifton Ave.                                     Contingent
         Cincinnati, OH 45219                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.24     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $30,227.36   $0.00
         California Department of Tax and                   Check all that apply.
         Fee Ad                                                Contingent
         PO Box 942879                                         Unliquidated
         Sacremento, CA 94279-0001                             Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 3914               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.25     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Carl Ward                                          Check all that apply.
         939 Mohawk Trail                                      Contingent
         Milford, OH 45150                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.26     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Catherine Bailey                                   Check all that apply.
         2572 Spindlehill Dr., Apt. 7                          Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.27     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Charlene Adams                                     Check all that apply.
         3323 Queen City Ave., Apt. 6                          Contingent
         Cincinnati, OH 45238                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.28     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Charles Dmochowski                                 Check all that apply.
         4286 Bantam Ln.                                       Contingent
         Cincinnati, OH 45245                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.29     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Chiniqua Boseman                                   Check all that apply.
         6255 Beechmont Ave.                                   Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.30     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Chris Wynn                                         Check all that apply.
         20 Arroehead Dr.                                      Contingent
         Amelia, OH 45102                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.31     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Christie Chambers                                  Check all that apply.
         217 Carrel St.                                        Contingent
         Cincinnati, OH 45226                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.32     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Christopher M. Lang                                Check all that apply.
         7901 Cox Rd., Spt. #3                                 Contingent
         West Chester, OH 45069                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.33     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Christy Lukemire                                   Check all that apply.
         895 Country Club Dr.                                  Contingent
         Cincinnati, OH 45245                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.34     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Cindy Eggleston                                    Check all that apply.
         1821 De Armand Ave.                                   Contingent
         Cincinnati, OH 45239                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.35     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         City of Baton Rouge - Parish of                    Check all that apply.
         East Bat                                              Contingent
         PO Box 2590                                           Unliquidated
         Baton Rouge, LA 70821-2590                            Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 8342               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.36     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         City of Cincinnati                                 Check all that apply.
         Tax Department                                        Contingent
         805 Central Avenue, Suite 600                         Unliquidated
         Cincinnati, OH 45202                                  Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.37     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         City of Monroe, Louisiana                          Check all that apply.
         Taxation & Revenue Division                           Contingent
         PO Box 123                                            Unliquidated
         Monroe, LA 71210-0123                                 Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 1794               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.38     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         City of New Orleans Dept. of Tax                   Check all that apply.
         PO Box 61840                                          Contingent
         New Orleans, LA 61840                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 5574               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.39     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Clare Cundall                                      Check all that apply.
         3745 Ashworth Dr.                                     Contingent
         Cincinnati, OH 45208                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.40     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Colorado Saless Tax                                Check all that apply.
         Taxpayer Service Center                               Contingent
         PO Box 17087                                          Unliquidated
         Denver, CO 80217-0087                                 Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.41     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Comptroller of Maryland                            Check all that apply.
         301 W Preston St.                                     Contingent
         Baltimore, MD 21201                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.42     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Connecticut Department of                          Check all that apply.
         Revenue Servic                                        Contingent
         450 Columbus Blvd                                     Unliquidated
         Hartford, CT 06103                                    Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.43     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Corissa Beck                                       Check all that apply.
         5441 Moeller Ave. #6                                  Contingent
         Norwood, OH 45212                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.44     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Craig McDowell                                     Check all that apply.
         363 Red Bird Dr.                                      Contingent
         Loveland, OH 45140                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.45     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Crystal Nickerson                                  Check all that apply.
         443 Buckner St.                                       Contingent
         Elsmere, KY 41018                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.46     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         D'Sean D. Mayes                                    Check all that apply.
         6105 Kennedy                                          Contingent
         Cincinnati, OH 45213                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.47     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Daniel Taylor                                      Check all that apply.
         984 Clepper Lane                                      Contingent
         Batavia, OH 45103                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.48     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Darlene Goff                                       Check all that apply.
         1293 Beauregard Ct.                                   Contingent
         Milford, OH 45150                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.49     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Dasheka Edwards                                    Check all that apply.
         5618 Prentice St.                                     Contingent
         Cincinnati, OH 45227                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.50     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         David Gibbs                                        Check all that apply.
         10133 Kenwood Rd.                                     Contingent
         Cincinnati, OH 45242                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.51     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         David Hermes                                       Check all that apply.
         6718 Taylor Rd.                                       Contingent
         Cincinnati, OH 45238                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.52     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         David Jackson                                      Check all that apply.
         3679 Spring St.                                       Contingent
         Cincinnati, OH 45227                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.53     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         David Kaufmann                                     Check all that apply.
         1534 Sutton Ave.                                      Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.54     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         David Lindquist                                    Check all that apply.
         1923 Windhill Terrace                                 Contingent
         Cincinnati, OH 45255                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.55     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Desmund Smith                                      Check all that apply.
         425 Dartmouth Circle                                  Contingent
         Cincinnati, OH 45244                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.56     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Deved Gipson                                       Check all that apply.
         5002 Linden Ave.                                      Contingent
         Cincinnati, OH 45212                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.57     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Devonte Kaetzel                                    Check all that apply.
         5450 Beechmont Ave.                                   Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.58     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         District of Columbia Department of                 Check all that apply.
         Reven                                                 Contingent
         1101 4th St. SW #270                                  Unliquidated
         Washington, DC 20024                                  Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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Debtor      WINE CELLAR INNOVATIONS, LLC                                                             Case number (if known)   1:22-bk-11315
            Name

2.59     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Donna Emerson                                      Check all that apply.
         4426 Eastern Avenue                                   Contingent
         Cincinnati, OH 45226                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.60     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Dylan Crossley                                     Check all that apply.
         4102 Eastern Avenue 7                                 Contingent
         Cincinnati, OH 45226                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.61     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Elizabeth Raab                                     Check all that apply.
         3725 Simpson Ave.                                     Contingent
         Cincinnati, OH 45227                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.62     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Elmer Crider, II                                   Check all that apply.
         4525 Eastern Ave.                                     Contingent
         Cincinnati, OH 45226                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      WINE CELLAR INNOVATIONS, LLC                                                             Case number (if known)   1:22-bk-11315
            Name

2.63     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Erianna Jones                                      Check all that apply.
         4384 Eastwood Dr., Apt. 2312                          Contingent
         Batavia, OH 45103                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.64     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Erik Kuehne                                        Check all that apply.
         2590 Mural Dr.                                        Contingent
         Atlanta, GA 30304-1000                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.65     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Florida Department of Revenue                      Check all that apply.
         Pensacola Service Center                              Contingent
         2205 LA Vista Ave. STE B                              Unliquidated
         Pensacola, FL 32504-8210                              Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 0201               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.66     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         George Dean                                        Check all that apply.
         5208 Warren Ave.                                      Contingent
         Norwood, OH 45212                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.67     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Georgia Department of Revenue                      Check all that apply.
         1800 Century BLVD NE                                  Contingent
         Atlanta, GA 30345                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.68     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Greg Gilbert                                       Check all that apply.
         1804 Athens Dr.                                       Contingent
         Loveland, OH 45140                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.69     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Halle S. Redmon                                    Check all that apply.
         2840 Sheldon Ave.                                     Contingent
         Cincinnati, OH 45239                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.70     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Hamilton County Treasurer                          Check all that apply.
         County Administrative Building                        Contingent
         138 East Court Street, Room 402                       Unliquidated
         Cincinnati, OH 45202-1226                             Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.71     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Hannah Bender                                      Check all that apply.
         4122 Harding Ave.                                     Contingent
         Cincinnati, OH 45211                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.72     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Hawaii Department of Taxation                      Check all that apply.
         PO Box1530                                            Contingent
         Honolulu, HI 96806-1530                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 3926               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.73     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Helen L. Stillwell                                 Check all that apply.
         1839 Beacon                                           Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.74     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Idaho State Tax Commission                         Check all that apply.
         PO Box 56                                             Contingent
         Boise, ID 83756-0056                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.75     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $4,801.57   $0.00
         Illinois Department of Revenue                     Check all that apply.
         PO Box 19043                                          Contingent
         Springfield, IL 62794-9043                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 5545               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.76     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         Indiana Department of Revenue                      Check all that apply.
         4475 Ray Boll Blvd                                    Contingent
         Columbus, IN 47203                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.77     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         Internal Revenue Service                           Check all that apply.
         PO Box 7346                                           Contingent
         Philadelphia, PA 19101-7346                           Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.78     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         Iowa Department of Revenue                         Check all that apply.
         PO Box 10330                                          Contingent
         Des Moines, IA 50306-0330                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 1889               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.79     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         James Christian                                    Check all that apply.
         3515 McHenry #C5                                      Contingent
         Cincinnati, OH 45255                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.80     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Jeffrey Bough                                      Check all that apply.
         1172 Broadleaf Ct.                                    Contingent
         Maineville, OH 45039                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.81     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Jeffrey Conroy                                     Check all that apply.
         6165 Ridge Ave.                                       Contingent
         Cincinnati, OH 45213                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.82     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Jeffrey Morton                                     Check all that apply.
         1910 Mears Ave.                                       Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.83     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Jeffry Healion                                     Check all that apply.
         5854 Winchester Dr.                                   Contingent
         Milford, OH 45150                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.84     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Jessica Blanton                                    Check all that apply.
         3722 Coon Ave.                                        Contingent
         Williamsburg, OH 45176                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.85     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Jocelyn Jones                                      Check all that apply.
         3386 Morrison Ave., Apt. 5                            Contingent
         Cincinnati, OH 45220                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.86     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         John Michael Dean                                  Check all that apply.
         5405 Carthage Ave.                                    Contingent
         Cincinnati, OH 45212                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.87     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         John Patrick Riddle                                Check all that apply.
         998 Alnetta Dr.                                       Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.88     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Johnny A. Warren                                   Check all that apply.
         1817 Logan St., Apt. 411                              Contingent
         Cincinnati, OH 45202                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.89     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Jon Oglesby                                        Check all that apply.
         1050 Schiff Ave.                                      Contingent
         Cincinnati, OH 45205                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.90     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Jonah Crider                                       Check all that apply.
         454 Teatherwood                                       Contingent
         Harrison, OH 45030                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.91     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Joseph Glass                                       Check all that apply.
         6234 E. North Shadow Hill Way                         Contingent
         Loveland, OH 45140                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.92     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Josh Kenney                                        Check all that apply.
         8717 Livingston Rd.                                   Contingent
         Cincinnati, OH 45251                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.93     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Juan Diaz                                          Check all that apply.
         201 West 11 St.                                       Contingent
         Newport, KY 41071                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.94     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Justine Papayiannis                                Check all that apply.
         484 Old St. Rt. 74                                    Contingent
         Cincinnati, OH 45244                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.95     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Kansas Department of Revenue                       Check all that apply.
         120 SE 10th Ave                                       Contingent
         Topeka, KS 66612                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.96     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Kayla George                                       Check all that apply.
         2024 Maple Ave.                                       Contingent
         Norwood, OH 45212                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.97     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Keith Lewis                                        Check all that apply.
         894 Laverty Lane                                      Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.98     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Keith Schwab                                       Check all that apply.
         5000 Chantilly Lane                                   Contingent
         Cincinnati, OH 45238                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.99     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Kentucky Department of Revenue                     Check all that apply.
         PO Box 181                                            Contingent
         Frankfort, KY 40602-0181                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 7351               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.100    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Kesean Davis                                       Check all that apply.
         2140 Fulton Ave.                                      Contingent
         Cincinnati, OH 45206                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.101    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Krissy Angel                                       Check all that apply.
         1809 Williams Ave. #6                                 Contingent
         Norwood, OH 45212-4521                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.102    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Lafourche Parish Sales & Use Tax                   Check all that apply.
         Departm                                               Contingent
         PO Box 997                                            Unliquidated
         Thiodaux, LA 70302                                    Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 5471               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.103    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         LaSalle Parish                                     Check all that apply.
         PO Box 190                                            Contingent
         Vidalia, LA 71373                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 7091               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.104    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Laura Johnson                                      Check all that apply.
         1275 Henkel Dr.                                       Contingent
         Cincinnati, OH 45205                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.105    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Layfayette Parish School System                    Check all that apply.
         Sales Ta                                              Contingent
         PO Box 3883                                           Unliquidated
         Lafayette, LA 70502-3883                              Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 3946               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.106    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Lisa Ingram                                        Check all that apply.
         3823 Vincent Ave.                                     Contingent
         Cincinnati, OH 45205                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.107    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Livingston Parish School Board                     Check all that apply.
         Sales Tax                                             Contingent
         PO Box 1030                                           Unliquidated
         Livingston, LA 70754-1030                             Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 3501               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.108    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Lolita Boykins                                     Check all that apply.
         5035 Wesley Ave.                                      Contingent
         Norwood, OH 45212                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.109    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Louisiana Department of Revenue                    Check all that apply.
         617 N 3rd St.                                         Contingent
         Batton Rouge, LA 70802                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 9001               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.110    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Lucas Ober                                         Check all that apply.
         6824 Salem Rd.                                        Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.111    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Luke Bading                                        Check all that apply.
         736 Hand Ave., Apt. 1                                 Contingent
         Cincinnati, OH 45232                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.112    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Luke Gehler                                        Check all that apply.
         4772 Rapid Run                                        Contingent
         Cincinnati, OH 45238                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.113    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Luke Ridener                                       Check all that apply.
         4439 Kitty Lane                                       Contingent
         Batavia, OH 45103                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.114    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Maine Revenue Services                             Check all that apply.
         51 Commerce Dr.                                       Contingent
         Augusta, ME 04330                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 9372               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.115    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Mariah Troher                                      Check all that apply.
         189 Ridge Rd.                                         Contingent
         New Richmond, OH 45157                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.116    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Marquon Phillips                                   Check all that apply.
         2226 Salvador St.                                     Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.117    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Mason Scott                                        Check all that apply.
         2024 Maple Ave.                                       Contingent
         Norwood, OH 45212                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.118    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Massachusetts Department of                        Check all that apply.
         Revenue                                               Contingent
         436 Dwight St. Suite 312                              Unliquidated
         Springfield, MA 01103                                 Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.119    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Matthew R. Fox                                     Check all that apply.
         3285 Nash Ave.                                        Contingent
         Cincinnati, OH 45226                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.120    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Maurice H. Burns                                   Check all that apply.
         125 Glenridge Pl.                                     Contingent
         Cincinnati, OH 45217                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.121    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         McKailah Therrien                                  Check all that apply.
         3679 Spring St.                                       Contingent
         Cincinnati, OH 45227                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.122    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Melissa Wilson                                     Check all that apply.
         4001 Brandy Chase Way                                 Contingent
         Cincinnati, OH 45245                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.123    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Michael Berry                                      Check all that apply.
         1958 Gaarden Lane                                     Contingent
         Cincinnati, OH 45237                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.124    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Michigan Department of Treasury                    Check all that apply.
         430 W Allegan St.                                     Contingent
         Lansing, MI 48933                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.125    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Minnesota Department of Revenue                    Check all that apply.
         600 Robert St. N                                      Contingent
         St. Paul, MN 55101                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.126    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Mississippi Department of                          Check all that apply.
         Revenue                                               Contingent
         500 Clinton Center Dr.                                Unliquidated
         Clinton, MS 39056                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.127    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Missouri Department of Revenue                     Check all that apply.
         301 W High St.                                        Contingent
         Jefferson City, MO 65101                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.128    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Monica Dominick                                    Check all that apply.
         1000 Clepper Lane                                     Contingent
         Batavia, OH 45103                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.129    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Nebraska                                           Check all that apply.
         PO Box 98934                                          Contingent
         Lincoln, NE 68509-8934                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 9413               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.130    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Nevada Department of Revenue                       Check all that apply.
         700 E Warm Springs RD 2nd Floor                       Contingent
         Las Vegas, NV 89119                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.131    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         New Jersey Division of Taxation                    Check all that apply.
         PO Box 999                                            Contingent
         Trenton, NJ 08646-0999                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2                  Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.132    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         New Mexico Taxation Revenue                        Check all that apply.
         1200 South St. Francis Drive                          Contingent
         Santa Fe, NM 87505                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 0032               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.133    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Nicholas Benhase                                   Check all that apply.
         5412 Country Lane                                     Contingent
         Milford, OH 45150                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.134    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         North Carolina                                     Check all that apply.
         PO Box 25000                                          Contingent
         Raleigh, NC 27640-0640                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 9840               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.135    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         NYS Sales Tax processing                           Check all that apply.
         PO Box 15172                                          Contingent
         Albany, NY 12212-5172                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2651               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.136    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $6,397.39   $0.00
         Ohio (CATax)                                       Check all that apply.
         PO Box 16158                                          Contingent
         Columbus, OH 43216-6158                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 9825               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.137    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         Ohio - sales tax                                   Check all that apply.
         PO Box182131                                          Contingent
         Columbus, OH 43218-2401                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number Deckebach,         Is the claim subject to offset?
         James L                                               No
         Specify Code subsection of PRIORITY                   Yes
         unsecured claim: 11 U.S.C. § 507(a) (8)


2.138    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00    $0.00
         Ohio Department of Taxation                        Check all that apply.
         Attn: Bankruptcy Division                             Contingent
         PO Box 530                                            Unliquidated
         Columbus, OH 43215-0530                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.139    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Oklahoma Tax Commission                            Check all that apply.
         PO Box 269058                                         Contingent
         Oklahoma City, OK 73126-9058                          Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 8502               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.140    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Oren P. Willenbrink                                Check all that apply.
         5553 Old Blue Rock Rd., #134                          Contingent
         Cincinnati, OH 45247                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.141    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         PA Department of Revenue                           Check all that apply.
         PO Box 280427                                         Contingent
         Harrisburg PA, PA 17128-0427                          Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.142    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Patrick Kirschman                                  Check all that apply.
         6729 Lebanon St.                                      Contingent
         Cincinnati, OH 45216                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      WINE CELLAR INNOVATIONS, LLC                                                             Case number (if known)   1:22-bk-11315
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2.143    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Peter J. McOwen III                                Check all that apply.
         1814 Beacon St.                                       Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.144    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Raymond Weathers                                   Check all that apply.
         3690 Vint St.                                         Contingent
         Cincinnati, OH 45220                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.145    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Rhode Island Division of Taxation                  Check all that apply.
         One Capitol Hill                                      Contingent
         Providence, RI 02908                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 5100               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.146    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Richard Depew                                      Check all that apply.
         124 North Street                                      Contingent
         Southgate, KY 41071                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.147    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Richard Humpries                                   Check all that apply.
         5420 Kentucky HWY 16                                  Contingent
         Warsaw, KY 41095                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.148    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Richard Symes                                      Check all that apply.
         6515 Rainbow Lane                                     Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.149    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Robert Copas                                       Check all that apply.
         107 Pamela Dr.                                        Contingent
         Morrow, OH 45152                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.150    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Robert Goering, Hamilton County                    Check all that apply.
         Treasure                                              Contingent
         County Administraive Building                         Unliquidated
         138 East Court Street, Room 402                       Disputed
         Cincinnati, OH 45202-1226
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.151    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Robert Marois                                      Check all that apply.
         604 Front St.                                         Contingent
         New Richmond, OH 45147                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.152    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Ronald Edwards                                     Check all that apply.
         274 Redbird Road                                      Contingent
         Loveland, OH 45140                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.153    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Ronald Patterson                                   Check all that apply.
         6242 Corbly St. #3                                    Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.154    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Ronald Shelton                                     Check all that apply.
         12161 First Ave.                                      Contingent
         Cincinnati, OH 45249                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.155    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Sammy Taylor                                       Check all that apply.
         3203 Colerain                                         Contingent
         Cincinnati, OH 45225                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.156    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Sarah O'Connell                                    Check all that apply.
         1505 Manss Ave.                                       Contingent
         Cincinnati, OH 45205                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.157    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Sebastian Purdon                                   Check all that apply.
         6706 Salem Rd.                                        Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.158    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Sha-on Crumes                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.159    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Shannon Zimmeman                                   Check all that apply.
         5572 Hillside Ave.                                    Contingent
         Cincinnati, OH 45233                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.160    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Sharon M. Reinecke                                 Check all that apply.
         8612 Blue Ash Road                                    Contingent
         Cincinnati, OH 45242                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.161    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         South Carolina Department of                       Check all that apply.
         Revenue                                               Contingent
         Tax Payer and Business services                       Unliquidated
         PO Box125                                             Disputed
         Columbia, SC 29214-0400
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 4886               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.162    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         South Dakota Department of                         Check all that apply.
         Revenue                                               Contingent
         445 E CapitalAve                                      Unliquidated
         Pierre, SD 57501                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 9467               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.163    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         St. Charles Parish School Board                    Check all that apply.
         Sales an                                              Contingent
         13855River Road                                       Unliquidated
         Luining, LA 70070                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2299               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.164    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         St. Martin Parish School Board                     Check all that apply.
         Saless &                                              Contingent
         PO Box 1000                                           Unliquidated
         Breaux Bridge, LA 70517                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 5055               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.165    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Stanley G. Holt                                    Check all that apply.
         1862 Fairfax Ave.                                     Contingent
         Cincinnati, OH 45207                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.166    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         State of North Dakota Office of                    Check all that apply.
         State Ta                                              Contingent
         600 E.Boulevard Ave Dpartment                         Unliquidated
         127                                                   Disputed
         Bismark, ND 58505-0599
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 7351               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.167    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Stefanie Rene George                               Check all that apply.
         2024 Maple Ave.                                       Contingent
         Norwood, OH 45212                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.168    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Susan Haunert                                      Check all that apply.
         2359 Beechmont Ave.                                   Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.169    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Sydney Calhoun                                     Check all that apply.
         1208 Market St.                                       Contingent
         Reading, OH 45215                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.170    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Tangipahoa Parish School System                    Check all that apply.
         - Sales                                               Contingent
         PO Box 159                                            Unliquidated
         Amite, LA 70422-0159                                  Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 9455               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.171    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Tasha Byrnside                                     Check all that apply.
         3442 Zumstein Ave.                                    Contingent
         Cincinnati, OH 45208                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.172    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Temperance Mason                                   Check all that apply.
         1970 Catalina Ave., Apt. 1                            Contingent
         Cincinnati, OH 45237                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.173    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Tennessee Department of Revenue                    Check all that apply.
         500 Deaderick St.                                     Contingent
         Nashville, TN 37242                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.174    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Terdell Johnson                                    Check all that apply.
         5470 Beechmont Ave., Apt. 4                           Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.175    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Terri Fermann                                      Check all that apply.
         2608 Old Forge                                        Contingent
         Cincinnati, OH 45244                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.176    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Texas Department of Revenue                        Check all that apply.
         PO Box 149348                                         Contingent
         Austin TX, TX 78714-9348                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.177    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Thomas Dean                                        Check all that apply.
         5405 Carthage Ave.                                    Contingent
         Norwood, OH 45212                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.178    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Todd Lawry                                         Check all that apply.
         2194 St. Rt. 28                                       Contingent
         Goshen, OH 45122                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.179    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Todd Winston                                       Check all that apply.
         4361 Eastern Ave.                                     Contingent
         Cincinnati, OH 45226                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.180    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Todd Witteride                                     Check all that apply.
         7047 Bridgetown Rd.                                   Contingent
         Cincinnati, OH 45248                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.181    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Tommy Hornback                                     Check all that apply.
         1831 Mears Ave.                                       Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.182    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Tony Crumpley                                      Check all that apply.
         3645 Summerdale                                       Contingent
         Cincinnati, OH 45248                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.183    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Trevor Montavon                                    Check all that apply.
         10613 West Rd.                                        Contingent
         Harrison, OH 45030                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.184    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Tristan Kanu                                       Check all that apply.
         1824 Mears Ave., Apt. 10                              Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.185    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Tyler Hillebrand                                   Check all that apply.
         198 Cardinal Dr.                                      Contingent
         Cincinnati, OH 45244                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.186    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Tyrone P. Marshall                                 Check all that apply.
         1808 Sutton ave.                                      Contingent
         Cincinnati, OH 45230                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.187    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Uriah Hendrickson                                  Check all that apply.
         4245 Eastern Ave.                                     Contingent
         Cincinnati, OH 45226                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.188    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Utah State Tax Commission Sales                    Check all that apply.
         Tax                                                   Contingent
         210 N 1950 W                                          Unliquidated
         SLC, UT 84134-0400                                    Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2STC               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.189    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Vaughn Burger                                      Check all that apply.
         4562 Tealtown Road                                    Contingent
         Amelia, OH 45102                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.190    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Vaughn Gray                                        Check all that apply.
         918 N. Co. Rd. 450 E.                                 Contingent
         Milan, IN 47031                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.191    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Vermont Department of Taxation                     Check all that apply.
         133 State Street                                      Contingent
         Montpelier, VT 05633-1401                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 4113               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.192    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Vernon H. Taylor                                   Check all that apply.
         1000 Clepper Ln.                                      Contingent
         Batavia, OH 45103                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.193    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Victor Stuckey                                     Check all that apply.
         4226 Mad Anthony St.                                  Contingent
         Cincinnati, OH 45223                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.194    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Virginia Department of Revenue                     Check all that apply.
         1957 Westmorland St.                                  Contingent
         Richmond, VA 23230                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.195    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Washington Department of                           Check all that apply.
         Revenue                                               Contingent
         1330 N Washington St.                                 Unliquidated
         Spokane, WA 99201                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.196    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         West Virginia Department of                        Check all that apply.
         Revenue                                               Contingent
         397 Mid Atlandic Blvd                                 Unliquidated
         Martinsburg, WV 25404                                 Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.197    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         William Dates                                      Check all that apply.
         12062 Hazelhurst                                      Contingent
         Cincinnati, OH 45240                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.198    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $0.00   $0.00
         Wisconsin Department of Revenue                    Check all that apply.
         2135 Rimrock Rd.                                      Contingent
         Madison, WI 53708                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number NA                 Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




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2.199     Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          Wyoming Department of Revenue                        Check all that apply.
          122 W 25th St.                                          Contingent
          Cheyenne, WY 82001                                      Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number NA                   Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,751.03
          Aaron E. Canale                                                        Contingent
          27 8th St.                                                             Unliquidated
          PETALUMA, CA 94952                                                     Disputed
          Date(s) debt was incurred 4/18/2022
                                                                             Basis for the claim:
          Last 4 digits of account number 5700
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,292.19
          Aaron Zelikovitz                                                       Contingent
          14 Menocker rd                                                         Unliquidated
          CHESTNUT RIDGE, NY 10952                                               Disputed
          Date(s) debt was incurred 5/27/2022
                                                                             Basis for the claim:
          Last 4 digits of account number 2901
                                                                             Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,174.38
          Abdul Safi                                                             Contingent
          East EndPenn LLC Restaurant                                            Unliquidated
          1602 U St. NW                                                          Disputed
          WASHINGTON, DC 20009
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/2/2022
          Last 4 digits of account number 2400                               Is the claim subject to offset?     No       Yes


3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          AC Contractors                                                         Contingent
          Andrew Roberts                                                         Unliquidated
          3830 Gilmor Rd.                                                        Disputed
          LONGVIEW, TX 75604
                                                                             Basis for the claim:
          Date(s) debt was incurred 4/28/2021
          Last 4 digits of account number 4900                               Is the claim subject to offset?     No       Yes


3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,187.55
          Accurate Cutting Technologies                                          Contingent
          1111 Country Club Rd.                                                  Unliquidated
          Indianapolis, IN 46234                                                 Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         ACE Wine and Spirits                                         Contingent
         Justin Kirkland                                              Unliquidated
         514 Long Meadow St.                                          Disputed
         Kissimmee, FL 34747
                                                                   Basis for the claim:
         Date(s) debt was incurred 8/6/2020
         Last 4 digits of account number 9722                      Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Action Heating and Air, INC.                                 Contingent
         Derek Boschert                                               Unliquidated
         NA                                                           Disputed
         CRESCENT SPG, KY 41017
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/25/2021
         Last 4 digits of account number 2200                      Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Adam Evers                                                   Contingent
         1111 Bowman Rd.                                              Unliquidated
         Mt. Pleasant, SC 29464                                       Disputed
         Date(s) debt was incurred 4/28/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2300
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,621.64
         Adam Jacobs                                                  Contingent
         4240 Cambridge Court                                         Unliquidated
         ORANGE VILLAGE, OH 44122                                     Disputed
         Date(s) debt was incurred 4/27/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0203
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,742.00
         Adam Richards                                                Contingent
         3671 Tuxedo Rd NW                                            Unliquidated
         ATLANTA, GA 30305                                            Disputed
         Date(s) debt was incurred  5/10/2022                      Basis for the claim:
         Last 4 digits of account number 8603
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,310.00
         Adam Truesley                                                Contingent
         1840 Greenspring Valley Rd                                   Unliquidated
         STEVENSON, MD 21153                                          Disputed
         Date(s) debt was incurred 3/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5001
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Adam Trusley                                                 Contingent
         1840 Greenspring Valley Rd                                   Unliquidated
         STEVENSON, MD 21153                                          Disputed
         Date(s) debt was incurred 3/17/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5005
                                                                   Is the claim subject to offset?     No       Yes




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3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,756.45
         Adam Zangi                                                   Contingent
         Artistic Kitchen Designs                                     Unliquidated
         3003 Sequit Dr.                                              Disputed
         BROOKLYN, NY 11230
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number 1203                      Is the claim subject to offset?     No       Yes


3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Advent Air Conditioning and Heating                          Contingent
         Brian Pyfer                                                  Unliquidated
         244 Centenial Rd.                                            Disputed
         WARMINSTER, PA 18974
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/24/2022
         Last 4 digits of account number 7100                      Is the claim subject to offset?     No       Yes


3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Affordable Air and Heat                                      Contingent
         Larry Stuckey                                                Unliquidated
         13109 FM 1764                                                Disputed
         Santa Fe, TX 77510
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/5/2021
         Last 4 digits of account number 8300                      Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Air and Heat Service                                         Contingent
         Brad Lot                                                     Unliquidated
         126 Tuttle Lane                                              Disputed
         Byhalia, MS 38611
                                                                   Basis for the claim:
         Date(s) debt was incurred  1/13/2021
         Last 4 digits of account number 6001                      Is the claim subject to offset?     No       Yes


3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Air Conditioning Specialists                                 Contingent
         Kenny Thigpen                                                Unliquidated
         500 Hamond Rd                                                Disputed
         MILLEDGEVILLE, GA 31061
                                                                   Basis for the claim:
         Date(s) debt was incurred 10/15/2020
         Last 4 digits of account number 7300                      Is the claim subject to offset?     No       Yes


3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $280,600.36
         Air Innovations - Wine Guardian                              Contingent
         7000 Performance Drive                                       Unliquidated
         North Syracuse, NY 13212
                                                                      Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Air Max                                                      Contingent
         Scott Ward                                                   Unliquidated
         216 W Pecan St.                                              Disputed
         CELINA, TX 75009
                                                                   Basis for the claim:
         Date(s) debt was incurred  12/22/2020
         Last 4 digits of account number 2400                      Is the claim subject to offset?     No       Yes




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3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Air Systems AC, LLC                                          Contingent
         Rene                                                         Unliquidated
         4698 NW 133 St.                                              Disputed
         OPA LOCKA, FL 33054
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/23/2020
         Last 4 digits of account number 2110                      Is the claim subject to offset?     No       Yes


3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Airtron Heating and Air Conditioning                         Contingent
         Ashley Cooper                                                Unliquidated
         NA                                                           Disputed
         FREDERICK, MD 21704
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/11/2021
         Last 4 digits of account number 8500                      Is the claim subject to offset?     No       Yes


3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $775.31
         Akram Rafla                                                  Contingent
         60 Buckskin Drive                                            Unliquidated
         Weston, MA 02493                                             Disputed
         Date(s) debt was incurred  4/19/2022                      Basis for the claim:
         Last 4 digits of account number 9700
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,000.00
         Alan and Tina Helfer                                         Contingent
         15066 Audrey Jean Drive                                      Unliquidated
         WATERFORD, VA 20197                                          Disputed
         Date(s) debt was incurred 5/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8000
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,256.49
         Alan Caudill                                                 Contingent
         18 Beck Street                                               Unliquidated
         NEWBURYPORT, MA 01950                                        Disputed
         Date(s) debt was incurred 6/4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5800
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,100.00
         Alan Kennedy                                                 Contingent
         Email contact only.                                          Unliquidated
         CHARLOTTE, NC 28105                                          Disputed
         Date(s) debt was incurred 1/27/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 2600
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,992.40
         Alex Bermingham                                              Contingent
         32 Overlook Place                                            Unliquidated
         RYE, NY 10580                                                Disputed
         Date(s) debt was incurred  5/6/2022                       Basis for the claim:
         Last 4 digits of account number 2101
                                                                   Is the claim subject to offset?     No       Yes




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3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,227.99
         Alex Bushoy                                                  Contingent
         60 walnut hill rd                                            Unliquidated
         CHESTNUT HILL, MA 02467                                      Disputed
         Date(s) debt was incurred 6/8/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4700
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,749.28
         Alex Loyfman                                                 Contingent
         999Sheritan Rd                                               Unliquidated
         Highland Park, IL 60035                                      Disputed
         Date(s) debt was incurred 5/25/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5100
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Alex Orozco                                                  Contingent
         109 N oregon St.                                             Unliquidated
         EL PASO, TX 79901                                            Disputed
         Date(s) debt was incurred  4/28/2021                      Basis for the claim:
         Last 4 digits of account number 9601
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,420.48
         Alex Ranello                                                 Contingent
         105 Circle Drive                                             Unliquidated
         Hawley, PA 18428                                             Disputed
         Date(s) debt was incurred  5/13/2022                      Basis for the claim:
         Last 4 digits of account number 4503
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Alex Smith                                                   Contingent
         3140 Esquire Dr                                              Unliquidated
         MURFREESBORO, TN 37130                                       Disputed
         Date(s) debt was incurred 5/12/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 1600
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $855.89
         Alexander Cornu                                              Contingent
         100 Montage Way                                              Unliquidated
         Healkbury, CA 35448                                          Disputed
         Date(s) debt was incurred  4/20/2022                      Basis for the claim:
         Last 4 digits of account number 9401
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,242.81
         Alexis Mendenhall                                            Contingent
         2011 Walnut BLVD                                             Unliquidated
         Wa;mit Creel, CA 94597                                       Disputed
         Date(s) debt was incurred 6/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9900
                                                                   Is the claim subject to offset?     No       Yes




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3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Alice Arriola                                                Contingent
         Fresno Sierra Contr., In                                     Unliquidated
         1454 N Clark St.                                             Disputed
         Fresno, CA 93703
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/27/2022
         Last 4 digits of account number 6261                      Is the claim subject to offset?     No       Yes


3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $978.03
         Alison Alfers                                                Contingent
         1918 Bryce Court                                             Unliquidated
         EVERGREEN, CO 80439                                          Disputed
         Date(s) debt was incurred 5/26/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3700
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Allegheny Refrigeration                                      Contingent
         Jack Heisler                                                 Unliquidated
         1228 Brighton Rd.                                            Disputed
         PITTSBURGH, PA 15233
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/1/2021
         Last 4 digits of account number 4100                      Is the claim subject to offset?     No       Yes


3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         ALLIED SERVICES                                              Contingent
         Chris Sourlis                                                Unliquidated
         109 South Diamond Mill Rd.                                   Disputed
         CLAYTON, OH 45315
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/12/2020
         Last 4 digits of account number 1900                      Is the claim subject to offset?     No       Yes


3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $658.44
         Altafiber                                                    Contingent
         PO Box 748003                                                Unliquidated
         Cincinnati, OH 45274-8003                                    Disputed
         Date(s) debt was incurred 7/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $59.94
         Amazon                                                       Contingent
         PO Box 81226                                                 Unliquidated
         Seattle, WA 98108                                            Disputed
         Date(s) debt was incurred  5/17/2022                      Basis for the claim:
         Last 4 digits of account number 5000
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $167,069.61
         American Coradius International-PayPal                       Contingent
         2420 Sweet Home Rd. STE 160                                  Unliquidated
         Amherst, NY 14228-2244
                                                                      Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $569.00
         American Elevators                                           Contingent
         235 Stark St.                                                Unliquidated
         Cincinnati, OH 45214                                         Disputed
         Date(s) debt was incurred   5/1/2022                      Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $756,633.41
         American Express-Global Merchant Service                     Contingent
         PO Box 299051                                                Unliquidated
         Ft. Lauderdale, FL 33329-9051
                                                                      Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         American HVAC & Refrigeration Inc                            Contingent
         Dina Gittlitz                                                Unliquidated
         7423 Amboy Rd.                                               Disputed
         STATEN ISLAND, NY 10307
                                                                   Basis for the claim:
         Date(s) debt was incurred 8/30/2021
         Last 4 digits of account number 1200                      Is the claim subject to offset?     No       Yes


3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,576.66
         American Metal Supply                                        Contingent
         PO Box 714597                                                Unliquidated
         Cincinnati, OH 45271-4597                                    Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Ami Patel                                                    Contingent
         425 Woodard Place                                            Unliquidated
         POWELL, OH 43065                                             Disputed
         Date(s) debt was incurred  7/12/2018                      Basis for the claim:
         Last 4 digits of account number 9132
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $844.20
         Amy Gilleran                                                 Contingent
         2005 CONTRA COSTA AVE                                        Unliquidated
         SANTA ROSA, CA 95405                                         Disputed
         Date(s) debt was incurred 6/12/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3200
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Amy Heinz                                                    Contingent
         28026 Sugarside Glen Dr                                      Unliquidated
         Katy, TX 77494                                               Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8100
                                                                   Is the claim subject to offset?     No       Yes




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3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Anderson Heating and Air                                     Contingent
         Anderson Heating and Air                                     Unliquidated
         780 old Hendersonville Hwy                                   Disputed
         BREVARD, NC 28712
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/22/2022
         Last 4 digits of account number 1700                      Is the claim subject to offset?     No       Yes


3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $197.36
         Andrea Grissom                                               Contingent
         15913 W. Lake Burrell Dr.                                    Unliquidated
         LUTZ, FL 33549                                               Disputed
         Date(s) debt was incurred 6/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8000
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Andrei Gourji                                                Contingent
         611 Taylor Way Unit 6                                        Unliquidated
         SAN CARLOS, CA 94070                                         Disputed
         Date(s) debt was incurred 6/3/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 6302
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Andrew and Vinkey Allen                                      Contingent
         2374 Greenwich St                                            Unliquidated
         SAN FRANCISCO, CA 94123                                      Disputed
         Date(s) debt was incurred 3/9/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 1600
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Andrew Farkas                                                Contingent
         54 Feny R.                                                   Unliquidated
         Northhaven, NY 11963                                         Disputed
         Date(s) debt was incurred 7/10/2017
                                                                   Basis for the claim:
         Last 4 digits of account number 1900
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $370.00
         Andrew Lingo                                                 Contingent
         4995 Breeders Cup Circle                                     Unliquidated
         LIBERTY TWP, OH 45011                                        Disputed
         Date(s) debt was incurred 5/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0400
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $237.49
         Andrew Wilt
         Terroir - A Place for Wine                                   Contingent
         9225 Garland Rd.                                             Unliquidated
         Suite 2120                                                   Disputed
         Dallas, TX 75218
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/13/2022
         Last 4 digits of account number 3300                      Is the claim subject to offset?     No       Yes




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3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Andy Hinojosa                                                Contingent
         12Wild Lilac Way                                             Unliquidated
         Orinda, CA 94563                                             Disputed
         Date(s) debt was incurred  11/19/2020                     Basis for the claim:
         Last 4 digits of account number 4751
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Andy Mankin                                                  Contingent
         c/o Lee Company                                              Unliquidated
         1124 Menzler Road                                            Disputed
         Nashville, TN 37210
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,750.00
         Andy McRea                                                   Contingent
         228 NW 177th St.                                             Unliquidated
         Shoreline, WA 98177                                          Disputed
         Date(s) debt was incurred  6/13/2022                      Basis for the claim:
         Last 4 digits of account number 6600
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $750.00
         Ankenbauer Enterpries                                        Contingent
         202 W 31 Street                                              Unliquidated
         Covington, KY 41015                                          Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Ankush Gosain                                                Contingent
         4690 Barfield Rd                                             Unliquidated
         MEMPHIS, TN 38117                                            Disputed
         Date(s) debt was incurred  12/11/2019                     Basis for the claim:
         Last 4 digits of account number 2600
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $200.00
         Ann Nogami                                                   Contingent
         122 Dunn Avenue                                              Unliquidated
         Stamford, CT 06905                                           Disputed
         Date(s) debt was incurred  6/13/2022                      Basis for the claim:
         Last 4 digits of account number 3500
                                                                   Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Ann Phelan                                                   Contingent
         500 Sumerset Rd.                                             Unliquidated
         Baltimore, MD 21210                                          Disputed
         Date(s) debt was incurred  3/28/2022                      Basis for the claim:
         Last 4 digits of account number 0400
                                                                   Is the claim subject to offset?     No       Yes




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3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $719.67
         Ann Thornton                                                 Contingent
         AK Thornton Holdings LLC                                     Unliquidated
         1708 Erral Woods Dr.                                         Disputed
         Apopka, FL 32712
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/14/2022
         Last 4 digits of account number 3300                      Is the claim subject to offset?     No       Yes


3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Anne Boychuck                                                Contingent
         11702 Peninsula Dr.                                          Unliquidated
         TRAVERSE CITY, MI 49686                                      Disputed
         Date(s) debt was incurred 8/5/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 5700
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,747.00
         Anne Johns                                                   Contingent
         1000 Cordova Place                                           Unliquidated
         SANTA FE, NM 87501                                           Disputed
         Date(s) debt was incurred 7/27/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 6201
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,327.48
         Annie MacEwan                                                Contingent
         824 Sutter St. Suite200                                      Unliquidated
         Folsum, CA 95630                                             Disputed
         Date(s) debt was incurred 6/8/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4500
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,432.17
         Annie Margarita                                              Contingent
         49154 Mckenzie Hwy                                           Unliquidated
         VIDA, OR 97488                                               Disputed
         Date(s) debt was incurred  6/7/2022                       Basis for the claim:
         Last 4 digits of account number 2100
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,177.41
         Annis Ha                                                     Contingent
         305 Kenilworth Ave.                                          Unliquidated
         Kenilworth, IL 60043                                         Disputed
         Date(s) debt was incurred  5/3/2022                       Basis for the claim:
         Last 4 digits of account number 0652
                                                                   Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,743.05
         Anthem                                                       Contingent
         PO Box 645438                                                Unliquidated
         Cincinnati, OH 45264-5438                                    Disputed
         Date(s) debt was incurred 6/17/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Anthony Avino                                                Contingent
         132 Gray Creek Dr.                                           Unliquidated
         SAVANNAH, GA 31410                                           Disputed
         Date(s) debt was incurred 11/19/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 4500
                                                                   Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Anthony deSantis                                             Contingent
         40 Kingsbury Dr.                                             Unliquidated
         HOLLISTON, MA 01746                                          Disputed
         Date(s) debt was incurred 4/27/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 3002
                                                                   Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Anthony Monetta                                              Contingent
         124 Riveer Ave.                                              Unliquidated
         Mishawaka, IN 46544                                          Disputed
         Date(s) debt was incurred  6/16/2021                      Basis for the claim:
         Last 4 digits of account number 3300
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,671.09
         Anthony W Reeves                                             Contingent
         Intown Bldrs. Grp. Inc                                       Unliquidated
         601 Magnolia St.                                             Disputed
         Vila Rico, GA 30180
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/20/2022
         Last 4 digits of account number 4911                      Is the claim subject to offset?     No       Yes


3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,416.52
         Anthony Zorich                                               Contingent
         3757 SW Badger Ave.                                          Unliquidated
         REDMOND, OR 97756                                            Disputed
         Date(s) debt was incurred 5/27/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6800
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,929.04
         Applied Industrial Tech                                      Contingent
         108 Millington Ct                                            Unliquidated
         Blue Ash, OH 45242-4017                                      Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Arctic Air Service                                           Contingent
         Dennis                                                       Unliquidated
         7704 Clapps Chapel rd.                                       Disputed
         Corryton, TN 37721
                                                                   Basis for the claim:
         Date(s) debt was incurred 10/14/2020
         Last 4 digits of account number 5700                      Is the claim subject to offset?     No       Yes




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3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,058.09
         Aren Bazzocco                                                Contingent
         1945 Vista Cielo Dr                                          Unliquidated
         NEWCASTLE, CA 95658                                          Disputed
         Date(s) debt was incurred 4/20/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9300
                                                                   Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Arianna AC                                                   Contingent
         Julio Gramajo                                                Unliquidated
         409N Bundy Dr.                                               Disputed
         LOS ANGELES, CA 91411
                                                                   Basis for the claim:
         Date(s) debt was incurred 8/30/2021
         Last 4 digits of account number 2900                      Is the claim subject to offset?     No       Yes


3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         ARS rescue rooter                                            Contingent
         Greg Mattison                                                Unliquidated
         9070 Euclid Ave.                                             Disputed
         MANASSAS, VA 20110
                                                                   Basis for the claim:
         Date(s) debt was incurred 8/12/2021
         Last 4 digits of account number 1000                      Is the claim subject to offset?     No       Yes


3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Arthur Dedominicis                                           Contingent
         1100 Route 9                                                 Unliquidated
         Fishkill, NY 12524                                           Disputed
         Date(s) debt was incurred  6/18/2020                      Basis for the claim:
         Last 4 digits of account number 4211
                                                                   Is the claim subject to offset?     No       Yes

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Arthur Kunath                                                Contingent
         106 Bivouac Ave                                              Unliquidated
         FORT THOMAS, KY 41075                                        Disputed
         Date(s) debt was incurred 10/25/2018
                                                                   Basis for the claim:
         Last 4 digits of account number 4500
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Arthur Scott                                                 Contingent
         2925 Madrey Lane                                             Unliquidated
         OWENS CROSS ROADS, AL 35763                                  Disputed
         Date(s) debt was incurred 9/17/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 4501
                                                                   Is the claim subject to offset?     No       Yes

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Artistic Kitchen Designs                                     Contingent
         Adam Zangi                                                   Unliquidated
         1908 Coney Island Ave.                                       Disputed
         BROOKLYN, NY 11230
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/9/2022
         Last 4 digits of account number 1202                      Is the claim subject to offset?     No       Yes




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3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,065.20
         Astronics / Peco Manufacturing Company,                      Contingent
         Dept CH19641                                                 Unliquidated
         Palatine, IL 60055-9641                                      Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Atlantic Heating and Air                                     Contingent
         George Fullers                                               Unliquidated
         116 Cypress St.                                              Disputed
         BROOKLINE, MA 02445
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/13/2022
         Last 4 digits of account number 1900                      Is the claim subject to offset?     No       Yes


3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $494.92
         Audrey Stine                                                 Contingent
         Cleaver & Cork                                               Unliquidated
         11760 Haynes Bridge R Suite 1A                               Disputed
         Alpharetta, GA 30009
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/19/2022
         Last 4 digits of account number 6601                      Is the claim subject to offset?     No       Yes


3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,410.00
         Austen Keithly                                               Contingent
         1320 E Houston Suite 10                                      Unliquidated
         SAN ANTONIO, TX 78205                                        Disputed
         Date(s) debt was incurred 5/17/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4701
                                                                   Is the claim subject to offset?     No       Yes

3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $58,403.96
         Austin Neuhoff                                               Contingent
         4016 Colgate Ave                                             Unliquidated
         Dalla, TX 75225                                              Disputed
         Date(s) debt was incurred  5/11/2022                      Basis for the claim:
         Last 4 digits of account number 2260,1,2
                                                                   Is the claim subject to offset?     No       Yes

3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Avon Wines & Spirits                                         Contingent
         Pi Patel                                                     Unliquidated
         144 Simsbury Rd.                                             Disputed
         AVON, CT 06001
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/5/2021
         Last 4 digits of account number 3500                      Is the claim subject to offset?     No       Yes


3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $238.61
         B&H Precision Fabricators Inc.                               Contingent
         Jared Bartholomew                                            Unliquidated
         33 Briana Ct.                                                Disputed
         East Moriches, NY 11940
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/6/2022
         Last 4 digits of account number 6407                      Is the claim subject to offset?     No       Yes




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3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         B'S Refrigeration inc                                        Contingent
         Steve Barone                                                 Unliquidated
         3655 N Andrews Ave.                                          Disputed
         Oakland Park, FL 33309
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/9/2021
         Last 4 digits of account number 6800                      Is the claim subject to offset?     No       Yes


3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         B. Tucker Heating and Air                                    Contingent
         Barney Tucker                                                Unliquidated
         367 North Clarendon Ave                                      Disputed
         Avondale Estates, GA 30002
                                                                   Basis for the claim:
         Date(s) debt was incurred 10/29/2020
         Last 4 digits of account number 4501                      Is the claim subject to offset?     No       Yes


3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,427.89
         Bar Mallino                                                  Contingent
         1538 Hendricks Ave                                           Unliquidated
         Jacksonville, FL 32207                                       Disputed
         Date(s) debt was incurred 4/14/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9810
                                                                   Is the claim subject to offset?     No       Yes

3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,427.89
         Bar Molino                                                   Contingent
         1538 Hendricks Ave.                                          Unliquidated
         Jacksonville, FL 32207                                       Disputed
         Date(s) debt was incurred 4/14/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9800
                                                                   Is the claim subject to offset?     No       Yes

3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,700.00
         Barbara Van Dorn                                             Contingent
         28634 La Caile Dr.                                           Unliquidated
         NAPLES, FL 34119                                             Disputed
         Date(s) debt was incurred  5/25/2022                      Basis for the claim:
         Last 4 digits of account number 4000
                                                                   Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Barry & Faith Pennypacker                                    Contingent
         1075 S. Leopard Rd.                                          Unliquidated
         BERWYN, PA 19312                                             Disputed
         Date(s) debt was incurred 9/9/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 4000
                                                                   Is the claim subject to offset?     No       Yes

3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,339.35
         Barry Wishengrad                                             Contingent
         5656 Middle Crest                                            Unliquidated
         ENCINO, CA 91436                                             Disputed
         Date(s) debt was incurred  5/14/2022                      Basis for the claim:
         Last 4 digits of account number 3400
                                                                   Is the claim subject to offset?     No       Yes




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3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,861.92
         Basco Engineered Products                                    Contingent
         PO Box 514                                                   Unliquidated
         Middletown, OH 45042-0514                                    Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $400.00
         Beacon Building Products                                     Contingent
         225 Circle Freeway Dr.                                       Unliquidated
         Cincinnati, OH 45246                                         Disputed
         Date(s) debt was incurred 5/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Beckham Heating and Air                                      Contingent
         Mike Ammons                                                  Unliquidated
         2400 Newcastle St.                                           Disputed
         BRUNSWICK, GA 31520
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/27/2020
         Last 4 digits of account number 6900                      Is the claim subject to offset?     No       Yes


3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Beckman Bros INC                                             Contingent
         John Beckman                                                 Unliquidated
         1072 S Corporate Circle                                      Disputed
         GRAYSLAKE, IL 60030
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/26/2022
         Last 4 digits of account number 8000                      Is the claim subject to offset?     No       Yes


3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         BEL-O Cooling and Heating INC                                Contingent
         Tom Westerheide                                              Unliquidated
         8478 Highway 50                                              Disputed
         O FALLON, IL 62269
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/5/2021
         Last 4 digits of account number 5900                      Is the claim subject to offset?     No       Yes


3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $136.47
         Bert Good                                                    Contingent
         1960 NE 50th Way                                             Unliquidated
         HILLSBORO, OR 97124                                          Disputed
         Date(s) debt was incurred 6/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9300
                                                                   Is the claim subject to offset?     No       Yes

3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Bertie Heating & Air conditioning                            Contingent
         Jim Bertie                                                   Unliquidated
         1730 NE 23 Ave                                               Disputed
         GAINESVILLE, FL 32609
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/20/2021
         Last 4 digits of account number 3500                      Is the claim subject to offset?     No       Yes




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3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Besco Associates                                             Contingent
         Glen Bousher                                                 Unliquidated
         31192 La Baya Dr. Suite H                                    Disputed
         WESTLAKE VILLAGE, CA 91362
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/24/2022
         Last 4 digits of account number 3800                      Is the claim subject to offset?     No       Yes


3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         BEST Commercial Energy Servies, INC                          Contingent
         Angie Mick                                                   Unliquidated
         1340 E. Archwood Ave.                                        Disputed
         AKRON, OH 44306
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/29/2021
         Last 4 digits of account number 4200                      Is the claim subject to offset?     No       Yes


3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,069.99
         Beth Dobson                                                  Contingent
         1211 Pelham Rd.                                              Unliquidated
         GREENVILLE, SC 29615                                         Disputed
         Date(s) debt was incurred 5/19/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3510
                                                                   Is the claim subject to offset?     No       Yes

3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,698.05
         BGR                                                          Contingent
         PO Box 32160                                                 Unliquidated
         Department 142                                               Disputed
         Louoisville, KY 40232
                                                                   Basis for the claim:
         Date(s) debt was incurred Various
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,209.31
         Bhavesh Babariya                                             Contingent
         821 W Minneola Ave                                           Unliquidated
         CLERMONT, FL 34711                                           Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6500
                                                                   Is the claim subject to offset?     No       Yes

3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,535.13
         Biesse Group America                                         Contingent
         P O Box 19849                                                Unliquidated
         Charlotte, NC 28219                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Biggs Comfort Technologies                                   Contingent
         Terry Biggs                                                  Unliquidated
         15280 Middletown Ave.                                        Disputed
         NOBLESVILLE, IN 46060
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/17/2020
         Last 4 digits of account number 0600                      Is the claim subject to offset?     No       Yes




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3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $321.98
         Bill Cross                                                   Contingent
         3925 Southway St. SW                                         Unliquidated
         MASSILLON, OH 44646                                          Disputed
         Date(s) debt was incurred 2/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1801
                                                                   Is the claim subject to offset?     No       Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Bill Kutz Heating and Air                                    Contingent
         5560 Skylane BLVD                                            Unliquidated
         5560 Skylane BLVD                                            Disputed
         Santa Rosa, CA 95403
                                                                   Basis for the claim:
         Date(s) debt was incurred 8/12/2021
         Last 4 digits of account number 4100                      Is the claim subject to offset?     No       Yes


3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,317.10
         Bill Nagel                                                   Contingent
         313 W 46th St.                                               Unliquidated
         Minneapolis, MN 55419                                        Disputed
         Date(s) debt was incurred 4/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0451
                                                                   Is the claim subject to offset?     No       Yes

3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Bill Spade Electric, Heating & Cooling                       Contingent
         Bill Spade                                                   Unliquidated
         7181 Wesselman Rd.                                           Disputed
         CLEVES, OH 45002
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/10/2020
         Last 4 digits of account number 7200                      Is the claim subject to offset?     No       Yes


3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         BILL ST JOHN                                                 Contingent
         508 1ST AVE SE                                               Unliquidated
         CULLMAN, AL 35055                                            Disputed
         Date(s) debt was incurred  6/3/2021                       Basis for the claim:
         Last 4 digits of account number 7600
                                                                   Is the claim subject to offset?     No       Yes

3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $110.12
         Blair Nelsen                                                 Contingent
         314 Greenway Ln                                              Unliquidated
         RICHMOND, VA 23226                                           Disputed
         Date(s) debt was incurred 6/12/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2800
                                                                   Is the claim subject to offset?     No       Yes

3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,980.71
         Blake Wiltshire                                              Contingent
         8001 S Illinois Route 31                                     Unliquidated
         Crystal Lake, IL 60014                                       Disputed
         Date(s) debt was incurred 6/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0900
                                                                   Is the claim subject to offset?     No       Yes




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3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,905.60
         BLUELINX CORPORATION                                         Contingent
         P.O. BOX 505271                                              Unliquidated
         St. Louis, MO 63150-5271                                     Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Bob Anning                                                   Contingent
         25 Weebetook Ln.                                             Unliquidated
         CINCINNATI, OH 45208                                         Disputed
         Date(s) debt was incurred 5/25/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4701
                                                                   Is the claim subject to offset?     No       Yes

3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,500.59
         Bob Pritchett                                                Contingent
         Faithlife.com                                                Unliquidated
         NA                                                           Disputed
         BAKERVIEW, WA 98226
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/1/2022
         Last 4 digits of account number 8600                      Is the claim subject to offset?     No       Yes


3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Bombard Mechanical                                           Contingent
         Don Iannucci                                                 Unliquidated
         3933 W Ali Baba Lane                                         Disputed
         LAS VEGAS, NV 89118
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/25/2020
         Last 4 digits of account number 6000                      Is the claim subject to offset?     No       Yes


3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Border Sheet Metal                                           Contingent
         Greg Brouillard                                              Unliquidated
         143 W Hayden Ave                                             Disputed
         Hayden, ID 83835
                                                                   Basis for the claim:
         Date(s) debt was incurred  5/18/2022
         Last 4 digits of account number 9600                      Is the claim subject to offset?     No       Yes


3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Boyd Shermis                                                 Contingent
         22287 Mulholland Hwy                                         Unliquidated
         Suite 309                                                    Disputed
         Calabasas, CA 91302
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,277.69
         Brad Day                                                     Contingent
         655 Kensawe Ave.                                             Unliquidated
         Knoxville, TN 37919                                          Disputed
         Date(s) debt was incurred  5/31/2022                      Basis for the claim:
         Last 4 digits of account number 3500
                                                                   Is the claim subject to offset?     No       Yes




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3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,241.82
         Brad Wilins                                                  Contingent
         163 Starlight Circle                                         Unliquidated
         ERIE, CO 80516                                               Disputed
         Date(s) debt was incurred  4/23/2022                      Basis for the claim:
         Last 4 digits of account number 0300
                                                                   Is the claim subject to offset?     No       Yes

3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,063.00
         Bradley Stees                                                Contingent
         Envy Wine Room                                               Unliquidated
         126Midway St.                                                Disputed
         Spring, TX 77379
                                                                   Basis for the claim:
         Date(s) debt was incurred  4/26/2022
         Last 4 digits of account number 8300                      Is the claim subject to offset?     No       Yes


3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Brahma Construction                                          Contingent
         Chris Mizzone                                                Unliquidated
         256 Gregory Rd.                                              Disputed
         FRANKLIN LAKES, NJ 07417
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/1/2021
         Last 4 digits of account number 7302                      Is the claim subject to offset?     No       Yes


3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,560.79
         Brandi H                                                     Contingent
         9 Spanish Pass                                               Unliquidated
         Boerne, TX 78006                                             Disputed
         Date(s) debt was incurred  4/27/2022                      Basis for the claim:
         Last 4 digits of account number 4900
                                                                   Is the claim subject to offset?     No       Yes

3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,255.15
         Brandon Herbst                                               Contingent
         4673 Bryant St                                               Unliquidated
         DENVER, CO 80211                                             Disputed
         Date(s) debt was incurred  12/27/2021                     Basis for the claim:
         Last 4 digits of account number 0000
                                                                   Is the claim subject to offset?     No       Yes

3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Brandon Hulett                                               Contingent
         6296 Proprietors Rd                                          Unliquidated
         WORTHINGTON, OH 43085                                        Disputed
         Date(s) debt was incurred 5/12/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7120
                                                                   Is the claim subject to offset?     No       Yes

3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,817.91
         Brandon Hulett                                               Contingent
         6296 Proprietors Rd                                          Unliquidated
         WORTHINGTON, OH 43085                                        Disputed
         Date(s) debt was incurred 5/23/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7703
                                                                   Is the claim subject to offset?     No       Yes




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3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,789.00
         Breezaire Products Co.                                       Contingent
                                                                      Unliquidated
         Date(s) debt was incurred   Various                          Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $173.74
         Brenda Audino                                                Contingent
         88 Front Street S                                            Unliquidated
         ISSAQUAH, WA 98027                                           Disputed
         Date(s) debt was incurred 5/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3900
                                                                   Is the claim subject to offset?     No       Yes

3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,922.85
         Brenda Kibee                                                 Contingent
         742 Charcot Ave.                                             Unliquidated
         San Jose, CA 95131                                           Disputed
         Date(s) debt was incurred  5/4/2022                       Basis for the claim:
         Last 4 digits of account number 5810
                                                                   Is the claim subject to offset?     No       Yes

3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Brett Coffing                                                Contingent
         159 Balbriggan Lane                                          Unliquidated
         GRANVILLE, OH 43023                                          Disputed
         Date(s) debt was incurred 1/20/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3700
                                                                   Is the claim subject to offset?     No       Yes

3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,633.05
         Brian Bedard                                                 Contingent
         Bedard Services LLC                                          Unliquidated
         4875 13th Lane                                               Disputed
         Vero Beach, FL 32966
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/28/2022
         Last 4 digits of account number 3400                      Is the claim subject to offset?     No       Yes


3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Brian Dixon                                                  Contingent
         210 Holt Lane                                                Unliquidated
         LEWISBURG, WV 24901                                          Disputed
         Date(s) debt was incurred 11/12/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 3500
                                                                   Is the claim subject to offset?     No       Yes

3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,631.62
         Brian Khazal                                                 Contingent
         Wayside Liquor Inc                                           Unliquidated
         703 Creston Rd                                               Disputed
         Paso Robles, CA 93446
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/30/2022
         Last 4 digits of account number 3800                      Is the claim subject to offset?     No       Yes




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3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,250.14
         Brian Pelascini                                              Contingent
         4735 Suisun Valley rd                                        Unliquidated
         FAIRFIELD, CA 94534                                          Disputed
         Date(s) debt was incurred 6/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0200
                                                                   Is the claim subject to offset?     No       Yes

3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Brian Robinson                                               Contingent
         810 Lexington Ave.                                           Unliquidated
         New York, NY 10065                                           Disputed
         Date(s) debt was incurred  2/18/2022                      Basis for the claim:
         Last 4 digits of account number 7500
                                                                   Is the claim subject to offset?     No       Yes

3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,500.12
         Brian Smith Builders                                         Contingent
         5700 Lower Mountain Rd.                                      Unliquidated
         New Hope, PA 18338                                           Disputed
         Date(s) debt was incurred 6/7/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1200
                                                                   Is the claim subject to offset?     No       Yes

3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,307.40
         Brian Wilson                                                 Contingent
         Boston Wine Cellars                                          Unliquidated
         300 Bartlett St                                              Disputed
         NORTHBORO, MA 01532
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number 9102                      Is the claim subject to offset?     No       Yes


3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Brian Wright                                                 Contingent
         327 South Persimnon RD.                                      Unliquidated
         HOUSTON, TX 77377                                            Disputed
         Date(s) debt was incurred 10/22/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 0800
                                                                   Is the claim subject to offset?     No       Yes

3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,535.86
         Brock Greene
         NA                                                           Contingent
         NA                                                           Unliquidated
         NA                                                           Disputed
         LOS ANGELES, CA 90005
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/10/2022
         Last 4 digits of account number 5500                      Is the claim subject to offset?     No       Yes


3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $336.23
         Brody Gilbert                                                Contingent
         28 Kettle Creek Rd                                           Unliquidated
         JERICHO, VT 05465                                            Disputed
         Date(s) debt was incurred  6/11/2022                      Basis for the claim:
         Last 4 digits of account number 2300
                                                                   Is the claim subject to offset?     No       Yes




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3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $171.00
         Bronze-Glow Technologies, Inc                                Contingent
         175 Bronz-Glow Way                                           Unliquidated
         St. Augustine, FL 32095                                      Disputed
         Date(s) debt was incurred 5/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,550.00
         Brown Heathing & Air                                         Contingent
         5815 La Cueta Dr.                                            Unliquidated
         Santa Rosa, CA 95409                                         Disputed
         Date(s) debt was incurred 6/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8320
                                                                   Is the claim subject to offset?     No       Yes

3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Brown Heating & Air Conditioning                             Contingent
         Jerome Brown                                                 Unliquidated
         7871 High Way 50 East                                        Disputed
         CARSON CITY, NV 89701
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/19/2021
         Last 4 digits of account number 7000                      Is the claim subject to offset?     No       Yes


3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $43.96
         Bruce Byron                                                  Contingent
         Barron industries, Inc                                       Unliquidated
         215Plexus Dr.                                                Disputed
         OXFORD, MI 48371
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/4/2022
         Last 4 digits of account number 6202                      Is the claim subject to offset?     No       Yes


3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Bruce Mattox                                                 Contingent
         3045 Haven Reserve                                           Unliquidated
         Milton, GA 30004                                             Disputed
         Date(s) debt was incurred  4/20/2022                      Basis for the claim:
         Last 4 digits of account number 8284
                                                                   Is the claim subject to offset?     No       Yes

3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Bryan Espiritu                                               Contingent
         17694 John Telfer Dr                                         Unliquidated
         Morgan Hill, CA 95037                                        Disputed
         Date(s) debt was incurred 3/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7710
                                                                   Is the claim subject to offset?     No       Yes

3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Bryan Formann                                                Contingent
         1233 N. Price Road                                           Unliquidated
         SAINT LOUIS, MO 63132                                        Disputed
         Date(s) debt was incurred 11/17/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 1700
                                                                   Is the claim subject to offset?     No       Yes




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3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         C&R Mechanical                                               Contingent
         Rick Puckett                                                 Unliquidated
         158 Lambeth Dr.                                              Disputed
         HIRAM, GA 30141
                                                                   Basis for the claim:
         Date(s) debt was incurred  12/10/2020
         Last 4 digits of account number 5700                      Is the claim subject to offset?     No       Yes


3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,168.00
         C/o Melissa darlington                                       Contingent
         david raschen                                                Unliquidated
         406 Majestic Ct.                                             Disputed
         PEACHTREE CITY, GA 30269
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/18/2022
         Last 4 digits of account number 0123                      Is the claim subject to offset?     No       Yes


3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Caldeco Mechanical Services, Inc.                            Contingent
         Ryan Ploch                                                   Unliquidated
         2135 W Union St.                                             Disputed
         TAMPA, FL 33607
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/3/2020
         Last 4 digits of account number 0707                      Is the claim subject to offset?     No       Yes


3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Caleb Ophus                                                  Contingent
         1407 S Harvard Ave                                           Unliquidated
         Tulsa, OK 74112                                              Disputed
         Date(s) debt was incurred  4/28/2022                      Basis for the claim:
         Last 4 digits of account number 4200
                                                                   Is the claim subject to offset?     No       Yes

3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,907.84
         Candace Cavanaugh                                            Contingent
         433 El Centro Rd                                             Unliquidated
         Hillsborough, CA 94010                                       Disputed
         Date(s) debt was incurred 4/29/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3720
                                                                   Is the claim subject to offset?     No       Yes

3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Capital City Millwork                                        Contingent
         Peter Elliott                                                Unliquidated
         173 Heatherdown Dr.                                          Disputed
         WESTERVILLE, OH 43081
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/8/2022
         Last 4 digits of account number 5001                      Is the claim subject to offset?     No       Yes


3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Carl D Jacobs Group                                          Contingent
         5038 Orrville Ave                                            Unliquidated
         WOODLAND HILLS, CA 91367                                     Disputed
         Date(s) debt was incurred 6/19/2017
                                                                   Basis for the claim:
         Last 4 digits of account number 3400
                                                                   Is the claim subject to offset?     No       Yes




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3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,604.14
         Carl Web                                                     Contingent
         935 Pine St. #776072                                         Unliquidated
         Stemboat Springs, CO 80487                                   Disputed
         Date(s) debt was incurred 6/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1010
                                                                   Is the claim subject to offset?     No       Yes

3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $942.46
         Carla Schoepfle                                              Contingent
         545 N. Piedmont ST                                           Unliquidated
         ARLINGTON, VA 22203                                          Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4200
                                                                   Is the claim subject to offset?     No       Yes

3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Carlo Orlando                                                Contingent
         322 Posada Lane Suite A                                      Unliquidated
         Templeton, CA 93465                                          Disputed
         Date(s) debt was incurred 5/27/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8502
                                                                   Is the claim subject to offset?     No       Yes

3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Carmen Musial                                                Contingent
         5945 Suntose Ave.                                            Unliquidated
         Newark, CA 94560                                             Disputed
         Date(s) debt was incurred  9/2/2021                       Basis for the claim:
         Last 4 digits of account number 6600
                                                                   Is the claim subject to offset?     No       Yes

3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Carmine Cortese                                              Contingent
         830 n dixie fwy                                              Unliquidated
         NEW SMYRNA BEACH, FL 32168                                   Disputed
         Date(s) debt was incurred 10/22/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 5800
                                                                   Is the claim subject to offset?     No       Yes

3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,316.00
         Carrie Rost Rodgers                                          Contingent
         104 E Genesee St                                             Unliquidated
         Skaneatteles, NY 13152                                       Disputed
         Date(s) debt was incurred 4/27/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3661,2,103
                                                                   Is the claim subject to offset?     No       Yes

3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         CASE BUILDERS                                                Contingent
         MATTHEW KURRLE                                               Unliquidated
         9 West Aylesbury Rd. Suite C                                 Disputed
         LUTHERVILLE, MD 21093
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/26/2018
         Last 4 digits of account number 3150                      Is the claim subject to offset?     No       Yes




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3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,698.11
         Casey Longbottom                                             Contingent
         347 Stanley Ave                                              Unliquidated
         CINCINNATI, OH 45226                                         Disputed
         Date(s) debt was incurred 5/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2305
                                                                   Is the claim subject to offset?     No       Yes

3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         CAV Appliance Repair                                         Contingent
         Charles Valvo                                                Unliquidated
         213 Great Rock Dr.                                           Disputed
         WILDWOOD, NY 11792
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/3/2021
         Last 4 digits of account number 1301                      Is the claim subject to offset?     No       Yes


3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         CBC                                                          Contingent
         Laura Eckert                                                 Unliquidated
         417 Nikomas Way                                              Disputed
         MELBOURNE BEACH, FL 32951
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/23/2020
         Last 4 digits of account number 8500                      Is the claim subject to offset?     No       Yes


3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $680.85
         CBTS                                                         Contingent
         Transport & Brokeerage (Canada, Inc.                         Unliquidated
         Cincinnati, OH 45274-8001                                    Disputed
         Date(s) debt was incurred 6/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7184
                                                                   Is the claim subject to offset?     No       Yes

3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         CD White, Inc.                                               Contingent
         United Refrigeration                                         Unliquidated
         Augusta, GA 30901                                            Disputed
         Date(s) debt was incurred  5/18/2022                      Basis for the claim:
         Last 4 digits of account number 6000
                                                                   Is the claim subject to offset?     No       Yes

3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $880.85
         CDC Distributors                                             Contingent
                                                                      Unliquidated
         Cincinnati, OH 45274-8001                                    Disputed
         Date(s) debt was incurred 2057184
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Certified Mechanical                                         Contingent
         Steve Sandman                                                Unliquidated
         2502 Vulcan Rd.                                              Disputed
         APOPKA, FL 32703
                                                                   Basis for the claim:
         Date(s) debt was incurred  9/23/2020
         Last 4 digits of account number 0600                      Is the claim subject to offset?     No       Yes




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3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,500.00
         Chaddock Refrigeration                                       Contingent
         PO Box 47186                                                 Unliquidated
         Jacksonville, FL 32247                                       Disputed
         Date(s) debt was incurred 6/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4800
                                                                   Is the claim subject to offset?     No       Yes

3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Champion Air Systems                                         Contingent
         Chris Rich                                                   Unliquidated
         125 Kelli Clark Court                                        Disputed
         CARTERSVILLE, GA 30121
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/13/2021
         Last 4 digits of account number 4701                      Is the claim subject to offset?     No       Yes


3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Chanel Williams                                              Contingent
         2043 Alaqua Lakes Boulevard                                  Unliquidated
         LONGWOOD, FL 32779                                           Disputed
         Date(s) debt was incurred 7/21/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 3100
                                                                   Is the claim subject to offset?     No       Yes

3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,238.20
         Charles Chesnutt                                             Contingent
         3605 Village Green Dr                                        Unliquidated
         SANDY PLAINS, GA 30075                                       Disputed
         Date(s) debt was incurred 4/27/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2200
                                                                   Is the claim subject to offset?     No       Yes

3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12.37
         Charles Defreitas                                            Contingent
         263 Shamrock Drive                                           Unliquidated
         WARWICK, RI 02886                                            Disputed
         Date(s) debt was incurred  4/13/2022                      Basis for the claim:
         Last 4 digits of account number 8900
                                                                   Is the claim subject to offset?     No       Yes

3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,274.99
         Charles G Johnson                                            Contingent
         78-280 Birkdale Ct.                                          Unliquidated
         La Quinta, CA 92253                                          Disputed
         Date(s) debt was incurred  5/17/2022                      Basis for the claim:
         Last 4 digits of account number 9301
                                                                   Is the claim subject to offset?     No       Yes

3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,348.10
         Charles Meader                                               Contingent
         Appletree Properties and Consulting                          Unliquidated
         78 Oak St.                                                   Disputed
         PLYMOUTH, MA 02360
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/7/2022
         Last 4 digits of account number 1300                      Is the claim subject to offset?     No       Yes




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3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Charles Nabit                                                Contingent
         4604 North Charles St.                                       Unliquidated
         Baltimore, MD 21210                                          Disputed
         Date(s) debt was incurred 9/15/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 1000
                                                                   Is the claim subject to offset?     No       Yes

3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Chi Uk Kwon                                                  Contingent
         4039 235th St.                                               Unliquidated
         Douglaston, NY 11363                                         Disputed
         Date(s) debt was incurred 6/8/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7000
                                                                   Is the claim subject to offset?     No       Yes

3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         CHIP STERNDAHL                                               Contingent
         2862 Cactus Bloom Dr.                                        Unliquidated
         BULLHEAD CITY, AZ 86429                                      Disputed
         Date(s) debt was incurred 2/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5100
                                                                   Is the claim subject to offset?     No       Yes

3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Chris Epperson
         EAC Heating & Air                                            Contingent
         76 Beach City Rd                                             Unliquidated
         STE#A                                                        Disputed
         Hilton Head Island, SC 29926
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/11/2022
         Last 4 digits of account number 2400                      Is the claim subject to offset?     No       Yes


3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,355.06
         Chris Gay                                                    Contingent
         Future Supply                                                Unliquidated
         300 W Commercial St.                                         Disputed
         PORTALES, NM 88130
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/24/2022
         Last 4 digits of account number 8100                      Is the claim subject to offset?     No       Yes


3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,000.00
         Chris Kim                                                    Contingent
         Chris Kim                                                    Unliquidated
         46 Park St.                                                  Disputed
         Tenafly, NY 07670
                                                                   Basis for the claim:
         Date(s) debt was incurred  5/20/2022
         Last 4 digits of account number 0701                      Is the claim subject to offset?     No       Yes


3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $20,549.61
         Chris Kravitz & Rob Silverman                                Contingent
         Custom Wine Cellars                                          Unliquidated
         10 Knapp Lane                                                Disputed
         NEW York CITY, NY 10956
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/2/2020
         Last 4 digits of account number Varies                    Is the claim subject to offset?     No       Yes




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3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Chris Pohl                                                   Contingent
         23 Paddock Lane                                              Unliquidated
         COLTS NECK, NJ 07722                                         Disputed
         Date(s) debt was incurred 12/22/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 0901
                                                                   Is the claim subject to offset?     No       Yes

3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Chris Sampson Sun Heating & Cooling                          Contingent
         766 Industrial Ct.                                           Unliquidated
         BLOOMFIELD, MI 48302                                         Disputed
         Date(s) debt was incurred 8/13/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 6500
                                                                   Is the claim subject to offset?     No       Yes

3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $931.03
         Chris Strauss                                                Contingent
         9 Silvercrest Dr                                             Unliquidated
         TINTON FALLS, NJ 07712                                       Disputed
         Date(s) debt was incurred 5/17/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6801
                                                                   Is the claim subject to offset?     No       Yes

3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $203.20
         Chris Vana                                                   Contingent
         1315 Wayne Dr.                                               Unliquidated
         Des Plaines, IL 60018                                        Disputed
         Date(s) debt was incurred 5/25/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2600
                                                                   Is the claim subject to offset?     No       Yes

3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Chris Wasson                                                 Contingent
         38 Springhill Farm CT.                                       Unliquidated
         COCKEYSVILLE, MD 21030                                       Disputed
         Date(s) debt was incurred 11/12/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 6700
                                                                   Is the claim subject to offset?     No       Yes

3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $224.73
         Chris Wynes                                                  Contingent
         3137 N Street NW                                             Unliquidated
         WASHINGTON, DC 20007                                         Disputed
         Date(s) debt was incurred 5/25/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3300
                                                                   Is the claim subject to offset?     No       Yes

3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,500.00
         Christian Flores                                             Contingent
         AirFlow Supply                                               Unliquidated
         525 Johnstone St.                                            Disputed
         Perth Ambox, NJ 08861
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/2/2022
         Last 4 digits of account number 2020                      Is the claim subject to offset?     No       Yes




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3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,166.00
         CHRISTIAN SOBB                                               Contingent
         716 Creek Side Bend                                          Unliquidated
         ALPHARETTA, GA 30004                                         Disputed
         Date(s) debt was incurred 12/3/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 6400
                                                                   Is the claim subject to offset?     No       Yes

3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $501.33
         Christine Smalley                                            Contingent
         5803 Limestone Court                                         Unliquidated
         COLD SPRING, KY 41076                                        Disputed
         Date(s) debt was incurred 5/17/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0700
                                                                   Is the claim subject to offset?     No       Yes

3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,511.13
         Christopher Cay                                              Contingent
         1 Hampton Place                                              Unliquidated
         SAVANNAH, GA 31411                                           Disputed
         Date(s) debt was incurred 5/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3303
                                                                   Is the claim subject to offset?     No       Yes

3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,547.20
         Christopher Fasano                                           Contingent
         942 Franklin Ave                                             Unliquidated
         RIVER FOREST, IL 60305                                       Disputed
         Date(s) debt was incurred 3/29/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7404
                                                                   Is the claim subject to offset?     No       Yes

3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Christopher McCall                                           Contingent
         6444 Worchester Dr.                                          Unliquidated
         Nashville, TN 37221                                          Disputed
         Date(s) debt was incurred  10/28/2021                     Basis for the claim:
         Last 4 digits of account number 5400
                                                                   Is the claim subject to offset?     No       Yes

3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Christopher Smith                                            Contingent
         Wine Smith Cellars                                           Unliquidated
         1107 Tumblewood Dr.                                          Disputed
         LOVELAND, OH 45140
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/11/2021
         Last 4 digits of account number 3005                      Is the claim subject to offset?     No       Yes


3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Chuck LaRocco                                                Contingent
         1 Lake St.                                                   Unliquidated
         Unit 106                                                     Disputed
         Penfield, NY 14526
                                                                   Basis for the claim:
         Date(s) debt was incurred  12/2/2021
         Last 4 digits of account number 8440                      Is the claim subject to offset?     No       Yes




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3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Chuck Pfaehler                                               Contingent
         11 Viewpoint Dr.                                             Unliquidated
         Alexandria, KY 41001                                         Disputed
         Date(s) debt was incurred 3/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3111
                                                                   Is the claim subject to offset?     No       Yes

3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,040.04
         Cincinnati Belting                                           Contingent
         5500 Ridge Ave.                                              Unliquidated
         Cincinnati, OH 45213                                         Disputed
         Date(s) debt was incurred   Various                       Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,036.80
         CINCY LIFT TRUCK                                             Contingent
         7685 ST RT 48                                                Unliquidated
         STE 5                                                        Disputed
         Mainville, OH 45039
                                                                   Basis for the claim:
         Date(s) debt was incurred   Various
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Cindy Zimmermann                                             Contingent
         2096 Lindsey Ln                                              Unliquidated
         NICEVILLE, FL 32578                                          Disputed
         Date(s) debt was incurred 3/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0701
                                                                   Is the claim subject to offset?     No       Yes

3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $225.62
         Clay Goddard                                                 Contingent
         400 Lolton RD NW                                             Unliquidated
         Atlanta, GA 30309                                            Disputed
         Date(s) debt was incurred  5/28/2022                      Basis for the claim:
         Last 4 digits of account number 0700
                                                                   Is the claim subject to offset?     No       Yes

3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Clayton Luedtke                                              Contingent
         1151 Palmer Rd                                               Unliquidated
         Gatesville, TX 76528                                         Disputed
         Date(s) debt was incurred  8/24/2017                      Basis for the claim:
         Last 4 digits of account number 5700
                                                                   Is the claim subject to offset?     No       Yes

3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Climate Engineers                                            Contingent
         Greg Shanahan                                                Unliquidated
         60 Lincoln St.                                               Disputed
         Hingham, MA 02043
                                                                   Basis for the claim:
         Date(s) debt was incurred  6/24/2021
         Last 4 digits of account number 0901                      Is the claim subject to offset?     No       Yes




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3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         CLIMATE SOLUTIONS                                            Contingent
         MIKE JUSTINICH                                               Unliquidated
         40 Beach Ave.                                                Disputed
         LA GRANGE PARK, IL 60526
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/30/2020
         Last 4 digits of account number 3100                      Is the claim subject to offset?     No       Yes


3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Cloonan wine barrels                                         Contingent
         William Cloonan                                              Unliquidated
         3415 Auburn Ct.                                              Disputed
         PASO ROBLES, CA 93446
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/2/2022
         Last 4 digits of account number 1800                      Is the claim subject to offset?     No       Yes


3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Colarelli Construction                                       Contingent
         Jim Steward                                                  Unliquidated
         419 E Vermijo SE                                             Disputed
         Colorado Spriings, CO 80903
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/17/2020
         Last 4 digits of account number 9400                      Is the claim subject to offset?     No       Yes


3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $114.74
         Colette Williamson                                           Contingent
         139 Sea View Drive                                           Unliquidated
         CITY BY THE SEA, TX 78336                                    Disputed
         Date(s) debt was incurred 6/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3000
                                                                   Is the claim subject to offset?     No       Yes

3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Colonial Heating and Cooling                                 Contingent
         Pete Weisheimer                                              Unliquidated
         671 Windmiller Dr.                                           Disputed
         PICKERINGTON, OH 43147
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/3/2021
         Last 4 digits of account number 3300                      Is the claim subject to offset?     No       Yes


3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Comstock HVAC INC                                            Contingent
         Matt Burt                                                    Unliquidated
         2 Elizabeth St.                                              Disputed
         NAPLES, NY 14512
                                                                   Basis for the claim:
         Date(s) debt was incurred  10/6/2021
         Last 4 digits of account number 4200                      Is the claim subject to offset?     No       Yes


3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,300.00
         Conrad Manfred -Kodiak GC                                    Contingent
         4516 N Bessie Lane                                           Unliquidated
         Spokane, WA 93211                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   9520
                                                                   Is the claim subject to offset?     No       Yes




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3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Cousins Air inc                                              Contingent
         Steve Jeziorowski                                            Unliquidated
         3300 SW 15th St.                                             Disputed
         DEERFIELD BCH, FL 33442
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/22/2022
         Last 4 digits of account number 1000                      Is the claim subject to offset?     No       Yes


3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,711.47
         CR Laurence Co                                               Contingent
         PO Box 58923                                                 Unliquidated
         Los Angeles, CA 90058-0923                                   Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Craft Heating                                                Contingent
         Jim Kay                                                      Unliquidated
         31 Noble Ave.                                                Disputed
         PITTSBURGH, PA 15205
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/10/2021
         Last 4 digits of account number 2900                      Is the claim subject to offset?     No       Yes


3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,518.30
         Craig Kessler                                                Contingent
         950 Baywood Ct                                               Unliquidated
         COLUMBUS, IN 47201                                           Disputed
         Date(s) debt was incurred 5/18/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5800
                                                                   Is the claim subject to offset?     No       Yes

3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Craver Construction                                          Contingent
         Gage Craver                                                  Unliquidated
         5318 Parker Branch Rd.                                       Disputed
         FRANKLIN, TN 37064
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/10/2022
         Last 4 digits of account number 0100                      Is the claim subject to offset?     No       Yes


3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $554.04
         Cristi De Leon                                               Contingent
         112 Somerset Drive                                           Unliquidated
         Novato, CA 94945                                             Disputed
         Date(s) debt was incurred  5/16/2022                      Basis for the claim:
         Last 4 digits of account number 1123
                                                                   Is the claim subject to offset?     No       Yes

3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Crown Heating and Cooling                                    Contingent
         Scott Seifert                                                Unliquidated
         11197 Cleveland Ave NW                                       Disputed
         Uniontown, OH 44685
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/15/2020
         Last 4 digits of account number 8600                      Is the claim subject to offset?     No       Yes




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3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $767.15
         Curtis Reed                                                  Contingent
         17942 Homestead Bluffs Dr.                                   Unliquidated
         Wildwood, MO 63005                                           Disputed
         Date(s) debt was incurred 2/28/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7901
                                                                   Is the claim subject to offset?     No       Yes

3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         CUSTOM COMFORT                                               Contingent
         RICK LUCZAK                                                  Unliquidated
         1101 W 850 N                                                 Disputed
         CENTERVILLE, UT 84014
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/27/2022
         Last 4 digits of account number 2511                      Is the claim subject to offset?     No       Yes


3.225    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         CUSTOM COMFORT                                               Contingent
         RICK LUCZAK                                                  Unliquidated
         1101 W 850 N                                                 Disputed
         CENTERVILLE, UT 84014
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/27/2022
         Last 4 digits of account number 2511                      Is the claim subject to offset?     No       Yes


3.226    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.69
         Cynthia Harden                                               Contingent
         210 East 36th St.                                            Unliquidated
         Apt. 1 D                                                     Disputed
         Manhatten, NY 10016
                                                                   Basis for the claim:
         Date(s) debt was incurred   6/1/2022
         Last 4 digits of account number  8600                     Is the claim subject to offset?     No       Yes


3.227    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         D & R Heating and Cooling                                    Contingent
         Marcus Richards                                              Unliquidated
         1201 E M 36 STE B                                            Disputed
         PINCKNEY, MI 48169
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/4/2021
         Last 4 digits of account number 2911                      Is the claim subject to offset?     No       Yes


3.228    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         D & R Heating and Cooling                                    Contingent
         Tom Heider                                                   Unliquidated
         1201 E M 36 STE #8                                           Disputed
         PINCKNEY, MI 48169
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/29/2020
         Last 4 digits of account number 9400                      Is the claim subject to offset?     No       Yes


3.229    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Dale Johnson                                                 Contingent
         Hotel Vintage Portland                                       Unliquidated
         422 S. Broadway                                              Disputed
         Portland, OR 97205
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/31/2022
         Last 4 digits of account number 0200                      Is the claim subject to offset?     No       Yes




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3.230    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         DAMON GARRETT                                                Contingent
         3208 Glenview Park Way                                       Unliquidated
         LOUISVILLE, KY 40222                                         Disputed
         Date(s) debt was incurred 6/7/2018
                                                                   Basis for the claim:
         Last 4 digits of account number 8200
                                                                   Is the claim subject to offset?     No       Yes

3.231    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,981.97
         Daniel Phillips                                              Contingent
         1031 Tyne Blvd.                                              Unliquidated
         NASHVILLE, TN 37220                                          Disputed
         Date(s) debt was incurred 12/30/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 6303
                                                                   Is the claim subject to offset?     No       Yes

3.232    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Daniel Phillips c/o Stacy Walke                              Contingent
         744 East Main St.                                            Unliquidated
         NASHVILLE, TN 37220                                          Disputed
         Date(s) debt was incurred 1/4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3187
                                                                   Is the claim subject to offset?     No       Yes

3.233    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Daniel Wieczynski                                            Contingent
         23 West Isle Place                                           Unliquidated
         THE WOODLANDS, TX 77381                                      Disputed
         Date(s) debt was incurred 6/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7600
                                                                   Is the claim subject to offset?     No       Yes

3.234    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $780.12
         Daniel Wissert                                               Contingent
         478 Misty Lane                                               Unliquidated
         WINTER PARK, FL 32789                                        Disputed
         Date(s) debt was incurred 6/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8500
                                                                   Is the claim subject to offset?     No       Yes

3.235    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,677.42
         Danielle Yancey                                              Contingent
         2809 Pump House Rd                                           Unliquidated
         Mountain Brook, AL 35243                                     Disputed
         Date(s) debt was incurred 3/16/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2300
                                                                   Is the claim subject to offset?     No       Yes

3.236    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Danny Baker                                                  Contingent
         154 Neighborhood Rd                                          Unliquidated
         Ringgold, GA 30736                                           Disputed
         Date(s) debt was incurred 3/18/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 5100
                                                                   Is the claim subject to offset?     No       Yes




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3.237    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,700.68
         Danny McCartney                                              Contingent
         914 W Washington St.                                         Unliquidated
         ORLANDO, FL 32805                                            Disputed
         Date(s) debt was incurred 5/12/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0200
                                                                   Is the claim subject to offset?     No       Yes

3.238    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Dario Compain                                                Contingent
         14910 Persistence Drive                                      Unliquidated
         WDBG, VA 22191                                               Disputed
         Date(s) debt was incurred 1/12/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4500
                                                                   Is the claim subject to offset?     No       Yes

3.239    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Darryl Gee                                                   Contingent
         13012 Surry Rd.                                              Unliquidated
         GOSHEN, KY 40026                                             Disputed
         Date(s) debt was incurred  3/8/2021                       Basis for the claim:
         Last 4 digits of account number 2002
                                                                   Is the claim subject to offset?     No       Yes

3.240    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Dave Brownell                                                Contingent
         956 Reef Lane                                                Unliquidated
         Vero Beach, FL 32963                                         Disputed
         Date(s) debt was incurred 7/30/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 4403
                                                                   Is the claim subject to offset?     No       Yes

3.241    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Davey Construction                                           Contingent
         Patrick Davey                                                Unliquidated
         2800 Piedmont Rd. NE Suite D                                 Disputed
         Atlanta, GA 30305
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/15/2021
         Last 4 digits of account number 3000                      Is the claim subject to offset?     No       Yes


3.242    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,580.71
         David Anderson                                               Contingent
         225 Colonial Drive                                           Unliquidated
         SOUTH PITTSBURG, TN 37380                                    Disputed
         Date(s) debt was incurred 5/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8202
                                                                   Is the claim subject to offset?     No       Yes

3.243    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         David Auger                                                  Contingent
         1020 NE Pine Island Rd.                                      Unliquidated
         CAPE CORAL, FL 33909                                         Disputed
         Date(s) debt was incurred 9/23/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 7000
                                                                   Is the claim subject to offset?     No       Yes




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3.244    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         David Chavers                                                Contingent
         36202 Toulouse St.                                           Unliquidated
         Prairieville, LA 70769                                       Disputed
         Date(s) debt was incurred  5/5/2022                       Basis for the claim:
         Last 4 digits of account number 7100
                                                                   Is the claim subject to offset?     No       Yes

3.245    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,757.33
         David Dupree                                                 Contingent
         730 Virginia Street                                          Unliquidated
         GRAHAM, TX 76450                                             Disputed
         Date(s) debt was incurred  4/19/2022                      Basis for the claim:
         Last 4 digits of account number 0200
                                                                   Is the claim subject to offset?     No       Yes

3.246    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         David Labensky                                               Contingent
         1415 La Boutiller Road                                       Unliquidated
         MALVERN, PA 19355                                            Disputed
         Date(s) debt was incurred 8/19/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 6000
                                                                   Is the claim subject to offset?     No       Yes

3.247    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         David Lignore                                                Contingent
         34 GREEN LANE                                                Unliquidated
         MALVERN, PA 19355                                            Disputed
         Date(s) debt was incurred  4/26/2018                      Basis for the claim:
         Last 4 digits of account number 0602
                                                                   Is the claim subject to offset?     No       Yes

3.248    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,132.83
         David Pointer                                                Contingent
         170 Walnut St Unit 9G                                        Unliquidated
         New Orleans, LA 70118                                        Disputed
         Date(s) debt was incurred 4/17/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1900
                                                                   Is the claim subject to offset?     No       Yes

3.249    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,325.00
         David Tavaras                                                Contingent
         45 Woodcock Mountain Rd.                                     Unliquidated
         Washingtonville, NY 10992                                    Disputed
         Date(s) debt was incurred 5/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9611
                                                                   Is the claim subject to offset?     No       Yes

3.250    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $319.44
         David Westby                                                 Contingent
         2951 Whispering Pines Rd.                                    Unliquidated
         New Meadows, ID 83654                                        Disputed
         Date(s) debt was incurred 5/21/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4800
                                                                   Is the claim subject to offset?     No       Yes




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3.251    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Debbie Jarrett                                               Contingent
         The Wine Beach                                               Unliquidated
         5351 E 2nd Street                                            Disputed
         Belmont Shore, CA 90803
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/7/2022
         Last 4 digits of account number 6010                      Is the claim subject to offset?     No       Yes


3.252    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Debby Steckler                                               Contingent
         7148 Meadow Creek Dr.                                        Unliquidated
         DALLAS, TX 75254                                             Disputed
         Date(s) debt was incurred 9/2/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 5200
                                                                   Is the claim subject to offset?     No       Yes

3.253    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Del Air                                                      Contingent
         Chrisitne Christy                                            Unliquidated
         531Cdoisco Way                                               Disputed
         SANFORD, FL 32771
                                                                   Basis for the claim:
         Date(s) debt was incurred  7/2/2020
         Last 4 digits of account number 1900                      Is the claim subject to offset?     No       Yes


3.254    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Delphine Damon                                               Contingent
         1019 Chancery Lane S                                         Unliquidated
         Nashville, TN 37215                                          Disputed
         Date(s) debt was incurred 4/26/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5430
                                                                   Is the claim subject to offset?     No       Yes

3.255    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $230.84
         Denise Kluesener                                             Contingent
         5189 Clark State Rd                                          Unliquidated
         GAHANNA, OH 43230                                            Disputed
         Date(s) debt was incurred 2/25/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5600
                                                                   Is the claim subject to offset?     No       Yes

3.256    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Dennis Bucalo                                                Contingent
         120 Hillandale Ct                                            Unliquidated
         N BARRINGTON, IL 60010                                       Disputed
         Date(s) debt was incurred 12/8/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 1700
                                                                   Is the claim subject to offset?     No       Yes

3.257    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Dennis Coughlin                                              Contingent
         45 EAST 22 STREET PROPERTY LLC                               Unliquidated
         NEW YORK, NY 10010                                           Disputed
         Date(s) debt was incurred 11/29/2017
                                                                   Basis for the claim:
         Last 4 digits of account number 4100
                                                                   Is the claim subject to offset?     No       Yes




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3.258    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $482.24
         Dennis Gleason                                               Contingent
         5445 Route 67                                                Unliquidated
         EAST DURHAM, NY 12423                                        Disputed
         Date(s) debt was incurred 5/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0407
                                                                   Is the claim subject to offset?     No       Yes

3.259    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $576.58
         Dennis Wolf                                                  Contingent
         9305 Hollister st                                            Unliquidated
         Ventura, CA 93004                                            Disputed
         Date(s) debt was incurred  5/2/2022                       Basis for the claim:
         Last 4 digits of account number 5000
                                                                   Is the claim subject to offset?     No       Yes

3.260    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,816.93
         Derek Keck                                                   Contingent
         F.E. Trainer Construction                                    Unliquidated
         5532 Old Walland Way                                         Disputed
         KNOXVILLE, TN 37886
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/7/2022
         Last 4 digits of account number 8103                      Is the claim subject to offset?     No       Yes


3.261    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,500.00
         Desman Murphe                                                Contingent
         1 Bellcove                                                   Unliquidated
         Kings Poiint, NY 11024                                       Disputed
         Date(s) debt was incurred 5/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6000
                                                                   Is the claim subject to offset?     No       Yes

3.262    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         Dimitri Koukoulomatis                                        Contingent
         1286 West 106 St.                                            Unliquidated
         CARMEL, IN 46032                                             Disputed
         Date(s) debt was incurred 6/8/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7602
                                                                   Is the claim subject to offset?     No       Yes

3.263    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Dina Malloch                                                 Contingent
         235 Tremont Ln                                               Unliquidated
         SARASOTA, FL 34236                                           Disputed
         Date(s) debt was incurred 4/28/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 4800
                                                                   Is the claim subject to offset?     No       Yes

3.264    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $285.02
         Diversified Communications Group                             Contingent
         1008 Seabrook Way                                            Unliquidated
         Cincinnati, OH 45245-2038                                    Disputed
         Date(s) debt was incurred 3/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.265    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Dominic Peters                                               Contingent
         4520 Broadway St.                                            Unliquidated
         Quincy, IL 62305                                             Disputed
         Date(s) debt was incurred  3/3/2022                       Basis for the claim:
         Last 4 digits of account number 3010
                                                                   Is the claim subject to offset?     No       Yes

3.266    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Don Albert                                                   Contingent
         19112 Oahu Ln.                                               Unliquidated
         Sarasota, CA 95070                                           Disputed
         Date(s) debt was incurred  10/6/2021                      Basis for the claim:
         Last 4 digits of account number 5700
                                                                   Is the claim subject to offset?     No       Yes

3.267    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Donald Westermeyer                                           Contingent
         9740 Cozaddale Murdock Rd.                                   Unliquidated
         LOVELAND, OH 45140                                           Disputed
         Date(s) debt was incurred 10/13/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 6900
                                                                   Is the claim subject to offset?     No       Yes

3.268    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,136.44
         Donnie Johnson                                               Contingent
         Pigneti's                                                    Unliquidated
         401 S 3rd St.                                                Disputed
         WACO, TX 76706
                                                                   Basis for the claim:
         Date(s) debt was incurred  6/3/2022
         Last 4 digits of account number 1000                      Is the claim subject to offset?     No       Yes


3.269    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Donnie Rowe Heating and Air                                  Contingent
         Donnie Rowe                                                  Unliquidated
         283 Gold Rush Rd.                                            Disputed
         LEXINGTON, KY 40503
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/21/2021
         Last 4 digits of account number 7811                      Is the claim subject to offset?     No       Yes


3.270    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,904.00
         Doohi Lee                                                    Contingent
         5513 St. Andrews CT.                                         Unliquidated
         PLANO, TX 75093                                              Disputed
         Date(s) debt was incurred 4/11/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2600
                                                                   Is the claim subject to offset?     No       Yes

3.271    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,000.00
         Dorio Forest Products                                        Contingent
         PO Box 6631                                                  Unliquidated
         Ashland, VA 23005                                            Disputed
         Date(s) debt was incurred 5/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.272    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Dorothy Fosina                                               Contingent
         24 East Ave #142                                             Unliquidated
         NEW CANAAN, CT 06840                                         Disputed
         Date(s) debt was incurred 10/6/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 5300
                                                                   Is the claim subject to offset?     No       Yes

3.273    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,985.25
         Doug Heay                                                    Contingent
         C & H Construction                                           Unliquidated
         2005 East Bay Drive NE                                       Disputed
         OLYMPIA, WA 98506
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number 6300                      Is the claim subject to offset?     No       Yes


3.274    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,961.33
         Doug Sims
         Wine Cellar Cowboy                                           Contingent
         7750 E Gelding Dr.                                           Unliquidated
         STE#1                                                        Disputed
         SCOTTSDALE, AZ 85260
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/9/2021
         Last 4 digits of account number 7500                      Is the claim subject to offset?     No       Yes


3.275    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $198.38
         Douglas Townsend                                             Contingent
         18 Howland Avenue                                            Unliquidated
         DARTMOUTH, MA 02748                                          Disputed
         Date(s) debt was incurred 5/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6700
                                                                   Is the claim subject to offset?     No       Yes

3.276    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Douglas Lioon                                                Contingent
         250 ordale glvd                                              Unliquidated
         PITTSBURGH, PA 15228                                         Disputed
         Date(s) debt was incurred 5/26/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 8400
                                                                   Is the claim subject to offset?     No       Yes

3.277    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Drew Engles                                                  Contingent
         505St. Andrews Dr.                                           Unliquidated
         Akron, OH 44303                                              Disputed
         Date(s) debt was incurred  3/3/2022                       Basis for the claim:
         Last 4 digits of account number 6100
                                                                   Is the claim subject to offset?     No       Yes

3.278    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $301.00
         Duane Dibble                                                 Contingent
         249 Arbre Croche Ct.                                         Unliquidated
         Porter, IN 46304                                             Disputed
         Date(s) debt was incurred  4/26/2022                      Basis for the claim:
         Last 4 digits of account number 8100
                                                                   Is the claim subject to offset?     No       Yes




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3.279    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Duffy Construction Management                                Contingent
         Aaron Spencer                                                Unliquidated
         320 E Long St.                                               Disputed
         COLUMBUS, OH 43215
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/28/2021
         Last 4 digits of account number 5500                      Is the claim subject to offset?     No       Yes


3.280    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $68.79
         Duke Energy                                                  Contingent
         PO Box 1094                                                  Unliquidated
         Charlotte, NC 28201-1094                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   2506
                                                                   Is the claim subject to offset?     No       Yes

3.281    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Dulce Vista Investments                                      Contingent
         Nick Bassarab                                                Unliquidated
         1295 Arrington Rd.                                           Disputed
         College Station, TX 77845
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/12/2020
         Last 4 digits of account number 3400                      Is the claim subject to offset?     No       Yes


3.282    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $324.29
         Dustin Shean                                                 Contingent
         1139 El Abra Way                                             Unliquidated
         SAN JOSE, CA 95125                                           Disputed
         Date(s) debt was incurred 5/29/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9600
                                                                   Is the claim subject to offset?     No       Yes

3.283    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         EAC Heating and Air                                          Contingent
         Jay Odom                                                     Unliquidated
         76Beach City Rd.                                             Disputed
         HILTON HEAD, SC 29926
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/11/2019
         Last 4 digits of account number 4500                      Is the claim subject to offset?     No       Yes


3.284    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         EAC Heating and Air                                          Contingent
         Chris Epperson                                               Unliquidated
         76 Beach City Rd. STE#A                                      Disputed
         HILTON HEAD ISLAND, SC 29926
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/23/2020
         Last 4 digits of account number 3400                      Is the claim subject to offset?     No       Yes


3.285    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         EAST TEXAS REFRIGERATION                                     Contingent
         Todd Green                                                   Unliquidated
         4700 Old Troup Hwy                                           Disputed
         TYLER, TX 75707
                                                                   Basis for the claim:
         Date(s) debt was incurred 8/19/2021
         Last 4 digits of account number 3800                      Is the claim subject to offset?     No       Yes




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3.286    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Ed Jordan                                                    Contingent
         4878 E Blossom Dr.                                           Unliquidated
         DOYLESTOWN, PA 18902                                         Disputed
         Date(s) debt was incurred 10/15/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 0121
                                                                   Is the claim subject to offset?     No       Yes

3.287    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Eddie Merlot Restaurant                                      Contingent
         Tim Tribbett                                                 Unliquidated
         997 Chestnut Hills Pkwy                                      Disputed
         Lincolnshire, IL 60069
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/8/2018
         Last 4 digits of account number 1700                      Is the claim subject to offset?     No       Yes


3.288    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Eddy Homes Inc                                               Contingent
         Matthew Moritz                                               Unliquidated
         902 Silver Spring Lane                                       Disputed
         WEXFORD, PA 15090
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/13/2018
         Last 4 digits of account number 2800                      Is the claim subject to offset?     No       Yes


3.289    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $716.31
         Eddy Matthew                                                 Contingent
         KRT Construction                                             Unliquidated
         4325 N 156th St.                                             Disputed
         OMAHA, NE 68116
                                                                   Basis for the claim:
         Date(s) debt was incurred   4/18/2022
         Last 4 digits of account number  3000                     Is the claim subject to offset?     No       Yes


3.290    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Eds Supply Company                                           Contingent
         Donnie Bates                                                 Unliquidated
         126 East Emery St.                                           Disputed
         DALTON, GA 30721
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/27/2022
         Last 4 digits of account number 2100                      Is the claim subject to offset?     No       Yes


3.291    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,595.21
         Edward Halstead                                              Contingent
         W273N2466 Arlington Dr.                                      Unliquidated
         Pewaljkee, WI 53072                                          Disputed
         Date(s) debt was incurred 4/29/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7300
                                                                   Is the claim subject to offset?     No       Yes

3.292    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,408.45
         Edward Hollman                                               Contingent
         1350 Eavess Sprinig Dr.                                      Unliquidated
         Malven, PA 19355                                             Disputed
         Date(s) debt was incurred 4/18/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5030
                                                                   Is the claim subject to offset?     No       Yes




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3.293    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $178.44
         Edward Lesniak                                               Contingent
         2503 JARVIS ST SW                                            Unliquidated
         DECATUR, AL 35603                                            Disputed
         Date(s) debt was incurred  5/28/2022                      Basis for the claim:
         Last 4 digits of account number 0300
                                                                   Is the claim subject to offset?     No       Yes

3.294    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Efficent                                                     Contingent
         Mike Ireland                                                 Unliquidated
         2410 Pope ST.                                                Disputed
         BEAUMONT, TX 77703
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/29/2021
         Last 4 digits of account number 5900                      Is the claim subject to offset?     No       Yes


3.295    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,858.51
         ELECTRIC MOTOR TECHNOLOGIES                                  Contingent
         5217 Beech St.                                               Unliquidated
         Cincinnati, OH 45217                                         Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.296    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $567.22
         Eleni Madonis                                                Contingent
         452 Teddy Ave                                                Unliquidated
         LANCASTER, PA 17601                                          Disputed
         Date(s) debt was incurred 6/6/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1400
                                                                   Is the claim subject to offset?     No       Yes

3.297    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Elizabeth Armato                                             Contingent
         5048 Shadow River St                                         Unliquidated
         Las Vegas, NV 89148                                          Disputed
         Date(s) debt was incurred 1/19/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3000
                                                                   Is the claim subject to offset?     No       Yes

3.298    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,573.07
         Elizabeth Metzger                                            Contingent
         5122 THornton                                                Unliquidated
         EL PASO, TX 79932                                            Disputed
         Date(s) debt was incurred  5/20/2022                      Basis for the claim:
         Last 4 digits of account number 8903,04
                                                                   Is the claim subject to offset?     No       Yes

3.299    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,125.79
         Elizabeth Reed                                               Contingent
         10217 45th St E                                              Unliquidated
         EDGEWOOD, WA 98372                                           Disputed
         Date(s) debt was incurred 5/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5400
                                                                   Is the claim subject to offset?     No       Yes




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3.300    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Elyse Rawls                                                  Contingent
         1828 Marengo Street                                          Unliquidated
         NEW ORLEANS, LA 70115                                        Disputed
         Date(s) debt was incurred 11/4/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 4302
                                                                   Is the claim subject to offset?     No       Yes

3.301    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Environment Masters                                          Contingent
         Nick Black                                                   Unliquidated
         168 E Porter St.                                             Disputed
         JACKSON, MS 39215
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/16/2021
         Last 4 digits of account number 9500                      Is the claim subject to offset?     No       Yes


3.302    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,780.65
         Eric McClendon                                               Contingent
         B&L Cabinets                                                 Unliquidated
         901 Mobile Drive                                             Disputed
         Longview, TX 75604
                                                                   Basis for the claim:
         Date(s) debt was incurred  3/28/2022
         Last 4 digits of account number 0282,1                    Is the claim subject to offset?     No       Yes


3.303    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Eric Misaps                                                  Contingent
         10101 Mula Rd.                                               Unliquidated
         Stafford, TX 77477                                           Disputed
         Date(s) debt was incurred  10/29/2020                     Basis for the claim:
         Last 4 digits of account number 0400
                                                                   Is the claim subject to offset?     No       Yes

3.304    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Eric Ragland                                                 Contingent
         2363 Grandin Rd                                              Unliquidated
         CINCINNATI, OH 45208                                         Disputed
         Date(s) debt was incurred 5/21/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 3402
                                                                   Is the claim subject to offset?     No       Yes

3.305    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Eric Schwab                                                  Contingent
         984 Waddington St                                            Unliquidated
         BLOOMFIELD, MI 48301                                         Disputed
         Date(s) debt was incurred 11/12/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 9902
                                                                   Is the claim subject to offset?     No       Yes

3.306    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $208.62
         Ernesto Lopes                                                Contingent
         99 Pond Cypress Way                                          Unliquidated
         SANTA ROSA BEACH, FL 32459                                   Disputed
         Date(s) debt was incurred 6/11/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2400
                                                                   Is the claim subject to offset?     No       Yes




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3.307    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Executive Air Cooling, Heating, & Refrig                     Contingent
         David Street                                                 Unliquidated
         4012 Commons Dr. Suite 106                                   Disputed
         DESTIN, FL 32541
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/27/2022
         Last 4 digits of account number 1700                      Is the claim subject to offset?     No       Yes


3.308    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Farzan Roohparvar                                            Contingent
         100 Auzerais Ct                                              Unliquidated
         LOS GATOS, CA 95032                                          Disputed
         Date(s) debt was incurred 1/5/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6800
                                                                   Is the claim subject to offset?     No       Yes

3.309    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $38,066.25
         Fastenal Company                                             Contingent
         PO Box 1286                                                  Unliquidated
         Winona, MN 55987-1286                                        Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.310    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $71,879.34
         FedEx                                                        Contingent
         PO Box223125                                                 Unliquidated
         Pittsburgh, PA 15251-2125                                    Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number 1573
                                                                   Is the claim subject to offset?     No       Yes

3.311    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $125.74
         FedEX Trade Network                                          Contingent
         7075 Ordan Dr.                                               Unliquidated
         Mississauga, ON L5T1K6                                       Disputed
         Date(s) debt was incurred 7/18/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.312    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         First Degree Refrigeration, LLC                              Contingent
         First Degree Refrigeration, LLC                              Unliquidated
         2220 Myrtle Ave                                              Disputed
         EL PASO, TX 79901
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/9/2022
         Last 4 digits of account number 8400                      Is the claim subject to offset?     No       Yes


3.313    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,135.46
         First National Bank of Omaha                                 Contingent
         PO Box 2818                                                  Unliquidated
         Omaha, NE 68103-2818                                         Disputed
         Date(s) debt was incurred 6/16/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.314    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $399.36
         Flodraulic Group, Inc                                        Contingent
         PO Box 772676                                                Unliquidated
         Detroit, MI 48277-2676                                       Disputed
         Date(s) debt was incurred 3/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.315    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Florida Comfort Inc.                                         Contingent
         Kevin Adams                                                  Unliquidated
         5912-1 St. Augustine Rd.                                     Disputed
         JACKSONVILLE, FL 32207
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/10/2020
         Last 4 digits of account number 6200                      Is the claim subject to offset?     No       Yes


3.316    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Floyd McSpadden                                              Contingent
         4465 Thomas Park                                             Unliquidated
         BEAUMONT, TX 77706                                           Disputed
         Date(s) debt was incurred 2/24/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 3200
                                                                   Is the claim subject to offset?     No       Yes

3.317    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Fort Collins Heating                                         Contingent
         Jon Leskinen                                                 Unliquidated
         208 Commerce Dr. STE#4                                       Disputed
         FORT COLLINS, CO 80524
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/29/2021
         Last 4 digits of account number 5200                      Is the claim subject to offset?     No       Yes


3.318    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,352.38
         Franicis Gergen                                              Contingent
         6408 W 55th St.                                              Unliquidated
         Soux Falls, SD 57106                                         Disputed
         Date(s) debt was incurred  5/17/2022                      Basis for the claim:
         Last 4 digits of account number 1491,1,2
                                                                   Is the claim subject to offset?     No       Yes

3.319    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,700.00
         Frank Bresee                                                 Contingent
         Bremac, Inc                                                  Unliquidated
         8133 Mechanicsville Turnpike                                 Disputed
         MECHANICSVILLE, VA 23111
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/13/2022
         Last 4 digits of account number 0906                      Is the claim subject to offset?     No       Yes


3.320    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Frank Pupo                                                   Contingent
         Lighthouse Recru                                             Unliquidated
         15390 SW 128th St. Unit2                                     Disputed
         Miami, FL 33186
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/12/2022
         Last 4 digits of account number 1111                      Is the claim subject to offset?     No       Yes




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3.321    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,146.92
         Frank Roetzel                                                Contingent
         6034 Heavenly View                                           Unliquidated
         Steamboat Spr, CO 60487                                      Disputed
         Date(s) debt was incurred 3/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0980
                                                                   Is the claim subject to offset?     No       Yes

3.322    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Frieda Stark                                                 Contingent
         145 FCR 403                                                  Unliquidated
         BUFFALO, TX 75831                                            Disputed
         Date(s) debt was incurred  1/20/2022                      Basis for the claim:
         Last 4 digits of account number 3900
                                                                   Is the claim subject to offset?     No       Yes

3.323    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $498.48
         Friulmac Inc.                                                Contingent
         1052 13th St. SE                                             Unliquidated
         Hickory, NC 28602                                            Disputed
         Date(s) debt was incurred   6/22/2022                     Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.324    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,970.77
         FRY Fastening System                                         Contingent
         PO Box 645586                                                Unliquidated
         Cincinnati, OH 45264-5586                                    Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.325    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Gainey Pro                                                   Contingent
         Bernard Gainey                                               Unliquidated
         8451 Hillside Ave.                                           Disputed
         W HOLLYWOOD, CA 90069
                                                                   Basis for the claim:
         Date(s) debt was incurred 10/6/2021
         Last 4 digits of account number 5101                      Is the claim subject to offset?     No       Yes


3.326    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Garrett Downing                                              Contingent
         28 Hickory Meadow Rd                                         Unliquidated
         Cockeysville, MD 20130                                       Disputed
         Date(s) debt was incurred 5/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1700
                                                                   Is the claim subject to offset?     No       Yes

3.327    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Garrick Lamb                                                 Contingent
         107 A McDougall CT                                           Unliquidated
         GREENVILLE, SC 29607                                         Disputed
         Date(s) debt was incurred 10/5/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 3202
                                                                   Is the claim subject to offset?     No       Yes




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3.328    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Gary Greener                                                 Contingent
         1405 Belle Terre Ct                                          Unliquidated
         HERRIN, IL 62948                                             Disputed
         Date(s) debt was incurred  4/26/2021                      Basis for the claim:
         Last 4 digits of account number 3103
                                                                   Is the claim subject to offset?     No       Yes

3.329    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Gary Kronen                                                  Contingent
         418 Luthin Rd                                                Unliquidated
         OAK BROOK, IL 60523                                          Disputed
         Date(s) debt was incurred 10/7/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 0400
                                                                   Is the claim subject to offset?     No       Yes

3.330    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Gas Associates, Inc                                          Contingent
         Williams Steven                                              Unliquidated
         65Avco Rd.                                                   Disputed
         BRADFORD, MA 01835
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/22/2020
         Last 4 digits of account number 4900                      Is the claim subject to offset?     No       Yes


3.331    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         General Air and Plumbing                                     Contingent
         Jarvis Fisher                                                Unliquidated
         28120 Hunters Ridge BLVD                                     Disputed
         BONITA SPRINGS, FL 34135
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/31/2022
         Last 4 digits of account number 1400                      Is the claim subject to offset?     No       Yes


3.332    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         General Sheet Metal                                          Contingent
         Bill Henderson                                               Unliquidated
         630 W Idaho                                                  Disputed
         kalispell, MT 59903
                                                                   Basis for the claim:
         Date(s) debt was incurred  2/3/2021
         Last 4 digits of account number 5800                      Is the claim subject to offset?     No       Yes


3.333    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Gentry Heating and Cooling                                   Contingent
         John Tate                                                    Unliquidated
         100 Buckeye Access Rd.                                       Disputed
         SWANNANOA, NC 28778
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/9/2017
         Last 4 digits of account number 9500                      Is the claim subject to offset?     No       Yes


3.334    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,700.00
         George O'Neil                                                Contingent
         28 Block Blvd                                                Unliquidated
         MASSAPEQUA PARK, NY 11762                                    Disputed
         Date(s) debt was incurred 4/11/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2800
                                                                   Is the claim subject to offset?     No       Yes




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3.335    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $902.13
         Geralyn Gray                                                 Contingent
         24 Chapoquoit Rd                                             Unliquidated
         Falmouth, MA 02540                                           Disputed
         Date(s) debt was incurred  5/16/2022                      Basis for the claim:
         Last 4 digits of account number 5400
                                                                   Is the claim subject to offset?     No       Yes

3.336    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Gilbeert Chavira                                             Contingent
         904 Vista Mia                                                Unliquidated
         EL PASO, TX 79922                                            Disputed
         Date(s) debt was incurred  6/10/2021                      Basis for the claim:
         Last 4 digits of account number 0500
                                                                   Is the claim subject to offset?     No       Yes

3.337    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,438.07
         Glen Mcparland                                               Contingent
         10 Laurel ave                                                Unliquidated
         KINGSTON, NJ 08528                                           Disputed
         Date(s) debt was incurred 5/5/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2200
                                                                   Is the claim subject to offset?     No       Yes

3.338    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,095.85
         Glen Bousher                                                 Contingent
         Besco Associates                                             Unliquidated
         105 Fred Brigham Rd.                                         Disputed
         Phippsburg, ME 04562
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/14/2022
         Last 4 digits of account number 3801                      Is the claim subject to offset?     No       Yes


3.339    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Glenmont HVAC                                                Contingent
         Brian Schindel                                               Unliquidated
         2267 Lewis Ave.                                              Disputed
         ROCKVILLE, MD 20851
                                                                   Basis for the claim:
         Date(s) debt was incurred 8/5/2021
         Last 4 digits of account number 1300                      Is the claim subject to offset?     No       Yes


3.340    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Global Payments                                              Contingent
         3550 Lenox Road, Suite 3000                                  Unliquidated
         Atlanta, GA 30326
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.341    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,604.88
         Gordon Miller                                                Contingent
         747 Everglades lane                                          Unliquidated
         LIVERMORE, CA 94551                                          Disputed
         Date(s) debt was incurred 5/5/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2900
                                                                   Is the claim subject to offset?     No       Yes




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3.342    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Gorge Garcia                                                 Contingent
         542 Montauk HWY                                              Unliquidated
         AMAGANSETT, NY 11930                                         Disputed
         Date(s) debt was incurred 7/28/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 3300
                                                                   Is the claim subject to offset?     No       Yes

3.343    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,783.60
         Grace Steele                                                 Contingent
         369 W Greenshield Rd.                                        Unliquidated
         Lake Orion, MI 48360                                         Disputed
         Date(s) debt was incurred 5/16/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2000
                                                                   Is the claim subject to offset?     No       Yes

3.344    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,927.87
         Grainger                                                     Contingent
         Dept 848124210                                               Unliquidated
         Palatine, IL 60038-0001                                      Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.345    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,300.00
         Grant Gamster                                                Contingent
         4408 Anherst                                                 Unliquidated
         DALLAS, TX 75205                                             Disputed
         Date(s) debt was incurred  5/31/2022                      Basis for the claim:
         Last 4 digits of account number 2600
                                                                   Is the claim subject to offset?     No       Yes

3.346    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         GRANT ROBINSON                                               Contingent
         195 Georgetown Woods Dr.                                     Unliquidated
         YOUNGSVILLE, NC 27596                                        Disputed
         Date(s) debt was incurred 8/23/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 1300
                                                                   Is the claim subject to offset?     No       Yes

3.347    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $89.58
         Grant Wheeler                                                Contingent
         221 Jefferson Ave                                            Unliquidated
         FISHER ISLAND, FL 33139                                      Disputed
         Date(s) debt was incurred 2/5/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4000
                                                                   Is the claim subject to offset?     No       Yes

3.348    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,641.56
         Greater Cincinnati Water Works                               Contingent
         PO Box 740689                                                Unliquidated
         Cincinnati, OH 45274-0689                                    Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.349    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,641.56
         Greater Cincinnati Water Works                               Contingent
         4747 Spring Grove Ave.                                       Unliquidated
         Cincinnati, OH 45232                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   0000
                                                                   Is the claim subject to offset?     No       Yes

3.350    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,794.14
         Greg Chappell                                                Contingent
         2006 Emperial Dr E.                                          Unliquidated
         NAPLES, FL 34110                                             Disputed
         Date(s) debt was incurred  5/9/2022                       Basis for the claim:
         Last 4 digits of account number 9500
                                                                   Is the claim subject to offset?     No       Yes

3.351    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Greg Dubroca                                                 Contingent
         200 Man Tibbs Rd. NW                                         Unliquidated
         Huntville, AL 35806                                          Disputed
         Date(s) debt was incurred 12/5/2019
                                                                   Basis for the claim:
         Last 4 digits of account number 1700
                                                                   Is the claim subject to offset?     No       Yes

3.352    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,171.36
         Greg Hunsberger                                              Contingent
         435 Windsor Parkway                                          Unliquidated
         Atlanta, GA 30342                                            Disputed
         Date(s) debt was incurred 4/7/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4800
                                                                   Is the claim subject to offset?     No       Yes

3.353    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,037.50
         Greg Maurer                                                  Contingent
         2958 Loire Lane                                              Unliquidated
         COLUMBUS, OH 43221                                           Disputed
         Date(s) debt was incurred 2/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6104
                                                                   Is the claim subject to offset?     No       Yes

3.354    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $310.68
         Greg Schlaich                                                Contingent
         30 Creekstone Dr                                             Unliquidated
         EAST AURORA, NY 14052                                        Disputed
         Date(s) debt was incurred 6/12/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3000
                                                                   Is the claim subject to offset?     No       Yes

3.355    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Greg Vogel                                                   Contingent
         11307 Mays Chapel Road                                       Unliquidated
         LUTHERVILLE, MD 21093                                        Disputed
         Date(s) debt was incurred 7/9/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 3600
                                                                   Is the claim subject to offset?     No       Yes




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3.356    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Gregg Elser                                                  Contingent
         4559 Peoples Rd                                              Unliquidated
         PITTSBURGH, PA 15237                                         Disputed
         Date(s) debt was incurred 10/28/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 5100
                                                                   Is the claim subject to offset?     No       Yes

3.357    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $306.19
         Gregory Fairchild                                            Contingent
         2948 West 13760 South                                        Unliquidated
         BLUFFDALE, UT 84065                                          Disputed
         Date(s) debt was incurred 4/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9200
                                                                   Is the claim subject to offset?     No       Yes

3.358    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,711.24
         Gretchen Bonasera                                            Contingent
         80 East Olentangy St.                                        Unliquidated
         POWELL, OH 43065                                             Disputed
         Date(s) debt was incurred 4/28/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7300
                                                                   Is the claim subject to offset?     No       Yes

3.359    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,454.56
         Guiseppe Tenton                                              Contingent
         GT Prime Steak House                                         Unliquidated
         707 N Wells St.                                              Disputed
         Chicago, IL 60607
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/20/2022
         Last 4 digits of account number 5500                      Is the claim subject to offset?     No       Yes


3.360    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $811.01
         Gustave Cella                                                Contingent
         650 Trace Ave.                                               Unliquidated
         517 Denver Ave.                                              Disputed
         San Jose, CA 95126
                                                                   Basis for the claim:
         Date(s) debt was incurred  6/4/2022
         Last 4 digits of account number 5700                      Is the claim subject to offset?     No       Yes


3.361    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,956.80
         Hacker Wood Products, Inc                                    Contingent
         2144 Jackson Rd.                                             Unliquidated
         Hamilton, OH 45011                                           Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.362    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,460.24
         Hafele America Co                                            Contingent
         PO Box 890779                                                Unliquidated
         charlotte, NC 28289-0779                                     Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.363    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Hal Buddenbohm                                               Contingent
         409 Justice Valley St.                                       Unliquidated
         Farragut, TN 37934                                           Disputed
         Date(s) debt was incurred 5/11/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8103
                                                                   Is the claim subject to offset?     No       Yes

3.364    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,500.00
         Hamish Munro                                                 Contingent
         8828 Cypress Reserve Circle                                  Unliquidated
         ORLANDO, FL 32836                                            Disputed
         Date(s) debt was incurred 6/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6000,01,02
                                                                   Is the claim subject to offset?     No       Yes

3.365    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,270.00
         Hardy Bidwell                                                Contingent
         1450 Drennen Rd                                              Unliquidated
         NEW CASTLE, KY 40050                                         Disputed
         Date(s) debt was incurred 2/18/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8902
                                                                   Is the claim subject to offset?     No       Yes

3.366    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Harmony Heating                                              Contingent
         Tom Bustin                                                   Unliquidated
         503 North Walnut Rd Suite 300                                Disputed
         KENNETT SQ, PA 19348
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/10/2022
         Last 4 digits of account number 0500                      Is the claim subject to offset?     No       Yes


3.367    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $26.50
         Harry Kertenian                                              Contingent
         1711 Outpost Lane                                            Unliquidated
         PASADENA, CA 91107                                           Disputed
         Date(s) debt was incurred 4/26/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0401
                                                                   Is the claim subject to offset?     No       Yes

3.368    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $592.17
         Hartford Group Benefits                                      Contingent
         PO Box 783690                                                Unliquidated
         Philadelphia, PA 19178                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   1684
                                                                   Is the claim subject to offset?     No       Yes

3.369    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,151.24
         Harvey West                                                  Contingent
         1236 Erickson Rd                                             Unliquidated
         COLUMBUS, OH 43227                                           Disputed
         Date(s) debt was incurred 5/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9800
                                                                   Is the claim subject to offset?     No       Yes




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3.370    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $976,524.27
         Heartland                                                    Contingent
         One Heartland Way                                            Unliquidated
         Jeffersonville, IN 47130
                                                                      Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number 9891
                                                                   Is the claim subject to offset?     No       Yes

3.371    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $706.66
         Heath Tarpley                                                Contingent
         2033 Deer Creek Cir                                          Unliquidated
         COLUMBUS, IN 47201                                           Disputed
         Date(s) debt was incurred 5/25/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5300
                                                                   Is the claim subject to offset?     No       Yes

3.372    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,001.51
         Helen Haiyin Xie                                             Contingent
         78 Chant Crescent                                            Unliquidated
         MARKHAM, Canada L3R 1Y8                                      Disputed
         Date(s) debt was incurred 3/23/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9801
                                                                   Is the claim subject to offset?     No       Yes

3.373    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,482.84
         Helen Lee                                                    Contingent
         17 snapping Bow                                              Unliquidated
         Plymouth, MA 02360                                           Disputed
         Date(s) debt was incurred  6/8/2022                       Basis for the claim:
         Last 4 digits of account number 7000
                                                                   Is the claim subject to offset?     No       Yes

3.374    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,950.88
         Herb Pedarre                                                 Contingent
         6505 N Glen Dr                                               Unliquidated
         CUMMING, GA 30028                                            Disputed
         Date(s) debt was incurred  5/4/2022                       Basis for the claim:
         Last 4 digits of account number 2801
                                                                   Is the claim subject to offset?     No       Yes

3.375    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         High Performance Energy Solutions                            Contingent
         Daniel Gallo                                                 Unliquidated
         2 Sand Cut Rd. Unit 9                                        Disputed
         Brookfield, CT 06804
                                                                   Basis for the claim:
         Date(s) debt was incurred 10/8/2020
         Last 4 digits of account number 5700                      Is the claim subject to offset?     No       Yes


3.376    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $262.63
         Holly Barrale                                                Contingent
         19060 KIPHEART DR                                            Unliquidated
         LEESBURG, VA 20176                                           Disputed
         Date(s) debt was incurred 4/29/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8100
                                                                   Is the claim subject to offset?     No       Yes




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3.377    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,419.32
         Holly Swezey                                                 Contingent
         101 W Willow Rd.                                             Unliquidated
         Fox Point, WI 53217                                          Disputed
         Date(s) debt was incurred  5/4/2022                       Basis for the claim:
         Last 4 digits of account number 6321
                                                                   Is the claim subject to offset?     No       Yes

3.378    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,194.49
         Howard Levy                                                  Contingent
         Emory Spine Center                                           Unliquidated
         21 Ortho Lane                                                Disputed
         Atlanta, GA 30329
                                                                   Basis for the claim:
         Date(s) debt was incurred  5/11/2022
         Last 4 digits of account number 7400                      Is the claim subject to offset?     No       Yes


3.379    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $620.39
         Howard Nicoll                                                Contingent
         2336 STONEBRAE CT                                            Unliquidated
         BERTHOUD, CO 80513                                           Disputed
         Date(s) debt was incurred 4/23/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0500
                                                                   Is the claim subject to offset?     No       Yes

3.380    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Howard Weiss                                                 Contingent
         3472 W Lakeshore Dr                                          Unliquidated
         Crown Point, IN 46307                                        Disputed
         Date(s) debt was incurred 6/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1200
                                                                   Is the claim subject to offset?     No       Yes

3.381    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,779.11
         Humana hlth Plan of OH                                       Contingent
         PO Box 4611 Box4611                                          Unliquidated
         Carol Stream, IL 60197-4611                                  Disputed
         Date(s) debt was incurred 8/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.382    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $90.40
         Hyde Park Lumber                                             Contingent
         3360 Red Bank Rd.                                            Unliquidated
         Cincinnati, OH 45227                                         Disputed
         Date(s) debt was incurred   5/2/2022                      Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.383    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,951.55
         Hyun Park                                                    Contingent
         6596 Regal Wood Drive                                        Unliquidated
         HUDSON, OH 44236                                             Disputed
         Date(s) debt was incurred 2/25/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6303
                                                                   Is the claim subject to offset?     No       Yes




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3.384    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,304.54
         Ian Greenfield                                               Contingent
         7156 SE Reed College Pl.                                     Unliquidated
         Portland, OR 97202                                           Disputed
         Date(s) debt was incurred 4/29/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0400
                                                                   Is the claim subject to offset?     No       Yes

3.385    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12.31
         Indrit Sulaj                                                 Contingent
         3057 Fairview Drive                                          Unliquidated
         AVON, OH 44011                                               Disputed
         Date(s) debt was incurred  6/13/2022                      Basis for the claim:
         Last 4 digits of account number 0801
                                                                   Is the claim subject to offset?     No       Yes

3.386    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Integrity Homes and Remodeling, IN                           Contingent
         Jib Guzardo                                                  Unliquidated
         319 3rd Ave. SW                                              Disputed
         Beach City, OH 44608
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/23/2019
         Last 4 digits of account number 9761                      Is the claim subject to offset?     No       Yes


3.387    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Interstate Mechanical                                        Contingent
         Tony Divona                                                  Unliquidated
         46 South View Dr.                                            Disputed
         WATERTOWN, CT 06795
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/29/2021
         Last 4 digits of account number 8800                      Is the claim subject to offset?     No       Yes


3.388    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,850.00
         Irvine Wood Recovery                                         Contingent
         PO Box 110                                                   Unliquidated
         110 Glendale Milford Rd.                                     Disputed
         Miamiville, OH 45147
                                                                   Basis for the claim:
         Date(s) debt was incurred Various
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.389    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Islandwide Mechanical service                                Contingent
         Reno Lau                                                     Unliquidated
         74-5489 Loloku St. Bay F                                     Disputed
         KAILUA KONA, HI 96740
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/24/2021
         Last 4 digits of account number 0400                      Is the claim subject to offset?     No       Yes


3.390    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $280.75
         Issa Khoury                                                  Contingent
         Khoury's Fine Wine &                                         Unliquidated
         9915 S. Eastern Ave #11                                      Disputed
         Las vegas, NV 89123
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/15/2022
         Last 4 digits of account number 2861                      Is the claim subject to offset?     No       Yes




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3.391    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $92,522.85
         IWA Design Center                                            Contingent
         Betsy ODay                                                   Unliquidated
         1445 N McDowell Blvd                                         Disputed
         PETALUMA, CA 94954
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/29/2022
         Last 4 digits of account number Varies                    Is the claim subject to offset?     No       Yes


3.392    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         J A Sauer                                                    Contingent
         Kevin Glass                                                  Unliquidated
         4559 Peoples Rd.                                             Disputed
         PITTSBURGH, PA 15237
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/23/2020
         Last 4 digits of account number 0600                      Is the claim subject to offset?     No       Yes


3.393    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         J Martin Indoor Air Quality                                  Contingent
         Jared Martin                                                 Unliquidated
         22343 La Palma Ave STE 123                                   Disputed
         YORBA LINDA, CA 92887
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/29/2018
         Last 4 digits of account number 3501                      Is the claim subject to offset?     No       Yes


3.394    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         J&D Heating and A/C                                          Contingent
         Jimmy Parker                                                 Unliquidated
         5631 Halifax Ave.                                            Disputed
         FT MYERS, FL 33912
                                                                   Basis for the claim:
         Date(s) debt was incurred  7/21/2021
         Last 4 digits of account number 3531                      Is the claim subject to offset?     No       Yes


3.395    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         J. Anderson Enterprises LLC                                  Contingent
         James Anderson                                               Unliquidated
         300 Seward Rd                                                Disputed
         Brentwood, TN 37027
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/22/2020
         Last 4 digits of account number 8900                      Is the claim subject to offset?     No       Yes


3.396    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         J.A. Sauer                                                   Contingent
         Kyle Zebrine                                                 Unliquidated
         4559 Peoples Rd.                                             Disputed
         PITTSBURGH, PA 15237
                                                                   Basis for the claim:
         Date(s) debt was incurred 10/29/2020
         Last 4 digits of account number 7700                      Is the claim subject to offset?     No       Yes


3.397    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         J.A. SMITH HEATING & AC                                      Contingent
         Scott A Smith                                                Unliquidated
         360 Patricia Dr.                                             Disputed
         WARMINSTER, PA 18974
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/3/2022
         Last 4 digits of account number 6500                      Is the claim subject to offset?     No       Yes




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3.398    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,555.00
         Jack Cranley                                                 Contingent
         2505 SE 11th Ave unit 117                                    Unliquidated
         Portland, OR 97202                                           Disputed
         Date(s) debt was incurred 5/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2711
                                                                   Is the claim subject to offset?     No       Yes

3.399    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jack Donahue                                                 Contingent
         3030 E. Causeway Approac                                     Unliquidated
         MANDEVILLE, LA 70448                                         Disputed
         Date(s) debt was incurred 8/26/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 7000
                                                                   Is the claim subject to offset?     No       Yes

3.400    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jack Holmes                                                  Contingent
         923 Merchant Lee Place                                       Unliquidated
         MANAKIN SABOT, VA 23103                                      Disputed
         Date(s) debt was incurred 5/26/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 3100
                                                                   Is the claim subject to offset?     No       Yes

3.401    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         JACK WRIGHT                                                  Contingent
         5 WILLOWBROOK                                                Unliquidated
         RUMSON, NJ 07760                                             Disputed
         Date(s) debt was incurred  10/8/2018                      Basis for the claim:
         Last 4 digits of account number 6800
                                                                   Is the claim subject to offset?     No       Yes

3.402    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jackson Heating and Cooling                                  Contingent
         John Fields                                                  Unliquidated
         265 Lewis St.                                                Disputed
         JACKSON, GA 30233
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/28/2022
         Last 4 digits of account number 0500                      Is the claim subject to offset?     No       Yes


3.403    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jackson Wilson Jr                                            Contingent
         524 Bayview Street                                           Unliquidated
         DESTIN, FL 32541                                             Disputed
         Date(s) debt was incurred  6/18/2020                      Basis for the claim:
         Last 4 digits of account number 4700
                                                                   Is the claim subject to offset?     No       Yes

3.404    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $250.00
         Jacqueline Sobieski                                          Contingent
         4204 Old Fincastle Road                                      Unliquidated
         FINCASTLE, VA 24090                                          Disputed
         Date(s) debt was incurred 3/15/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4901
                                                                   Is the claim subject to offset?     No       Yes




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3.405    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,286.83
         Jacqui Branch                                                Contingent
         808 Old Alpharetta Rd.                                       Unliquidated
         Alpharetta, GA 30005                                         Disputed
         Date(s) debt was incurred 3/11/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5800
                                                                   Is the claim subject to offset?     No       Yes

3.406    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jakob Gildersleeve                                           Contingent
         928 Commonwealth Place                                       Unliquidated
         Virginia Beach, VA 23464                                     Disputed
         Date(s) debt was incurred 10/28/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 1700
                                                                   Is the claim subject to offset?     No       Yes

3.407    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,620.09
         James Connolly                                               Contingent
         5575 Sound Avenue                                            Unliquidated
         MATTITUCK, NY 11952                                          Disputed
         Date(s) debt was incurred 5/21/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4900
                                                                   Is the claim subject to offset?     No       Yes

3.408    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         James Antheneli                                              Contingent
         620 Mountain Ave.                                            Unliquidated
         BERKELEY HEIGHTS, NJ 07922                                   Disputed
         Date(s) debt was incurred 7/1/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 3800
                                                                   Is the claim subject to offset?     No       Yes

3.409    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $374.54
         James Conn                                                   Contingent
         559 Gerhard Street                                           Unliquidated
         PHILADELPHIA, PA 19128                                       Disputed
         Date(s) debt was incurred 12/1/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 7201
                                                                   Is the claim subject to offset?     No       Yes

3.410    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         James Deakin                                                 Contingent
         6634 Route 5                                                 Unliquidated
         PORTLAND, NY 14769                                           Disputed
         Date(s) debt was incurred 12/8/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 7701
                                                                   Is the claim subject to offset?     No       Yes

3.411    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,435.53
         James Deakin                                                 Contingent
         6634 Route 5                                                 Unliquidated
         PORTLAND, NY 14769                                           Disputed
         Date(s) debt was incurred 9/10/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 7704
                                                                   Is the claim subject to offset?     No       Yes




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3.412    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $395.50
         James Dinan                                                  Contingent
         520 Island Dr.                                               Unliquidated
         Palm Beach, Fl 33480                                         Disputed
         Date(s) debt was incurred 3/28/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1200
                                                                   Is the claim subject to offset?     No       Yes

3.413    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,950.00
         James Yao                                                    Contingent
         31051 Via Peralta                                            Unliquidated
         Cotto de Caza, CA 92679                                      Disputed
         Date(s) debt was incurred 5/23/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1100,01
                                                                   Is the claim subject to offset?     No       Yes

3.414    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $339.22
         Jan Rishoi                                                   Contingent
         1481 St James Blvd                                           Unliquidated
         ANN ARBOR, MI 48108                                          Disputed
         Date(s) debt was incurred 5/30/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9400
                                                                   Is the claim subject to offset?     No       Yes

3.415    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jane Ann Gass                                                Contingent
         65 Calle Del Sur                                             Unliquidated
         PALM COAST, FL 32137                                         Disputed
         Date(s) debt was incurred 9/26/2019
                                                                   Basis for the claim:
         Last 4 digits of account number 7100
                                                                   Is the claim subject to offset?     No       Yes

3.416    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,000.00
         Janet Bell Baker                                             Contingent
         248 Smokerise Trace                                          Unliquidated
         PEACHTREE CTY, GA 30269                                      Disputed
         Date(s) debt was incurred 3/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1802
                                                                   Is the claim subject to offset?     No       Yes

3.417    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,590.22
         Janette Mae Gonzales                                         Contingent
         Lencioni Construction                                        Unliquidated
         180 Golden Oak Dr.                                           Disputed
         Portola Valley, CA 94028
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/30/2022
         Last 4 digits of account number 1600                      Is the claim subject to offset?     No       Yes


3.418    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,571.13
         Jared Bartholomew                                            Contingent
         B&H Pricision Fabricators                                    Unliquidated
         33 Briana Ct.                                                Disputed
         East Moriches, NY 11940
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/6/2022
         Last 4 digits of account number 4127                      Is the claim subject to offset?     No       Yes




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3.419    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,735.72
         Jason Arbusto
         DMA Inc.                                                     Contingent
         4327 Boonsboro Rd                                            Unliquidated
         #7 Milanos                                                   Disputed
         LYNCHBURG, VA 24503
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/26/2021
         Last 4 digits of account number 5500                      Is the claim subject to offset?     No       Yes


3.420    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $362.95
         Jason Blinstrup                                              Contingent
         361 Foster Way                                               Unliquidated
         Bolingbrook, IL 60440                                        Disputed
         Date(s) debt was incurred 6/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2200
                                                                   Is the claim subject to offset?     No       Yes

3.421    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,286.38
         Jason Eckert                                                 Contingent
         485 Balsam Street                                            Unliquidated
         LAKEWOOD, CO 80226                                           Disputed
         Date(s) debt was incurred 5/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2100
                                                                   Is the claim subject to offset?     No       Yes

3.422    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,250.56
         Jason Johnson                                                Contingent
         1556 Estee Ave                                               Unliquidated
         NAPA, CA 94558                                               Disputed
         Date(s) debt was incurred  5/10/2022                      Basis for the claim:
         Last 4 digits of account number 5300
                                                                   Is the claim subject to offset?     No       Yes

3.423    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jason Melvin                                                 Contingent
         138 Kaula Ili Way.                                           Unliquidated
         MAUNALOA, HI 96770                                           Disputed
         Date(s) debt was incurred 1/27/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0700
                                                                   Is the claim subject to offset?     No       Yes

3.424    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,430.54
         Jason Reeves                                                 Contingent
         5275 Stony Run Ct                                            Unliquidated
         LIBERTY TWP, OH 45011                                        Disputed
         Date(s) debt was incurred 4/25/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1200
                                                                   Is the claim subject to offset?     No       Yes

3.425    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jason Spina                                                  Contingent
         102 Candace Ln.                                              Unliquidated
         CHATHAM, NJ 07928                                            Disputed
         Date(s) debt was incurred  4/29/2021                      Basis for the claim:
         Last 4 digits of account number 3881
                                                                   Is the claim subject to offset?     No       Yes




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3.426    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,987.90
         Jay Richards                                                 Contingent
         624 Grandview Avenue                                         Unliquidated
         Pittsburgh, PA 15211                                         Disputed
         Date(s) debt was incurred 5/11/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0909
                                                                   Is the claim subject to offset?     No       Yes

3.427    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         JC Heating & Cooling, Inc                                    Contingent
         Jaroslaw Chwierut                                            Unliquidated
         7099 Santa Fe Dr. Unit G                                     Disputed
         LA GRANGE, IL 60525
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/16/2021
         Last 4 digits of account number 5500                      Is the claim subject to offset?     No       Yes


3.428    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $555.95
         Jeanne Helms                                                 Contingent
         6936 Clifden Drive                                           Unliquidated
         Brownwood, TX 76801                                          Disputed
         Date(s) debt was incurred 6/6/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2800
                                                                   Is the claim subject to offset?     No       Yes

3.429    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jeff Cegalis                                                 Contingent
         2917 Major Ridge Drive                                       Unliquidated
         DULUTH, GA 30097                                             Disputed
         Date(s) debt was incurred 2/3/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 9600
                                                                   Is the claim subject to offset?     No       Yes

3.430    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jeff Doll                                                    Contingent
         5613 Lillys Lane                                             Unliquidated
         Canton, OH 44718                                             Disputed
         Date(s) debt was incurred  7/19/2018                      Basis for the claim:
         Last 4 digits of account number 1060
                                                                   Is the claim subject to offset?     No       Yes

3.431    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jeff Forrest                                                 Contingent
         11320 Spring Hollow Ct                                       Unliquidated
         PROSPECT, KY 40059                                           Disputed
         Date(s) debt was incurred 6/18/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 5201
                                                                   Is the claim subject to offset?     No       Yes

3.432    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,969.88
         Jeff Gregory-Butcher market                                  Contingent
         1899 Franklin St.                                            Unliquidated
         Wake Forest, NC 27587                                        Disputed
         Date(s) debt was incurred 5/20/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0600
                                                                   Is the claim subject to offset?     No       Yes




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3.433    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,446.16
         Jeff Haulbrook                                               Contingent
         302 Laural Fork Lane                                         Unliquidated
         Salem, SC 29676                                              Disputed
         Date(s) debt was incurred  4/7/2022                       Basis for the claim:
         Last 4 digits of account number 9304
                                                                   Is the claim subject to offset?     No       Yes

3.434    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $22,510.91
         Jeff Henderson                                               Contingent
         4089 Longmarch Rd.                                           Unliquidated
         Awendow, SC 29429                                            Disputed
         Date(s) debt was incurred  6/8/2022                       Basis for the claim:
         Last 4 digits of account number 2760,61,62
                                                                   Is the claim subject to offset?     No       Yes

3.435    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,890.04
         Jeff Perkins                                                 Contingent
         J & L Trimworks ,LLC                                         Unliquidated
         13251 W Bellwood Ave.                                        Disputed
         MORRISON, CO 80465
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/13/2022
         Last 4 digits of account number 5900                      Is the claim subject to offset?     No       Yes


3.436    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,949.37
         Jeff Senior                                                  Contingent
         369 Eliot St.                                                Unliquidated
         Needham, MA 02494                                            Disputed
         Date(s) debt was incurred  6/8/2022                       Basis for the claim:
         Last 4 digits of account number 4600
                                                                   Is the claim subject to offset?     No       Yes

3.437    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Jeff Strudelle                                               Contingent
         145 Rocky Hill Rd.                                           Unliquidated
         NELSON, NH 03457                                             Disputed
         Date(s) debt was incurred  10/21/2021                     Basis for the claim:
         Last 4 digits of account number 0100
                                                                   Is the claim subject to offset?     No       Yes

3.438    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,000.00
         Jeff Urbina                                                  Contingent
         726 East Shore Rd.                                           Unliquidated
         JAMESTOWN, RI 02835                                          Disputed
         Date(s) debt was incurred 5/26/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6300
                                                                   Is the claim subject to offset?     No       Yes

3.439    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $58.96
         Jeff Webster                                                 Contingent
         2170 Elmwood Ave.                                            Unliquidated
         ROCHESTER, NY 14618                                          Disputed
         Date(s) debt was incurred 6/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1900
                                                                   Is the claim subject to offset?     No       Yes




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3.440    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,240.58
         Jeff Wolniakowski                                            Contingent
         3719 W Roscoe                                                Unliquidated
         CHICAGO, IL 60618                                            Disputed
         Date(s) debt was incurred  5/27/2022                      Basis for the claim:
         Last 4 digits of account number 6800
                                                                   Is the claim subject to offset?     No       Yes

3.441    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,969.88
         Jeffrey Gregory                                              Contingent
         1898 South Franklin St. Suite 100                            Unliquidated
         Wake Forest, NC 27587                                        Disputed
         Date(s) debt was incurred 5/20/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0600
                                                                   Is the claim subject to offset?     No       Yes

3.442    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jeffrey Haas                                                 Contingent
         9522 Mout Vernon Landing                                     Unliquidated
         ALEXANDRIA, VA 22309                                         Disputed
         Date(s) debt was incurred 12/3/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 4000
                                                                   Is the claim subject to offset?     No       Yes

3.443    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,382.24
         Jeffrey Mendelsohn                                           Contingent
         3120 Castle Heights Ave.                                     Unliquidated
         Los Angeles, CA 90034                                        Disputed
         Date(s) debt was incurred 4/15/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9500
                                                                   Is the claim subject to offset?     No       Yes

3.444    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,771.78
         Jeffrey Ruth                                                 Contingent
         309 Gower RD                                                 Unliquidated
         NAZARETH, PA 18064                                           Disputed
         Date(s) debt was incurred 11/23/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 9102,110,111
                                                                   Is the claim subject to offset?     No       Yes

3.445    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,346.00
         Jenn Paciotti                                                Contingent
         Daniel Island Club                                           Unliquidated
         600 Island Park Drive                                        Disputed
         CHARLESTON, SC 29492
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/29/2021
         Last 4 digits of account number 7309                      Is the claim subject to offset?     No       Yes


3.446    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,252.00
         Jeremy Eposito                                               Contingent
         Eposito Const. c/o DYB                                       Unliquidated
         5910 Mason Blvd                                              Disputed
         Prospect, KY 40059
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/14/2021
         Last 4 digits of account number 3401                      Is the claim subject to offset?     No       Yes




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3.447    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $12.59
         Jerome Wallace                                               Contingent
         75 Bank St. Apt 2H                                           Unliquidated
         NY, NY 10014                                                 Disputed
         Date(s) debt was incurred  4/15/2022                      Basis for the claim:
         Last 4 digits of account number 6000
                                                                   Is the claim subject to offset?     No       Yes

3.448    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Jerry Ostertag                                               Contingent
         Closet Factory                                               Unliquidated
         130110 Gate Parkway                                          Disputed
         LOUISVILLE, KY 40223
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/15/2022
         Last 4 digits of account number 3905                      Is the claim subject to offset?     No       Yes


3.449    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Jerry Putnam                                                 Contingent
         326 Essex                                                    Unliquidated
         KENILWORTH, IL 60043                                         Disputed
         Date(s) debt was incurred 4/14/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 2301
                                                                   Is the claim subject to offset?     No       Yes

3.450    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Jerry Putnam                                                 Contingent
         326 Essex                                                    Unliquidated
         KENILWORTH, IL 60043                                         Disputed
         Date(s) debt was incurred 2/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8605
                                                                   Is the claim subject to offset?     No       Yes

3.451    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Jerry Sallee                                                 Contingent
         5075 Shattuc Avenue                                          Unliquidated
         CINCINNATI, OH 45208                                         Disputed
         Date(s) debt was incurred 3/14/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 6700
                                                                   Is the claim subject to offset?     No       Yes

3.452    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $468.21
         Jessica Moynihan                                             Contingent
         Neat Method                                                  Unliquidated
         30 Stockbridge Rd                                            Disputed
         Bridgewater, MA 02324
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number 8200                      Is the claim subject to offset?     No       Yes


3.453    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         JIM GIANNELLI                                                Contingent
         12301 ELENA DRIVE                                            Unliquidated
         ALBUQUERQUE, NM 87122                                        Disputed
         Date(s) debt was incurred 12/3/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 6000
                                                                   Is the claim subject to offset?     No       Yes




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3.454    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,816.97
         Jim Kaufman                                                  Contingent
         14715 Stonehedge Drive                                       Unliquidated
         NOVELTY, OH 44072                                            Disputed
         Date(s) debt was incurred 4/19/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4200
                                                                   Is the claim subject to offset?     No       Yes

3.455    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,289.40
         Jim Miller                                                   Contingent
         DBA Specialty Woodwork Inc.                                  Unliquidated
         7725 Ridge Dr. NE                                            Disputed
         SEATTLE, WA 98115
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/16/2022
         Last 4 digits of account number 2301                      Is the claim subject to offset?     No       Yes


3.456    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $519.09
         Jim Rombke                                                   Contingent
         7162 Foxview Drive                                           Unliquidated
         CINCINNATI, OH 45230                                         Disputed
         Date(s) debt was incurred 4/19/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5800
                                                                   Is the claim subject to offset?     No       Yes

3.457    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jim Taylor                                                   Contingent
         421 Rolling Lane                                             Unliquidated
         ALAMO, CA 94507                                              Disputed
         Date(s) debt was incurred  3/11/2021                      Basis for the claim:
         Last 4 digits of account number 2700
                                                                   Is the claim subject to offset?     No       Yes

3.458    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,258.64
         Jin Chang                                                    Contingent
         Big Macs Liquor                                              Unliquidated
         3735 W Sunset Blvd                                           Disputed
         LOS ANGELES, CA 90026
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/10/2022
         Last 4 digits of account number 9400                      Is the claim subject to offset?     No       Yes


3.459    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Jody Detillier                                               Contingent
         15 Elmwood Ct.                                               Unliquidated
         Destreham, LA 70047                                          Disputed
         Date(s) debt was incurred 5/4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2250
                                                                   Is the claim subject to offset?     No       Yes

3.460    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Joe and Joe Air Conditioning                                 Contingent
         Joe Yeni                                                     Unliquidated
         1951 NW 21st St.                                             Disputed
         Pompano Beach, FL 33069
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/23/2020
         Last 4 digits of account number 0000                      Is the claim subject to offset?     No       Yes




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3.461    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,301.00
         Joe Daniels                                                  Contingent
         192 Pine Lake Drive NW                                       Unliquidated
         ATLANTA, GA 30327                                            Disputed
         Date(s) debt was incurred 5/23/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1600
                                                                   Is the claim subject to offset?     No       Yes

3.462    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,279.95
         Joe Esposito                                                 Contingent
         20 Thorman La                                                Unliquidated
         HUNTINGTON, NY 11743                                         Disputed
         Date(s) debt was incurred 5/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4300
                                                                   Is the claim subject to offset?     No       Yes

3.463    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Joe Fath                                                     Contingent
         13606 Sheepshead Court                                       Unliquidated
         CLARKSVILLE, MD 21029                                        Disputed
         Date(s) debt was incurred 2/14/2019
                                                                   Basis for the claim:
         Last 4 digits of account number 7900
                                                                   Is the claim subject to offset?     No       Yes

3.464    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,250.00
         Joe Fertitta                                                 Contingent
         6121 Fern Ave. Unit 1                                        Unliquidated
         SHREVEPORT, LA 71105                                         Disputed
         Date(s) debt was incurred 4/7/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8900
                                                                   Is the claim subject to offset?     No       Yes

3.465    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Joe Finocchiaro                                              Contingent
         85 Bonnyman Rd                                               Unliquidated
         E Wakefield, NH 03830                                        Disputed
         Date(s) debt was incurred 5/19/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8100
                                                                   Is the claim subject to offset?     No       Yes

3.466    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Joe Fusco Heating and Air                                    Contingent
         Joe Fusco                                                    Unliquidated
         7640 May Apple Ct.                                           Disputed
         JACKSONVILLE, FL 32211
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/9/2022
         Last 4 digits of account number 2800                      Is the claim subject to offset?     No       Yes


3.467    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Joe Impicciche                                               Contingent
         1762 Toxaway Drive                                           Unliquidated
         Lake Toxaway, NC 28747                                       Disputed
         Date(s) debt was incurred 1/13/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 8100
                                                                   Is the claim subject to offset?     No       Yes




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3.468    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,800.00
         Joe Meyer                                                    Contingent
         5741 HArrison Ave                                            Unliquidated
         CINCINNATI, OH 45248                                         Disputed
         Date(s) debt was incurred 6/7/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5600
                                                                   Is the claim subject to offset?     No       Yes

3.469    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $133.88
         Joe Murphy                                                   Contingent
         148 Primrose Court                                           Unliquidated
         VADNAIS HEIGHTS, MN 55127                                    Disputed
         Date(s) debt was incurred 6/5/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5100
                                                                   Is the claim subject to offset?     No       Yes

3.470    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $508.75
         Joe Otto                                                     Contingent
         9827 Kensington Lane                                         Unliquidated
         MASON, OH 45040                                              Disputed
         Date(s) debt was incurred 7/6/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 0401
                                                                   Is the claim subject to offset?     No       Yes

3.471    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Joe Standeford                                               Contingent
         1200 Oak Creek Dr                                            Unliquidated
         ENNIS, TX 75119                                              Disputed
         Date(s) debt was incurred  5/8/2022                       Basis for the claim:
         Last 4 digits of account number 7600
                                                                   Is the claim subject to offset?     No       Yes

3.472    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,579.77
         Joel McCuaig                                                 Contingent
         6910 N 50 W                                                  Unliquidated
         WEST LAFAYETTE, IN 47906                                     Disputed
         Date(s) debt was incurred 5/14/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7900
                                                                   Is the claim subject to offset?     No       Yes

3.473    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,594.78
         Joel Steele                                                  Contingent
         10 Lane of Acres                                             Unliquidated
         HADDONFIELD, NJ 08033                                        Disputed
         Date(s) debt was incurred 5/18/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8502
                                                                   Is the claim subject to offset?     No       Yes

3.474    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,514.27
         Joella Gutierrez                                             Contingent
         2269 Newgate CT.                                             Unliquidated
         SANTA ROSA, CA 95401                                         Disputed
         Date(s) debt was incurred 5/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5900
                                                                   Is the claim subject to offset?     No       Yes




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3.475    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,450.00
         Joelle Fuchs                                                 Contingent
         135 Watts St.                                                Unliquidated
         NEW YORK, NY 10023                                           Disputed
         Date(s) debt was incurred 5/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8305
                                                                   Is the claim subject to offset?     No       Yes

3.476    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         John Amboian                                                 Contingent
         4541 Makena Road                                             Unliquidated
         KIHEI, HI 96753                                              Disputed
         Date(s) debt was incurred  4/13/2022                      Basis for the claim:
         Last 4 digits of account number 7000
                                                                   Is the claim subject to offset?     No       Yes

3.477    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $34.88
         John Cacho                                                   Contingent
         532 Woodridge Dr                                             Unliquidated
         PORT LUDLOW, WA 98365                                        Disputed
         Date(s) debt was incurred 2/26/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 2800
                                                                   Is the claim subject to offset?     No       Yes

3.478    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         John Foreman                                                 Contingent
         3074 County Rd. 213                                          Unliquidated
         CALICO ROCK, AR 72519                                        Disputed
         Date(s) debt was incurred 3/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7500
                                                                   Is the claim subject to offset?     No       Yes

3.479    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,650.00
         John Galer                                                   Contingent
         314 Commerce Street                                          Unliquidated
         ALEXANDRIA, VA 22314                                         Disputed
         Date(s) debt was incurred 12/30/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 5700
                                                                   Is the claim subject to offset?     No       Yes

3.480    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $428.05
         John Grosso                                                  Contingent
         4011 Bunny Run                                               Unliquidated
         AUSTIN, TX 78746                                             Disputed
         Date(s) debt was incurred  5/25/2022                      Basis for the claim:
         Last 4 digits of account number 2400
                                                                   Is the claim subject to offset?     No       Yes

3.481    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         John Hawkins                                                 Contingent
         306 Greenfield Drive                                         Unliquidated
         CASHIERS, NC 28717                                           Disputed
         Date(s) debt was incurred 10/21/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 7500
                                                                   Is the claim subject to offset?     No       Yes




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3.482    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         JOHN IKENBERRY                                               Contingent
         121 BROADMEAD                                                Unliquidated
         PRINCETON, NJ 08540                                          Disputed
         Date(s) debt was incurred 6/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8500
                                                                   Is the claim subject to offset?     No       Yes

3.483    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         John Ikenberry                                               Contingent
         121 Broadmead                                                Unliquidated
         Princeton, NJ 08540                                          Disputed
         Date(s) debt was incurred  2/23/2022                      Basis for the claim:
         Last 4 digits of account number 8500
                                                                   Is the claim subject to offset?     No       Yes

3.484    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         John Kerridge                                                Contingent
         2515 McGee Dr.                                               Unliquidated
         Norman, OK 73072                                             Disputed
         Date(s) debt was incurred  5/17/2022                      Basis for the claim:
         Last 4 digits of account number 1100
                                                                   Is the claim subject to offset?     No       Yes

3.485    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,280.71
         John Lang                                                    Contingent
         760 Avenue B                                                 Unliquidated
         REDONDO BEACH, CA 90277                                      Disputed
         Date(s) debt was incurred 4/20/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2200
                                                                   Is the claim subject to offset?     No       Yes

3.486    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,000.00
         John Luders                                                  Contingent
         4415Westside Rd. South                                       Unliquidated
         Friday Harbor, WA 98250                                      Disputed
         Date(s) debt was incurred 6/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9490
                                                                   Is the claim subject to offset?     No       Yes

3.487    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         John Malfettone                                              Contingent
         144 Fisher Circle                                            Unliquidated
         Portsmouth, RI 02871                                         Disputed
         Date(s) debt was incurred 6/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1400
                                                                   Is the claim subject to offset?     No       Yes

3.488    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         John Nugent and Sons                                         Contingent
         Chad Keiffer                                                 Unliquidated
         45921 Maries Rd. STE# 160                                    Disputed
         STERLING, VA 20166
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/29/2021
         Last 4 digits of account number 8100                      Is the claim subject to offset?     No       Yes




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3.489    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         John Nugent and Sons
         RJ Parker                                                    Contingent
         45921 Maries Rd.                                             Unliquidated
         STE#160                                                      Disputed
         STERLING, VA 20164
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/21/2022
         Last 4 digits of account number 1100                      Is the claim subject to offset?     No       Yes


3.490    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         John Ochi                                                    Contingent
         5082 Horned Owl Way                                          Unliquidated
         PARKER, CO 80134                                             Disputed
         Date(s) debt was incurred 7/29/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 2300
                                                                   Is the claim subject to offset?     No       Yes

3.491    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $192.74
         John Shinn                                                   Contingent
         1045 College Avenue                                          Unliquidated
         MENLO PARK, CA 94025                                         Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9200
                                                                   Is the claim subject to offset?     No       Yes

3.492    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,619.00
         John Silviano                                                Contingent
         1638 Old Cedar Swamp Road                                    Unliquidated
         BROOKVILLE, NY 11545                                         Disputed
         Date(s) debt was incurred 3/8/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1800
                                                                   Is the claim subject to offset?     No       Yes

3.493    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,619.85
         John Sorey                                                   Contingent
         2601 Carpenters Grade Rd                                     Unliquidated
         Maryville, TN 37803                                          Disputed
         Date(s) debt was incurred 2/11/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6105
                                                                   Is the claim subject to offset?     No       Yes

3.494    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $197.65
         John Sowards                                                 Contingent
         315 Quail Walk Drive                                         Unliquidated
         LAKE MURRAY, SC 29036                                        Disputed
         Date(s) debt was incurred 5/14/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3600
                                                                   Is the claim subject to offset?     No       Yes

3.495    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,419.32
         John Swezey                                                  Contingent
         101 W Willow Rd                                              Unliquidated
         FOX POINT, WI 53217                                          Disputed
         Date(s) debt was incurred 5/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6301
                                                                   Is the claim subject to offset?     No       Yes




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3.496    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Johnnys ac and refrigeration                                 Contingent
         Emile Lapeyrouse                                             Unliquidated
         1513 East LA HWY 46                                          Disputed
         SAINT BERNARD, LA 70085
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/5/2021
         Last 4 digits of account number 3100                      Is the claim subject to offset?     No       Yes


3.497    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,352.30
         Johnson Controls                                             Contingent
         PO Box 371967                                                Unliquidated
         Pittsburgh, PA 15251                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   77AD
                                                                   Is the claim subject to offset?     No       Yes

3.498    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,352.30
         Johnstone Supply                                             Contingent
         PO Box 371967                                                Unliquidated
         Pitsburg, PA 15250-7967                                      Disputed
         Date(s) debt was incurred 01300 101907677
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.499    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Johnstone Supply #79                                         Contingent
         Barry Tumminello                                             Unliquidated
         1400 Edwards Ave.                                            Disputed
         NEW ORLEANS, LA 70123
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/22/2021
         Last 4 digits of account number 3600                      Is the claim subject to offset?     No       Yes


3.500    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,386.00
         Jonathan Apt                                                 Contingent
         1078 Hickory Harbor Drive                                    Unliquidated
         GALLATIN, TN 37066                                           Disputed
         Date(s) debt was incurred 6/7/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1200
                                                                   Is the claim subject to offset?     No       Yes

3.501    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,964.24
         Jonathon Gillespie                                           Contingent
         58000Cowboy Way                                              Unliquidated
         CLARK, CO 80428                                              Disputed
         Date(s) debt was incurred  5/11/2022                      Basis for the claim:
         Last 4 digits of account number 7200
                                                                   Is the claim subject to offset?     No       Yes

3.502    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,737.89
         Jose Jurado                                                  Contingent
         17263 Barberry Rd                                            Unliquidated
         Alpharetta, GA 30004                                         Disputed
         Date(s) debt was incurred 4/4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7501
                                                                   Is the claim subject to offset?     No       Yes




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3.503    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,832.63
         Jose Orlega                                                  Contingent
         900 Meadowood Ln.                                            Unliquidated
         Napa, CA 94558                                               Disputed
         Date(s) debt was incurred  6/6/2022                       Basis for the claim:
         Last 4 digits of account number 9200
                                                                   Is the claim subject to offset?     No       Yes

3.504    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,367.76
         Jose Romero                                                  Contingent
         527 Sheddon Rd.                                              Unliquidated
         Channelview, TX 77530                                        Disputed
         Date(s) debt was incurred 5/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5100
                                                                   Is the claim subject to offset?     No       Yes

3.505    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $797.42
         Josh Provencio                                               Contingent
         100 Rich Dr.                                                 Unliquidated
         GURLEY, AL 35748                                             Disputed
         Date(s) debt was incurred  6/2/2022                       Basis for the claim:
         Last 4 digits of account number 2000
                                                                   Is the claim subject to offset?     No       Yes

3.506    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,983.95
         Julia Ning                                                   Contingent
         Black Box Concepts                                           Unliquidated
         359 NW 28th St                                               Disputed
         MIAMI, FL 33127
                                                                   Basis for the claim:
         Date(s) debt was incurred  1/31/2022
         Last 4 digits of account number 3900                      Is the claim subject to offset?     No       Yes


3.507    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,214.46
         Julie Marshall                                               Contingent
         175 Erics Lane                                               Unliquidated
         SAGAPONACK, NY 11962                                         Disputed
         Date(s) debt was incurred 5/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1600
                                                                   Is the claim subject to offset?     No       Yes

3.508    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,796.42
         Julie Speers                                                 Contingent
         94 McCarty Road                                              Unliquidated
         FREDERICKSBG, VA 22405                                       Disputed
         Date(s) debt was incurred 4/16/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5900
                                                                   Is the claim subject to offset?     No       Yes

3.509    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Julie Woodside                                               Contingent
         11900 Mountain Lake Cv                                       Unliquidated
         CHARLOTTE, NC 28216                                          Disputed
         Date(s) debt was incurred 12/22/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 1700
                                                                   Is the claim subject to offset?     No       Yes




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3.510    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Julio Gramajo                                                Contingent
         409 N. Bundy Drive                                           Unliquidated
         Los Angeles, CA 90049                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.511    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,289.59
         Justin Davis                                                 Contingent
         9450 NE Glen Hollow Dr                                       Unliquidated
         NEWBERG, OR 97132                                            Disputed
         Date(s) debt was incurred 4/8/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2500
                                                                   Is the claim subject to offset?     No       Yes

3.512    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,250.00
         Justin Kaufenberg                                            Contingent
         14747 Morgan Ave N                                           Unliquidated
         Marine on St. Croix, MN 55047                                Disputed
         Date(s) debt was incurred 3/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4820
                                                                   Is the claim subject to offset?     No       Yes

3.513    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Kahl AC, Heating & Refrigeration, Inc.                       Contingent
         James Kahl                                                   Unliquidated
         424 McCale Rd. BLD A                                         Disputed
         MONTGOMERY, TX 77316
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/9/2022
         Last 4 digits of account number 2300                      Is the claim subject to offset?     No       Yes


3.514    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $89.84
         Kaitlin O'Rourke                                             Contingent
         2109 Hadden Rd                                               Unliquidated
         WALNUT CREEK, CA 94596                                       Disputed
         Date(s) debt was incurred 5/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5200
                                                                   Is the claim subject to offset?     No       Yes

3.515    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Karen Martin                                                 Contingent
         4221 Eileen Drive                                            Unliquidated
         CINCINNATI, OH 45209                                         Disputed
         Date(s) debt was incurred 6/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9103
                                                                   Is the claim subject to offset?     No       Yes

3.516    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $661.03
         Kariann Jackson                                              Contingent
         542 Topeka Drive                                             Unliquidated
         WACO, TX 76712                                               Disputed
         Date(s) debt was incurred  4/22/2022                      Basis for the claim:
         Last 4 digits of account number 7300
                                                                   Is the claim subject to offset?     No       Yes




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3.517    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $389.26
         Katherine Vandygriff                                         Contingent
         2466 Catail Ridge                                            Unliquidated
         Muscatine, IA 52761                                          Disputed
         Date(s) debt was incurred  3/28/2022                      Basis for the claim:
         Last 4 digits of account number 9700
                                                                   Is the claim subject to offset?     No       Yes

3.518    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,627.07
         Kathleen Maher                                               Contingent
         Agathodaemon Wine                                            Unliquidated
         594 Sutton Place                                             Disputed
         ASHLAND, OR 97520
                                                                   Basis for the claim:
         Date(s) debt was incurred  3/7/2022
         Last 4 digits of account number 0100                      Is the claim subject to offset?     No       Yes


3.519    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $38,713.00
         KEDCO                                                        Contingent
         564 Smith St.                                                Unliquidated
         FARMINGDALE, NY 11735                                        Disputed
         Date(s) debt was incurred 3/18/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0900
                                                                   Is the claim subject to offset?     No       Yes

3.520    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Keith Crenwelge                                              Contingent
         Hill Country Refrigeration                                   Unliquidated
         432 South Lincoln St.                                        Disputed
         Fredricksburg, TX 78624
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/16/2021
         Last 4 digits of account number 0220                      Is the claim subject to offset?     No       Yes


3.521    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $500.47
         Keith Kyle                                                   Contingent
         928 Hobson St                                                Unliquidated
         WALLA WALLA, WA 99362                                        Disputed
         Date(s) debt was incurred 5/5/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3200
                                                                   Is the claim subject to offset?     No       Yes

3.522    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,812.09
         Keith Olson                                                  Contingent
         220 Ivybrook Lane                                            Unliquidated
         Colorado Springs, CO 80906                                   Disputed
         Date(s) debt was incurred 4/21/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9200
                                                                   Is the claim subject to offset?     No       Yes

3.523    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $617.30
         Keith Pierce                                                 Contingent
         16823 FONDNESS PARK DR                                       Unliquidated
         KLEIN, TX 77379                                              Disputed
         Date(s) debt was incurred 6/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3500
                                                                   Is the claim subject to offset?     No       Yes




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3.524    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,000.00
         Keith Zralka                                                 Contingent
         28017 sw ladd hill                                           Unliquidated
         SHERWOOD, OR 97140                                           Disputed
         Date(s) debt was incurred 2/25/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1500
                                                                   Is the claim subject to offset?     No       Yes

3.525    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,649.26
         Kelly Persichetti NY Butcher                                 Contingent
         12635 Crabapple Rd                                           Unliquidated
         Milton, GA 30004                                             Disputed
         Date(s) debt was incurred 5/4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7500
                                                                   Is the claim subject to offset?     No       Yes

3.526    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Ken Bauwens                                                  Contingent
         2496 Royal Troon Ct.                                         Unliquidated
         Riverwoods, IL 60015                                         Disputed
         Date(s) debt was incurred 2/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8300
                                                                   Is the claim subject to offset?     No       Yes

3.527    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Ken Lamp                                                     Contingent
         2145 Calatrava Street                                        Unliquidated
         Melbourne, FL 32940                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.528    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,000.00
         Ken Lemp                                                     Contingent
         2145 Triet Bridge Circle                                     Unliquidated
         Viera, FL 32940                                              Disputed
         Date(s) debt was incurred 5/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5420
                                                                   Is the claim subject to offset?     No       Yes

3.529    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,088.67
         Ken McDonald                                                 Contingent
         100 abigale Lane                                             Unliquidated
         NEW CASTLE, NH 03854                                         Disputed
         Date(s) debt was incurred 4/30/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7200
                                                                   Is the claim subject to offset?     No       Yes

3.530    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $825.95
         Ken Parker                                                   Contingent
         100 Sclemont St.                                             Unliquidated
         Denver, CO 80246                                             Disputed
         Date(s) debt was incurred  5/8/2022                       Basis for the claim:
         Last 4 digits of account number 7200
                                                                   Is the claim subject to offset?     No       Yes




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3.531    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $497.50
         Kendal Lafleur                                               Contingent
         2104 Williams Way                                            Unliquidated
         BRYAN, TX 77808                                              Disputed
         Date(s) debt was incurred  5/20/2022                      Basis for the claim:
         Last 4 digits of account number 6301
                                                                   Is the claim subject to offset?     No       Yes

3.532    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $620.60
         Kendall Campus                                               Contingent
         Nancy Exposito                                               Unliquidated
         2773 Birch Terrace                                           Disputed
         DAVIE, FL 33330
                                                                   Basis for the claim:
         Date(s) debt was incurred  6/10/2022
         Last 4 digits of account number 2000                      Is the claim subject to offset?     No       Yes


3.533    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,959.13
         Kendall Electric Inc.                                        Contingent
         11310 Mosteller Road                                         Unliquidated
         Cincinnati, OH 45241                                         Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.534    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $422.04
         Kenneth Holmes                                               Contingent
         275 Old Province Road                                        Unliquidated
         NEWBURY, NH 03255                                            Disputed
         Date(s) debt was incurred 6/4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5900
                                                                   Is the claim subject to offset?     No       Yes

3.535    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Kenny Rich                                                   Contingent
         Jordan Heating & Air                                         Unliquidated
         500 Tryon St.                                                Disputed
         Asheboro, NC 27203
                                                                   Basis for the claim:
         Date(s) debt was incurred  3/10/2022
         Last 4 digits of account number 5000                      Is the claim subject to offset?     No       Yes


3.536    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $337.50
         Kenny Thigpen                                                Contingent
         Air Conditioning Specialists                                 Unliquidated
         500 Hammond Rd.                                              Disputed
         MILLEDGEVILLE, GA 31061
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/5/2022
         Last 4 digits of account number 7301                      Is the claim subject to offset?     No       Yes


3.537    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Kent Refrigeration                                           Contingent
         PO Box 2110                                                  Unliquidated
         COVINGTON, KY 41012                                          Disputed
         Date(s) debt was incurred 3/9/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 8710
                                                                   Is the claim subject to offset?     No       Yes




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3.538    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Kent Refrigeration                                           Contingent
         221 East 19th St.                                            Unliquidated
         PO Box 2110                                                  Disputed
         COVINGTON, KY 41012
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/9/2021
         Last 4 digits of account number 8700                      Is the claim subject to offset?     No       Yes


3.539    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Kevin Bohn                                                   Contingent
         735 Lexington Ave.                                           Unliquidated
         COPPELL, TX 75019                                            Disputed
         Date(s) debt was incurred  12/22/2021                     Basis for the claim:
         Last 4 digits of account number 5200
                                                                   Is the claim subject to offset?     No       Yes

3.540    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,264.71
         Kevin Deitsch                                                Contingent
         1369 Northview Dr                                            Unliquidated
         FREDERICK, CO 80516                                          Disputed
         Date(s) debt was incurred 6/8/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6800
                                                                   Is the claim subject to offset?     No       Yes

3.541    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         KEVIN EGGERMAN                                               Contingent
         2780 DUNAWAY AVE                                             Unliquidated
         CINCINNATI, OH 45211                                         Disputed
         Date(s) debt was incurred 6/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4500
                                                                   Is the claim subject to offset?     No       Yes

3.542    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,780.16
         Kevin Lau                                                    Contingent
         Wongs Construction LLc                                       Unliquidated
         30 Laurus In.                                                Disputed
         newton, MA 02459
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/4/2022
         Last 4 digits of account number 0800                      Is the claim subject to offset?     No       Yes


3.543    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Kevin McGuire                                                Contingent
         3125Flintlock Rd.                                            Unliquidated
         FAIRFAX, VA 22030                                            Disputed
         Date(s) debt was incurred  9/15/2020                      Basis for the claim:
         Last 4 digits of account number 1800
                                                                   Is the claim subject to offset?     No       Yes

3.544    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Kevin Rosenberg                                              Contingent
         2197 Lemon Heights                                           Unliquidated
         COWAN HEIGHTS, CA 92705                                      Disputed
         Date(s) debt was incurred 4/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0700
                                                                   Is the claim subject to offset?     No       Yes




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3.545    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $311.75
         Kevin Schneider                                              Contingent
         821 Snowden Rd                                               Unliquidated
         WHITE SALMON, WA 98672                                       Disputed
         Date(s) debt was incurred 6/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5500
                                                                   Is the claim subject to offset?     No       Yes

3.546    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,932.51
         Kevin Whelan                                                 Contingent
         63 Perkins Row                                               Unliquidated
         TOPSFIELD, MA 01983                                          Disputed
         Date(s) debt was incurred 4/5/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8501
                                                                   Is the claim subject to offset?     No       Yes

3.547    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Kim Cobern                                                   Contingent
         27200 Perdido Beach Blvd                                     Unliquidated
         ORANGE BEACH, AL 36561                                       Disputed
         Date(s) debt was incurred 12/10/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 6100
                                                                   Is the claim subject to offset?     No       Yes

3.548    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $61.28
         Kim Kelly                                                    Contingent
         3227 N Kenmore Ave Unit 3                                    Unliquidated
         CHICAGO, IL 60657                                            Disputed
         Date(s) debt was incurred 2/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5301
                                                                   Is the claim subject to offset?     No       Yes

3.549    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,005.02
         Kim Sperling                                                 Contingent
         JNS Development                                              Unliquidated
         4680 Wunnuweta Rd.                                           Disputed
         Cutchogue, NY 11935
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/11/2022
         Last 4 digits of account number 3503                      Is the claim subject to offset?     No       Yes


3.550    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,312.49
         Kimberly Holtz                                               Contingent
         Rio Hill Wine & Beer                                         Unliquidated
         1908 No hill center                                          Disputed
         Charlottesville, VA 22901
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/23/2022
         Last 4 digits of account number 9400                      Is the claim subject to offset?     No       Yes


3.551    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,662.28
         Kimberly Silvus                                              Contingent
         6669 Hasting Lane                                            Unliquidated
         Franklin, TN 37069                                           Disputed
         Date(s) debt was incurred  3/11/2022                      Basis for the claim:
         Last 4 digits of account number 3890,1
                                                                   Is the claim subject to offset?     No       Yes




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3.552    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Kirk Profit
         Jeff Ruby's                                                  Contingent
         9917 Charter Park Dr.                                        Unliquidated
         Dept # 2041338 50-1                                          Disputed
         West Chester, OH 45069
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/2/2022
         Last 4 digits of account number 9201                      Is the claim subject to offset?     No       Yes


3.553    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Kirti Singh                                                  Contingent
         11712 Grandstone Ln.                                         Unliquidated
         MONTGOMERY, OH 45249                                         Disputed
         Date(s) debt was incurred 1/4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0673
                                                                   Is the claim subject to offset?     No       Yes

3.554    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $721.81
         Klingspor                                                    Contingent
         255 TATE BLVD, SE                                            Unliquidated
         PO Box 2367                                                  Disputed
         Hickory, NC 28603-2367
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/2/2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.555    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $147.00
         Konig North America, L.L.C.                                  Contingent
         3800 Black Lake Place D                                      Unliquidated
         Philadelphia, PA 19154                                       Disputed
         Date(s) debt was incurred 5/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.556    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,549.50
         Krista McGee                                                 Contingent
         4 Cadencia St.                                               Unliquidated
         Rancho Mission Viejo, CA 92694                               Disputed
         Date(s) debt was incurred 6/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5930,31,32
                                                                   Is the claim subject to offset?     No       Yes

3.557    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,414.60
         Kristi Campbell                                              Contingent
         1775 Deerhill Drive                                          Unliquidated
         Hamilton, OH 45013                                           Disputed
         Date(s) debt was incurred  1/7/2022                       Basis for the claim:
         Last 4 digits of account number 5230
                                                                   Is the claim subject to offset?     No       Yes

3.558    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,513.94
         Kyle Hanson                                                  Contingent
         2148 Pfingsten Rd                                            Unliquidated
         NORTHBROOK, IL 60062                                         Disputed
         Date(s) debt was incurred 6/8/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8800
                                                                   Is the claim subject to offset?     No       Yes




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3.559    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Lakeshore Enterprises                                        Contingent
         Harold Herbsteit                                             Unliquidated
         6050 Delke Park St.                                          Disputed
         STEVENSVILLE, MI 49127
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/20/2021
         Last 4 digits of account number 8300                      Is the claim subject to offset?     No       Yes


3.560    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $73,778.17
         Lakeshore Wine Cellars                                       Contingent
         Pam Kopp                                                     Unliquidated
         1322 Still River Dr.                                         Disputed
         VENICE, FL 34293
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/10/2022
         Last 4 digits of account number 6200                      Is the claim subject to offset?     No       Yes


3.561    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Lang 72 Degrees                                              Contingent
         Hunter May                                                   Unliquidated
         25 Kitties Landing Rd.                                       Disputed
         BLUFFTON, SC 29910
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/19/2021
         Last 4 digits of account number 7400                      Is the claim subject to offset?     No       Yes


3.562    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Larry Fisher                                                 Contingent
         308Meta Verde Ct.                                            Unliquidated
         ALTUS, OK 73521                                              Disputed
         Date(s) debt was incurred  6/3/2021                       Basis for the claim:
         Last 4 digits of account number 3100
                                                                   Is the claim subject to offset?     No       Yes

3.563    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Larry Pratt                                                  Contingent
         12 Oyster Pine Rd                                            Unliquidated
         FALMOUTH, MA 02540                                           Disputed
         Date(s) debt was incurred 5/5/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4000
                                                                   Is the claim subject to offset?     No       Yes

3.564    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $828.00
         Larry Wilkerson                                              Contingent
         1112 Highway 278 B                                           Unliquidated
         AMORY, MS 38821                                              Disputed
         Date(s) debt was incurred  4/22/2022                      Basis for the claim:
         Last 4 digits of account number 1600
                                                                   Is the claim subject to offset?     No       Yes

3.565    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $464.33
         Latisha Holmes                                               Contingent
         300 Rishall Dr.                                              Unliquidated
         OAKLAND, CA 94619                                            Disputed
         Date(s) debt was incurred 5/11/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6602
                                                                   Is the claim subject to offset?     No       Yes




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3.566    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,190.90
         Lauren Woodring                                              Contingent
         13791 State Route 122                                        Unliquidated
         SOMERVILLE, OH 45064                                         Disputed
         Date(s) debt was incurred 5/20/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0700
                                                                   Is the claim subject to offset?     No       Yes

3.567    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,908.77
         Lawrence Cathles                                             Contingent
         385 W Joy Rd                                                 Unliquidated
         ANN ARBOR, MI 48105                                          Disputed
         Date(s) debt was incurred 5/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2401
                                                                   Is the claim subject to offset?     No       Yes

3.568    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         lb Mechanical Corp                                           Contingent
         DREW KOLB                                                    Unliquidated
         11500 Old South Ave.                                         Disputed
         MATTITUCK, NY 11952
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/3/2021
         Last 4 digits of account number 8311                      Is the claim subject to offset?     No       Yes


3.569    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         LC Heating and Air                                           Contingent
         Larry Carlisle                                               Unliquidated
         54151 60th St.                                               Disputed
         HARTFORD, MI 49057
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/19/2020
         Last 4 digits of account number 3200                      Is the claim subject to offset?     No       Yes


3.570    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,062.34
         Lee Schear                                                   Contingent
         1130 Harman Ave.                                             Unliquidated
         Oakwood, OH 45419                                            Disputed
         Date(s) debt was incurred  3/9/2022                       Basis for the claim:
         Last 4 digits of account number 4600
                                                                   Is the claim subject to offset?     No       Yes

3.571    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Lee Company                                                  Contingent
         Andy Mankin                                                  Unliquidated
         1124 Menzler Rd.                                             Disputed
         FRANKLIN, TN 37064
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/3/2020
         Last 4 digits of account number 5600                      Is the claim subject to offset?     No       Yes


3.572    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,907.16
         Lennox Hinds                                                 Contingent
         98 Tomoka Ridge Way                                          Unliquidated
         ORMOND BEACH, FL 32174                                       Disputed
         Date(s) debt was incurred 2/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7701
                                                                   Is the claim subject to offset?     No       Yes




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3.573    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $841.46
         Leon Andres                                                  Contingent
         10701 Vendia Mill Circle                                     Unliquidated
         Silver Spring, MD 20901                                      Disputed
         Date(s) debt was incurred 4/11/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3400
                                                                   Is the claim subject to offset?     No       Yes

3.574    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $80.00
         Leonard's Powder Coating                                     Contingent
         1210 Brighton St.                                            Unliquidated
         Newport, KY 41071                                            Disputed
         Date(s) debt was incurred 5/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.575    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Lesa Simons                                                  Contingent
         337 Spanish Moss Rd                                          Unliquidated
         RIDGELAND, CA 94596                                          Disputed
         Date(s) debt was incurred 9/17/2017
                                                                   Basis for the claim:
         Last 4 digits of account number 9100
                                                                   Is the claim subject to offset?     No       Yes

3.576    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $750.00
         Leslie Katz                                                  Contingent
         213 Clark Rd.                                                Unliquidated
         Ctham, NY 12037                                              Disputed
         Date(s) debt was incurred  5/2/2022                       Basis for the claim:
         Last 4 digits of account number 9502
                                                                   Is the claim subject to offset?     No       Yes

3.577    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         LESLIE OU Interior Design                                    Contingent
         Leslie Ou                                                    Unliquidated
         333 Mt. Olive Dr.                                            Disputed
         BRADBURY, CA 91008
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/19/2021
         Last 4 digits of account number 0698                      Is the claim subject to offset?     No       Yes


3.578    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $915.93
         Levi Spetz                                                   Contingent
         2906 Dayton Avenue                                           Unliquidated
         CINCINNATI, OH 45211                                         Disputed
         Date(s) debt was incurred 4/14/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7400
                                                                   Is the claim subject to offset?     No       Yes

3.579    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Lighthouse Refrigeration and Air Conditi                     Contingent
         Thomas Munn                                                  Unliquidated
         886 Long Lake Dr.                                            Disputed
         JACKSONVILLE, FL 32225
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/17/2020
         Last 4 digits of account number 9600                      Is the claim subject to offset?     No       Yes




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3.580    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,606.09
         Linda Annal
         Butterfly liquors,Inc                                        Contingent
         2265 Downer St.                                              Unliquidated
         River Mall                                                   Disputed
         BALDWINSVILLE, NY 13027
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/21/2022
         Last 4 digits of account number 5200                      Is the claim subject to offset?     No       Yes


3.581    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,195.58
         Linda Kallabat                                               Contingent
         8180 Flagstaff St.                                           Unliquidated
         COMMERCE, MI 48382                                           Disputed
         Date(s) debt was incurred 6/11/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6501
                                                                   Is the claim subject to offset?     No       Yes

3.582    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,129.60
         Lindsey Morris                                               Contingent
         35 Woods Crossing                                            Unliquidated
         Holliston, MA 01746                                          Disputed
         Date(s) debt was incurred  7/14/2020                      Basis for the claim:
         Last 4 digits of account number 7801
                                                                   Is the claim subject to offset?     No       Yes

3.583    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,522.81
         Lisette Mccracken                                            Contingent
         17709 Baxter Ct                                              Unliquidated
         CLIVE, IA 50325                                              Disputed
         Date(s) debt was incurred  6/9/2022                       Basis for the claim:
         Last 4 digits of account number 8200
                                                                   Is the claim subject to offset?     No       Yes

3.584    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,384.15
         LK Tech LLC                                                  Contingent
         2520 Harris Ave.                                             Unliquidated
         Norwood, OH 45212                                            Disputed
         Date(s) debt was incurred   6/1/2022                      Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.585    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,317.10
         Locale Design Build                                          Contingent
         Bill Nagel                                                   Unliquidated
         5501 Kellogg Ave.                                            Disputed
         Edina, MN 55424
                                                                   Basis for the claim:
         Date(s) debt was incurred  4/13/2022
         Last 4 digits of account number 0401                      Is the claim subject to offset?     No       Yes


3.586    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Logan Heating and Air                                        Contingent
         Mark Hollingsworth                                           Unliquidated
         5142Causeway Dr.                                             Disputed
         WINSTON SALEM, NC 27106
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/5/2017
         Last 4 digits of account number 3400                      Is the claim subject to offset?     No       Yes




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3.587    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Logan Heating and Air                                        Contingent
         Mark Hollingsworth                                           Unliquidated
         5142 N Causeway Dr.                                          Disputed
         WINSTON SALEM, NC 27106
                                                                   Basis for the claim:
         Date(s) debt was incurred 10/7/2020
         Last 4 digits of account number 3400                      Is the claim subject to offset?     No       Yes


3.588    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Lomp HVAC                                                    Contingent
         Luis Molina                                                  Unliquidated
         15 Chiefton Rd.                                              Disputed
         Greenwich, CT 06831
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/18/2022
         Last 4 digits of account number 7300                      Is the claim subject to offset?     No       Yes


3.589    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $22,479.55
         Loren Judaken                                                Contingent
         Hiv                                                          Unliquidated
         555 Rose Ave.                                                Disputed
         Venice, CA 90291
                                                                   Basis for the claim:
         Date(s) debt was incurred  12/23/2021
         Last 4 digits of account number 0182                      Is the claim subject to offset?     No       Yes


3.590    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Lori Spiegel                                                 Contingent
         306 Old Orchard Ct.                                          Unliquidated
         NY, NY 11768                                                 Disputed
         Date(s) debt was incurred  4/25/2022                      Basis for the claim:
         Last 4 digits of account number 7810
                                                                   Is the claim subject to offset?     No       Yes

3.591    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,282.52
         Lou Gagliardi                                                Contingent
         1517 Yellow Stone Dr.                                        Unliquidated
         BARTLETT, IL 60107                                           Disputed
         Date(s) debt was incurred 5/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1300
                                                                   Is the claim subject to offset?     No       Yes

3.592    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,417.66
         Lou Venezia                                                  Contingent
         371 Candlewood Lake Rd.                                      Unliquidated
         Brookfield, CT 06804                                         Disputed
         Date(s) debt was incurred 5/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8200
                                                                   Is the claim subject to offset?     No       Yes

3.593    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $140.10
         Louis (Gus) Hergert III                                      Contingent
         411 Cole Drive SE                                            Unliquidated
         HUNTSVILLE, AL 35802                                         Disputed
         Date(s) debt was incurred 12/5/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 1300
                                                                   Is the claim subject to offset?     No       Yes




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3.594    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         M. L. Mathews                                                Contingent
         23 Stone Hill Rd.                                            Unliquidated
         Oswego, IL 60543                                             Disputed
         Date(s) debt was incurred  4/4/2019                       Basis for the claim:
         Last 4 digits of account number 0700
                                                                   Is the claim subject to offset?     No       Yes

3.595    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Madhav Upadhiaya                                             Contingent
         16 Crusius Place                                             Unliquidated
         COLTS NECK, NJ 07722                                         Disputed
         Date(s) debt was incurred 2/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4230
                                                                   Is the claim subject to offset?     No       Yes

3.596    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,104.46
         Madhav Upadhiaya                                             Contingent
         16 Crusius Place                                             Unliquidated
         COLTS NECK, NJ 07722                                         Disputed
         Date(s) debt was incurred 4/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4201
                                                                   Is the claim subject to offset?     No       Yes

3.597    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,310.75
         Magic Aire                                                   Contingent
         501 Galvaston St.                                            Unliquidated
         Wichita Falls, TX 76301                                      Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.598    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,565.21
         Manuel Pineiro Jr                                            Contingent
         10927 Lostwood Dr.                                           Unliquidated
         Pineiro Properties                                           Disputed
         Sandy, UT 84092
                                                                   Basis for the claim:
         Date(s) debt was incurred   4/19/2022
         Last 4 digits of account number  9500                     Is the claim subject to offset?     No       Yes


3.599    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $802.17
         Marc Bongirno                                                Contingent
         15 Tarteton Lane                                             Unliquidated
         Northport, NY 11768                                          Disputed
         Date(s) debt was incurred  4/25/2022                      Basis for the claim:
         Last 4 digits of account number 8110
                                                                   Is the claim subject to offset?     No       Yes

3.600    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,571.00
         Marc Gigantelli                                              Contingent
         4991 Suisan Valley Rd.                                       Unliquidated
         Fairfield, CA 94534                                          Disputed
         Date(s) debt was incurred 5/23/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9600
                                                                   Is the claim subject to offset?     No       Yes




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3.601    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Marc Miriello                                                Contingent
         4519 Queen Ann                                               Unliquidated
         NEW ALBANY, OH 43054                                         Disputed
         Date(s) debt was incurred 10/3/2019
                                                                   Basis for the claim:
         Last 4 digits of account number 5520
                                                                   Is the claim subject to offset?     No       Yes

3.602    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Marc Picard                                                  Contingent
         5026 Ironwood Dr.                                            Unliquidated
         SOQUEL, CA 95073                                             Disputed
         Date(s) debt was incurred  7/8/2021                       Basis for the claim:
         Last 4 digits of account number 8800
                                                                   Is the claim subject to offset?     No       Yes

3.603    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $588.47
         Margaret Maloney                                             Contingent
         275 Harrison Ave                                             Unliquidated
         NEWPORT, RI 02840                                            Disputed
         Date(s) debt was incurred  2/1/2022                       Basis for the claim:
         Last 4 digits of account number 1100
                                                                   Is the claim subject to offset?     No       Yes

3.604    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Marge Vontz                                                  Contingent
         525 Militon Street                                           Unliquidated
         CINCINNATI, OH 45202                                         Disputed
         Date(s) debt was incurred 5/19/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3000
                                                                   Is the claim subject to offset?     No       Yes

3.605    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,029.05
         Marge Vontz                                                  Contingent
         525 Militon Street                                           Unliquidated
         CINCINNATI, OH 45202                                         Disputed
         Date(s) debt was incurred 5/4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3001
                                                                   Is the claim subject to offset?     No       Yes

3.606    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $47,245.23
         Maria Emilia Escudero                                        Contingent
         Rivera Ferrer #8,                                            Unliquidated
         GUAYNABO, PR 00968                                           Disputed
         Date(s) debt was incurred 3/14/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1002
                                                                   Is the claim subject to offset?     No       Yes

3.607    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $317.12
         Maria Wolberg                                                Contingent
         5050 N Kendall Dr.                                           Unliquidated
         Coral Gables, FL 33156                                       Disputed
         Date(s) debt was incurred 6/5/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5300
                                                                   Is the claim subject to offset?     No       Yes




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3.608    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $167.32
         Marilyn Schroer                                              Contingent
         21 Haven Lane                                                Unliquidated
         Stonington, ME 04681                                         Disputed
         Date(s) debt was incurred 5/15/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4000
                                                                   Is the claim subject to offset?     No       Yes

3.609    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Mario Bringas                                                Contingent
         1613 Field                                                   Unliquidated
         SARASOTA, FL 34232                                           Disputed
         Date(s) debt was incurred 9/16/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 0143
                                                                   Is the claim subject to offset?     No       Yes

3.610    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Mario Bringas                                                Contingent
         1613 Field Rd.                                               Unliquidated
         Sarasota, FL 34231                                           Disputed
         Date(s) debt was incurred  4/25/2022                      Basis for the claim:
         Last 4 digits of account number 4010
                                                                   Is the claim subject to offset?     No       Yes

3.611    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,000.00
         Mario Riccobono                                              Contingent
         22 BOLTON ROAD                                               Unliquidated
         WAYNE, NJ 07470                                              Disputed
         Date(s) debt was incurred  5/10/2022                      Basis for the claim:
         Last 4 digits of account number 5900
                                                                   Is the claim subject to offset?     No       Yes

3.612    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,716.33
         Mario Zolofra                                                Contingent
         77 Montrose Rd.                                              Unliquidated
         Colts Neck, NJ 07722                                         Disputed
         Date(s) debt was incurred 3/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6092
                                                                   Is the claim subject to offset?     No       Yes

3.613    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $74,750.79
         Marjorie Harvey                                              Contingent
         2035 Garraux Road NW                                         Unliquidated
         ATLANTA, GA 30327                                            Disputed
         Date(s) debt was incurred 6/6/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9500
                                                                   Is the claim subject to offset?     No       Yes

3.614    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,937.95
         Mark Betts                                                   Contingent
         35 Middle Lane                                               Unliquidated
         East Hampton, NY 11937                                       Disputed
         Date(s) debt was incurred 4/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9200
                                                                   Is the claim subject to offset?     No       Yes




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3.615    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,000.00
         Mark Beveridge                                               Contingent
         81 Cannon Royal Dr.                                          Unliquidated
         Key West, FL 33040                                           Disputed
         Date(s) debt was incurred  5/26/2022                      Basis for the claim:
         Last 4 digits of account number 3900
                                                                   Is the claim subject to offset?     No       Yes

3.616    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Mark Carter                                                  Contingent
         105 W Market St.                                             Unliquidated
         Louisville, KY 40202                                         Disputed
         Date(s) debt was incurred  8/20/2021                      Basis for the claim:
         Last 4 digits of account number 2803
                                                                   Is the claim subject to offset?     No       Yes

3.617    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,740.00
         Mark Doerflien                                               Contingent
         4610 S 35th St. Suite 1                                      Unliquidated
         Phonix, AZ 08540                                             Disputed
         Date(s) debt was incurred 6/11/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2100
                                                                   Is the claim subject to offset?     No       Yes

3.618    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Mark Glidden                                                 Contingent
         30 Willowcroft Dr.                                           Unliquidated
         COLUMBINE VALLEY, CO 80123                                   Disputed
         Date(s) debt was incurred 6/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7704
                                                                   Is the claim subject to offset?     No       Yes

3.619    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,486.23
         Mark Hurey                                                   Contingent
         630 W. 80th St                                               Unliquidated
         TULSA, OK 74132                                              Disputed
         Date(s) debt was incurred  4/3/2022                       Basis for the claim:
         Last 4 digits of account number 6500
                                                                   Is the claim subject to offset?     No       Yes

3.620    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,178.26
         Mark Latranyl                                                Contingent
         108 Independence Ln                                          Unliquidated
         DANVILLE, PA 17821                                           Disputed
         Date(s) debt was incurred 3/25/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3100
                                                                   Is the claim subject to offset?     No       Yes

3.621    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,000.00
         Mark Stubblefield                                            Contingent
         4992 Rebel Trail                                             Unliquidated
         ATLANTA, GA 30327                                            Disputed
         Date(s) debt was incurred  3/16/2022                      Basis for the claim:
         Last 4 digits of account number 3201,2
                                                                   Is the claim subject to offset?     No       Yes




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3.622    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,520.06
         Mark Wallace                                                 Contingent
         Quintessence Hotel                                           Unliquidated
         Long Bay                                                     Disputed
         Anguilla, British West Indies A12640
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/13/2022
         Last 4 digits of account number 9502                      Is the claim subject to offset?     No       Yes


3.623    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,508.08
         Marla Beck                                                   Contingent
         1418 Lake Side Ave South                                     Unliquidated
         SEATTLE, WA 98199                                            Disputed
         Date(s) debt was incurred 4/4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3300
                                                                   Is the claim subject to offset?     No       Yes

3.624    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $803.44
         marvin mills                                                 Contingent
         206 silver leaf court                                        Unliquidated
         mullica hill, NJ 08062                                       Disputed
         Date(s) debt was incurred 5/6/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5300
                                                                   Is the claim subject to offset?     No       Yes

3.625    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,655.98
         Mary Broussard                                               Contingent
         13224 Glad Acres Dr.                                         Unliquidated
         Farmers Branch, TX 75243                                     Disputed
         Date(s) debt was incurred 3/30/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4240
                                                                   Is the claim subject to offset?     No       Yes

3.626    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $729.84
         Mary Dewald                                                  Contingent
         38100 N Little DcDonald Dr.                                  Unliquidated
         Frazee, MN 56544                                             Disputed
         Date(s) debt was incurred 6/12/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3100
                                                                   Is the claim subject to offset?     No       Yes

3.627    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,245.36
         Mary Voegeli                                                 Contingent
         720 Reserve Circle                                           Unliquidated
         South Elgin, IL 60177                                        Disputed
         Date(s) debt was incurred 4/16/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9600
                                                                   Is the claim subject to offset?     No       Yes

3.628    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Marybeth Joseph                                              Contingent
         315 JAckson Ave.                                             Unliquidated
         DOWNINGTOWN, PA 19335                                        Disputed
         Date(s) debt was incurred 4/7/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6502
                                                                   Is the claim subject to offset?     No       Yes




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3.629    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $214.26
         Matheson Gas                                                 Contingent
         1151 Findlay St                                              Unliquidated
         Cincinnati, OH 45214                                         Disputed
         Date(s) debt was incurred   6/30/2022                     Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.630    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Mathew Bailey                                                Contingent
         2705 South Kendall Way                                       Unliquidated
         DENVER, CO 80227                                             Disputed
         Date(s) debt was incurred 7/29/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 9200
                                                                   Is the claim subject to offset?     No       Yes

3.631    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,500.00
         Mathew Brooks                                                Contingent
         1200 South Greenway Dr.                                      Unliquidated
         Coral Gables, FL 33134                                       Disputed
         Date(s) debt was incurred 4/29/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9185
                                                                   Is the claim subject to offset?     No       Yes

3.632    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Matrix Mechanical                                            Contingent
         Steven Ward                                                  Unliquidated
         2406 Crofton Blvd                                            Disputed
         CROFTON, MD 21114
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/29/2021
         Last 4 digits of account number 2112                      Is the claim subject to offset?     No       Yes


3.633    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Matrix Mechanical                                            Contingent
         Steven Ward                                                  Unliquidated
         2406Crofton Blvd                                             Disputed
         CROFTON, MD 21114
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/30/2020
         Last 4 digits of account number 2100                      Is the claim subject to offset?     No       Yes


3.634    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Matt Roden                                                   Contingent
         86 Stockton St.                                              Unliquidated
         Princeton, NJ 08540                                          Disputed
         Date(s) debt was incurred  3/18/2021                      Basis for the claim:
         Last 4 digits of account number 6510
                                                                   Is the claim subject to offset?     No       Yes

3.635    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Matt Ryan                                                    Contingent
         1915 S. Spiceland Rd                                         Unliquidated
         NEW CASTLE, IN 47362                                         Disputed
         Date(s) debt was incurred 5/10/2018
                                                                   Basis for the claim:
         Last 4 digits of account number 5921
                                                                   Is the claim subject to offset?     No       Yes




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3.636    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $455.24
         Matt Smith                                                   Contingent
         Cuyahoga Landmark                                            Unliquidated
         21079 Westwood Dr.                                           Disputed
         STRONGSVILLE, OH 44149
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number 4800                      Is the claim subject to offset?     No       Yes


3.637    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Matthew Stout                                                Contingent
         2312 Longleaf Drive                                          Unliquidated
         FORT WAYNE, IN 46814                                         Disputed
         Date(s) debt was incurred 11/19/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 6000
                                                                   Is the claim subject to offset?     No       Yes

3.638    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,700.96
         Mawa's Kitchen                                               Contingent
         Daniel McQueen                                               Unliquidated
         350 AABC STE F                                               Disputed
         ASPEN, CO 81611
                                                                   Basis for the claim:
         Date(s) debt was incurred  5/30/2022
         Last 4 digits of account number 9700                      Is the claim subject to offset?     No       Yes


3.639    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $167.32
         Mayilyn Schroer                                              Contingent
         21 Haven Lane                                                Unliquidated
         Stonington, ME 04681                                         Disputed
         Date(s) debt was incurred 5/15/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4000
                                                                   Is the claim subject to offset?     No       Yes

3.640    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         McLoughlin Co                                                Contingent
         Chuck Ammon                                                  Unliquidated
         8649 West Chester Pike                                       Disputed
         UPPER DARBY, PA 19082
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/2/2022
         Last 4 digits of account number 8700                      Is the claim subject to offset?     No       Yes


3.641    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Mcloughlin Plumbing and Heating                              Contingent
         Bill Mcloughlin                                              Unliquidated
         8649 W Chester Pike                                          Disputed
         UPPER DARBY, PA 19082
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/17/2021
         Last 4 digits of account number 5600                      Is the claim subject to offset?     No       Yes


3.642    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $27.34
         McMaster-Carr Supply Co                                      Contingent
         PO Box 7690                                                  Unliquidated
         Chicago, IL 60680-7690                                       Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.643    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,272.76
         MCR INC.                                                     Contingent
         Timothy Bennett                                              Unliquidated
         480 E 345th St.                                              Disputed
         WILLOUGHBY, OH 44094
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/13/2022
         Last 4 digits of account number 0800                      Is the claim subject to offset?     No       Yes


3.644    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,832.62
         Meadowood Napa valley                                        Contingent
         Jose Ortega                                                  Unliquidated
         900 Meadowood Ln.                                            Disputed
         Napa, CA 94558
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/6/2022
         Last 4 digits of account number 9200                      Is the claim subject to offset?     No       Yes


3.645    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $332.48
         Meera Bedi Designs LLC                                       Contingent
         Priyanka Pushkaina                                           Unliquidated
         1125 Maxwell Lane Apt 646                                    Disputed
         Hoboken, NJ 07307
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/3/2022
         Last 4 digits of account number 3100                      Is the claim subject to offset?     No       Yes


3.646    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Metropolitan Mechanical                                      Contingent
         Paul Hawthorne                                               Unliquidated
         7450 flying Cloud Dr                                         Disputed
         LAKEVILLE, MN 55344
                                                                   Basis for the claim:
         Date(s) debt was incurred 8/20/2020
         Last 4 digits of account number 2800                      Is the claim subject to offset?     No       Yes


3.647    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $446.67
         Michael Kerin                                                Contingent
         11 Foothill Rd.                                              Unliquidated
         Bronxville, NY 10708                                         Disputed
         Date(s) debt was incurred  5/30/2022                      Basis for the claim:
         Last 4 digits of account number 4100
                                                                   Is the claim subject to offset?     No       Yes

3.648    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Michael Bego                                                 Contingent
         126 Parsonage Road                                           Unliquidated
         Belle Haven, CT 06830                                        Disputed
         Date(s) debt was incurred 12/23/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 1202
                                                                   Is the claim subject to offset?     No       Yes

3.649    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Michael Brannan                                              Contingent
         1821 Maine Dr                                                Unliquidated
         Elk Grove Village, IL 60007                                  Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5700
                                                                   Is the claim subject to offset?     No       Yes




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3.650    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,081.36
         Michael Cory                                                 Contingent
         3812 Boulder Dr.                                             Unliquidated
         Edwardsville, IL 62025                                       Disputed
         Date(s) debt was incurred 4/6/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8940,51
                                                                   Is the claim subject to offset?     No       Yes

3.651    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,985.70
         Michael Davis Construction                                   Contingent
         117 Lily Pond Lane                                           Unliquidated
         East Hampton, NY 11937                                       Disputed
         Date(s) debt was incurred 3/31/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4211
                                                                   Is the claim subject to offset?     No       Yes

3.652    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Michael Downing                                              Contingent
         1289 Atoka Idaville Rd.                                      Unliquidated
         Atoka, TN 38004                                              Disputed
         Date(s) debt was incurred 5/26/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8600
                                                                   Is the claim subject to offset?     No       Yes

3.653    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $417.34
         Michael G Kurimsky                                           Contingent
         128 Lochencove Ridge                                         Unliquidated
         BREVARD, NC 28712                                            Disputed
         Date(s) debt was incurred 6/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2200
                                                                   Is the claim subject to offset?     No       Yes

3.654    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $777.15
         Michael Hamilton                                             Contingent
         561 BELLEFONTAINE ST                                         Unliquidated
         PASADENA, CA 91105                                           Disputed
         Date(s) debt was incurred 5/8/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7900
                                                                   Is the claim subject to offset?     No       Yes

3.655    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,923.77
         Michael Hayes                                                Contingent
         20909 S South End Rd.                                        Unliquidated
         OREGON CITY, OR 97045                                        Disputed
         Date(s) debt was incurred 5/17/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0400
                                                                   Is the claim subject to offset?     No       Yes

3.656    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,620.18
         Michael Jansen                                               Contingent
         17 Lighthouse Rd.                                            Unliquidated
         Sands Point, NY 11050                                        Disputed
         Date(s) debt was incurred 5/12/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3900
                                                                   Is the claim subject to offset?     No       Yes




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3.657    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,461.12
         Michael Katten                                               Contingent
         6426 Lagunitas Ave                                           Unliquidated
         EL CERRITO, CA 94530                                         Disputed
         Date(s) debt was incurred 4/18/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3500
                                                                   Is the claim subject to offset?     No       Yes

3.658    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Michael Kreger                                               Contingent
         1085 Bay Shore Road                                          Unliquidated
         GREENPORT, NY 11944                                          Disputed
         Date(s) debt was incurred 2/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2001
                                                                   Is the claim subject to offset?     No       Yes

3.659    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Michael Leto                                                 Contingent
         1 Eva Lane                                                   Unliquidated
         Scarsdale, NY 10583                                          Disputed
         Date(s) debt was incurred  7/19/2021                      Basis for the claim:
         Last 4 digits of account number 3502
                                                                   Is the claim subject to offset?     No       Yes

3.660    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,717.69
         Michael McKelvey                                             Contingent
         34 Plumbridge Circle                                         Unliquidated
         HILTON HEAD ISLAND, SC 29928                                 Disputed
         Date(s) debt was incurred 6/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6700
                                                                   Is the claim subject to offset?     No       Yes

3.661    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,170.16
         Michael Olsson                                               Contingent
         14 Walters Farm Road                                         Unliquidated
         YULAN, NY 12792                                              Disputed
         Date(s) debt was incurred 5/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3100
                                                                   Is the claim subject to offset?     No       Yes

3.662    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,093.15
         Michael Schramm
         Robert Lucke Homes                                           Contingent
         8825 Chapel Square Drive B                                   Unliquidated
         Bret Norris delivery                                         Disputed
         CINCINNATI, OH 45249
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/22/2022
         Last 4 digits of account number 0800                      Is the claim subject to offset?     No       Yes


3.663    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,747.03
         Michael Weinig, Inc.                                         Contingent
         124 Crosslake Park Dr.                                       Unliquidated
         Mooresville, NC 28117                                        Disputed
         Date(s) debt was incurred 5/26/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.664    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,862.40
         Michelle Brenner                                             Contingent
         Email Only available                                         Unliquidated
         Charleston, SC 29412                                         Disputed
         Date(s) debt was incurred 6/8/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9000
                                                                   Is the claim subject to offset?     No       Yes

3.665    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,081.36
         Michelle Corey                                               Contingent
         3812 Boulder Drive                                           Unliquidated
         Saint Louis, MO 63113                                        Disputed
         Date(s) debt was incurred 4/5/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8900
                                                                   Is the claim subject to offset?     No       Yes

3.666    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Michelle Nagy                                                Contingent
         Wayfair Erlanger                                             Unliquidated
         120 Greenbner Lakes Cove                                     Disputed
         Piperton, TN 38017
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/24/2022
         Last 4 digits of account number 0800                      Is the claim subject to offset?     No       Yes


3.667    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,509.60
         Michelle Workman                                             Contingent
         4566 Lois St SE                                              Unliquidated
         SMYRNA, GA 30080                                             Disputed
         Date(s) debt was incurred  6/1/2022                       Basis for the claim:
         Last 4 digits of account number 0000
                                                                   Is the claim subject to offset?     No       Yes

3.668    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Miguel Dingwell                                              Contingent
         266 Suez Canal Lane                                          Unliquidated
         Sacremento, CA 95834                                         Disputed
         Date(s) debt was incurred 3/17/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 2900
                                                                   Is the claim subject to offset?     No       Yes

3.669    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,199.00
         Mike Andrews                                                 Contingent
         2636 E. Vista Ridge Dr.                                      Unliquidated
         ORANGE, CA 92867                                             Disputed
         Date(s) debt was incurred 5/26/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3801
                                                                   Is the claim subject to offset?     No       Yes

3.670    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Mike Bryant Heating                                          Contingent
         Mike Bryant                                                  Unliquidated
         1711 E 123rd Terrace                                         Disputed
         Olathe, KS 60661
                                                                   Basis for the claim:
         Date(s) debt was incurred  11/5/2020
         Last 4 digits of account number 8200                      Is the claim subject to offset?     No       Yes




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3.671    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Mike McCall                                                  Contingent
         9570 Jerome Rd.                                              Unliquidated
         Dublin, OH 43017                                             Disputed
         Date(s) debt was incurred  5/3/2018                       Basis for the claim:
         Last 4 digits of account number 1120
                                                                   Is the claim subject to offset?     No       Yes

3.672    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,594.04
         Mike Osto                                                    Contingent
         12000 Davenport Rd.                                          Unliquidated
         Los Alamitos, CA 90720                                       Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7200
                                                                   Is the claim subject to offset?     No       Yes

3.673    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,478.67
         Mike Russel                                                  Contingent
         2240 Dad Hawks                                               Unliquidated
         Flagstaff, AZ 86005                                          Disputed
         Date(s) debt was incurred  5/26/2022                      Basis for the claim:
         Last 4 digits of account number 7820
                                                                   Is the claim subject to offset?     No       Yes

3.674    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Mike Shifflett                                               Contingent
         4577 Slamgate Rd.                                            Unliquidated
         CROZET, VA 22932                                             Disputed
         Date(s) debt was incurred  1/27/2022                      Basis for the claim:
         Last 4 digits of account number 3500
                                                                   Is the claim subject to offset?     No       Yes

3.675    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,100.00
         Mike Tavedi                                                  Contingent
         50505 State Rd 933 N                                         Unliquidated
         South, IN 46637                                              Disputed
         Date(s) debt was incurred 5/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3701
                                                                   Is the claim subject to offset?     No       Yes

3.676    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,152.74
         Mike Terefe                                                  Contingent
         3133 Connetticut Ave NW                                      Unliquidated
         WASHINGTON, DC 20008                                         Disputed
         Date(s) debt was incurred 6/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2600
                                                                   Is the claim subject to offset?     No       Yes

3.677    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,560.41
         Mike Warner                                                  Contingent
         Koller Warner Builders                                       Unliquidated
         1548 Lakewood Dr.                                            Disputed
         LEXINGTON, KY 40502
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/15/2022
         Last 4 digits of account number 8300                      Is the claim subject to offset?     No       Yes




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3.678    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,438.00
         Milan Magera DBA Tatra Services LLC                          Contingent
         873 Red Rock CT.                                             Unliquidated
         Suwanee, GA 30024                                            Disputed
         Date(s) debt was incurred 8/4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.679    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Millian Air                                                  Contingent
         Michael Sundquist                                            Unliquidated
         9942 State Road 52                                           Disputed
         Hudson, FL 34669
                                                                   Basis for the claim:
         Date(s) debt was incurred  5/18/2022
         Last 4 digits of account number 3800                      Is the claim subject to offset?     No       Yes


3.680    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Mimi Sullivan                                                Contingent
         5549 Long Island Drive NW                                    Unliquidated
         Atlanta, GA 30327                                            Disputed
         Date(s) debt was incurred 11/24/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 5201
                                                                   Is the claim subject to offset?     No       Yes

3.681    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,050.00
         Mimmo                                                        Contingent
         165 CREST DR                                                 Unliquidated
         MIRAMAR BEACH, FL 32550                                      Disputed
         Date(s) debt was incurred 4/6/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4301
                                                                   Is the claim subject to offset?     No       Yes

3.682    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,493.00
         Ming Lu                                                      Contingent
         42 STUART DR                                                 Unliquidated
         SYOSSET, NY 11791                                            Disputed
         Date(s) debt was incurred  4/25/2022                      Basis for the claim:
         Last 4 digits of account number 6700
                                                                   Is the claim subject to offset?     No       Yes

3.683    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Miracle Plumbing Heating and Cooling                         Contingent
         Kyle Brown                                                   Unliquidated
         2121 Whipple Ave NW                                          Disputed
         CANTON, OH 44708
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/25/2020
         Last 4 digits of account number 0500                      Is the claim subject to offset?     No       Yes


3.684    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $32,817.00
         Mitch Lustig                                                 Contingent
         11710 Old George Town Rd.                                    Unliquidated
         Unit 1608                                                    Disputed
         Rockville, MD 20852
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/26/2022
         Last 4 digits of account number 4304                      Is the claim subject to offset?     No       Yes




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3.685    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         MOLIAR CONSTRUCTION                                          Contingent
         GREG VOGEL                                                   Unliquidated
         10401 Stevenson Rd.                                          Disputed
         STEVENSON, MD 21153
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/21/2021
         Last 4 digits of account number 3600                      Is the claim subject to offset?     No       Yes


3.686    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Moncrief Heating and Air                                     Contingent
         Ken Heyde                                                    Unliquidated
         935 Chattahoochee Ave                                        Disputed
         ATLANTA, GA 30318
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/4/2021
         Last 4 digits of account number 5200                      Is the claim subject to offset?     No       Yes


3.687    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Moncrief Heating and Air                                     Contingent
         Frank Mutz                                                   Unliquidated
         9285 Cinchina Trail                                          Disputed
         Garden Ridge, TX 78266
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/9/2022
         Last 4 digits of account number 6701                      Is the claim subject to offset?     No       Yes


3.688    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,647.05
         Monty Brock                                                  Contingent
         DMJ Design Build STE 105                                     Unliquidated
         9285 Cinchina Trail                                          Disputed
         Garden Ridge, TX 78266
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/3/2022
         Last 4 digits of account number 4501                      Is the claim subject to offset?     No       Yes


3.689    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Morrison Kitchen & Bath                                      Contingent
         Mark Morrison                                                Unliquidated
         5121 Clariton Blvd                                           Disputed
         PITTSBURGH, PA 15236
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/4/2021
         Last 4 digits of account number 4601                      Is the claim subject to offset?     No       Yes


3.690    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,500.00
         Murphy Design and Construction                               Contingent
         Desmond Murphy                                               Unliquidated
         1 Bellcove                                                   Disputed
         Kings point, NY 11024
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/3/2022
         Last 4 digits of account number 6000                      Is the claim subject to offset?     No       Yes


3.691    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $297.50
         My Programmer, Inc.                                          Contingent
         9235 N Union BLVD Ste 150                                    Unliquidated
         Colorado Springs, CO 80920                                   Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.692    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Myles Odaniell                                               Contingent
         7 Hazelhurst Street                                          Unliquidated
         DANIEL ISLAND, SC 29492                                      Disputed
         Date(s) debt was incurred 7/19/2018
                                                                   Basis for the claim:
         Last 4 digits of account number 9700
                                                                   Is the claim subject to offset?     No       Yes

3.693    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $620.00
         Nancy Esposito                                               Contingent
         2772 Birch Terroce                                           Unliquidated
         Davie, FL 33330                                              Disputed
         Date(s) debt was incurred  6/12/2022                      Basis for the claim:
         Last 4 digits of account number 2900
                                                                   Is the claim subject to offset?     No       Yes

3.694    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $462.05
         Nasuni                                                       Contingent
         Srikanth Keesara                                             Unliquidated
         50 S Sawyeer Lane                                            Disputed
         Tweksberry, MA 11876
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/2/2022
         Last 4 digits of account number 2600                      Is the claim subject to offset?     No       Yes


3.695    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Nate Hall                                                    Contingent
         2220 Meadowvale Drive NE                                     Unliquidated
         ATLANTA, GA 30345                                            Disputed
         Date(s) debt was incurred 12/14/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 2400
                                                                   Is the claim subject to offset?     No       Yes

3.696    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,701.90
         Nathalie Gispan                                              Contingent
         4246 Levitt Lane                                             Unliquidated
         PITTSBURGH, PA 15230                                         Disputed
         Date(s) debt was incurred 5/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1304
                                                                   Is the claim subject to offset?     No       Yes

3.697    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $294.07
         Nathan Meredith                                              Contingent
         6361 Hilltop Ave. N                                          Unliquidated
         Lake Elmo, MN 55042                                          Disputed
         Date(s) debt was incurred 4/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0800
                                                                   Is the claim subject to offset?     No       Yes

3.698    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,360.34
         Nathaniel Cohen                                              Contingent
         Les Poissons Restaurant LLC                                  Unliquidated
         100 Cuesta Vista Dr.                                         Disputed
         Monterey, CA 93940
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/5/2022
         Last 4 digits of account number 4800                      Is the claim subject to offset?     No       Yes




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3.699    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $468.21
         Neat Method                                                  Contingent
         Jessica Moynihan                                             Unliquidated
         30 Stockbridge Rd.                                           Disputed
         Bridgewater, MA 02324
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number 8200                      Is the claim subject to offset?     No       Yes


3.700    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $817.96
         Neil Granholm                                                Contingent
         24 Western Ave                                               Unliquidated
         MARLBORO, NY 12542                                           Disputed
         Date(s) debt was incurred 5/23/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6800
                                                                   Is the claim subject to offset?     No       Yes

3.701    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $143.22
         Nicholas Benson                                              Contingent
         1361 E Jasmine Ave                                           Unliquidated
         SANDY, UT 84092                                              Disputed
         Date(s) debt was incurred  6/13/2022                      Basis for the claim:
         Last 4 digits of account number 4600
                                                                   Is the claim subject to offset?     No       Yes

3.702    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Nichols Heating and Cooling                                  Contingent
         Randy Young                                                  Unliquidated
         5690 Dixie HWY                                               Disputed
         Waterford, MI 48329
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/24/2022
         Last 4 digits of account number 1400                      Is the claim subject to offset?     No       Yes


3.703    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Nick Mcdonald refrigeration                                  Contingent
         Brad Alexander                                               Unliquidated
         605 California Ave.                                          Disputed
         SAND CITY, CA 93955
                                                                   Basis for the claim:
         Date(s) debt was incurred 8/19/2021
         Last 4 digits of account number 3100                      Is the claim subject to offset?     No       Yes


3.704    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,255.67
         Nick Scalabrino                                              Contingent
         5145 Grand Ave.                                              Unliquidated
         West Springs, IL 60558                                       Disputed
         Date(s) debt was incurred 6/6/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9800
                                                                   Is the claim subject to offset?     No       Yes

3.705    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $631.86
         Nicks small engines
         Nick Filosa                                                  Contingent
         Nicks small engines                                          Unliquidated
         22 Whippoorwill Lane                                         Disputed
         ROCKAWAY, NJ 07866
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/8/2022
         Last 4 digits of account number 8000                      Is the claim subject to offset?     No       Yes




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3.706    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $380.68
         Nicola Mullins                                               Contingent
         2992 S. Thornidge Dr.                                        Unliquidated
         Springfield, MO 65809                                        Disputed
         Date(s) debt was incurred 6/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4800
                                                                   Is the claim subject to offset?     No       Yes

3.707    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $66.70
         Nicole Pavlisin                                              Contingent
         3270 Bermuda Isle Circle Apt 633                             Unliquidated
         NAPLES, FL 34109                                             Disputed
         Date(s) debt was incurred 5/26/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7400
                                                                   Is the claim subject to offset?     No       Yes

3.708    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         NICOLET HEATING AND COOLING                                  Contingent
         Leif Townsend                                                Unliquidated
         1344Russett Court                                            Disputed
         GREEN BAY, WI 54313
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/23/2021
         Last 4 digits of account number 6701                      Is the claim subject to offset?     No       Yes


3.709    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,614.50
         Nina Carran                                                  Contingent
         Locals Liquors                                               Unliquidated
         354 Blue River Parkway                                       Disputed
         Silverthorne, CO 80498
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/26/2022
         Last 4 digits of account number 6600                      Is the claim subject to offset?     No       Yes


3.710    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,900.00
         Noelle Sherber                                               Contingent
         1027 Savile Lane                                             Unliquidated
         MCLEAN, VA 22101                                             Disputed
         Date(s) debt was incurred  2/14/2022                      Basis for the claim:
         Last 4 digits of account number 4707
                                                                   Is the claim subject to offset?     No       Yes

3.711    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Norma and Rob Strouse                                        Contingent
         19 Nantmead Rd                                               Unliquidated
         GLENMOORE, PA 19343                                          Disputed
         Date(s) debt was incurred 11/11/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 0204
                                                                   Is the claim subject to offset?     No       Yes

3.712    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $70.95
         Northern Safety Products                                     Contingent
         PO Box4250                                                   Unliquidated
         Utica, NY 13504-4250                                         Disputed
         Date(s) debt was incurred 6/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.713    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Northpoint Heating and Air                                   Contingent
         Brent Zokan                                                  Unliquidated
         1125 Sparkleberry Lane Ext                                   Disputed
         COLUMBIA, SC 29223
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/13/2022
         Last 4 digits of account number 5900                      Is the claim subject to offset?     No       Yes


3.714    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,600.00
         Nyla Gawel                                                   Contingent
         8909 Charred Oak Dr                                          Unliquidated
         BETHESDA, MD 20817                                           Disputed
         Date(s) debt was incurred 3/28/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1900
                                                                   Is the claim subject to offset?     No       Yes

3.715    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,145.76
         O.C. Tanner                                                  Contingent
         Phil Barbee                                                  Unliquidated
         621 Jackson Falls Dr.                                        Disputed
         NASHVILLE, TN 37211
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/7/2022
         Last 4 digits of account number 9200                      Is the claim subject to offset?     No       Yes


3.716    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Oceanstate Ac                                                Contingent
         Daryl Roy                                                    Unliquidated
         1476 Atlatic BLVD                                            Disputed
         NEPTUNE BEACH, FL 32266
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/12/2022
         Last 4 digits of account number 7400                      Is the claim subject to offset?     No       Yes


3.717    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         OH Design                                                    Contingent
         Jade Oh                                                      Unliquidated
         3Allison Rd.                                                 Disputed
         ALPINE, NJ 07620
                                                                   Basis for the claim:
         Date(s) debt was incurred  9/11/2018
         Last 4 digits of account number 6320                      Is the claim subject to offset?     No       Yes


3.718    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $170.00
         Ohio Environmental Protection Agency                         Contingent
         Division of Air Polution Control                             Unliquidated
         PO Box 77005                                                 Disputed
         Cleveland, OH 44194-7005
                                                                   Basis for the claim:
         Date(s) debt was incurred 8/17/2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.719    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $598.25
         Olavf Messerschmidt                                          Contingent
         3334 S Indiana Ave                                           Unliquidated
         Milwaukee, WI 53207                                          Disputed
         Date(s) debt was incurred 5/19/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8000
                                                                   Is the claim subject to offset?     No       Yes




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3.720    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,412.81
         Oldcastle Glass Perrysburg                                   Contingent
         16697 Collections Center Dr.                                 Unliquidated
         Chicago, IL 60693                                            Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.721    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,497.43
         Olivia Zhao                                                  Contingent
         Cornell Contracting LLC                                      Unliquidated
         69 Drabbington Way                                           Disputed
         WESTFORD, MA 02493
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/3/2022
         Last 4 digits of account number 6200                      Is the claim subject to offset?     No       Yes


3.722    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,174.45
         Olivier Le Ber                                               Contingent
         8129 Pinehurst Harbour Way                                   Unliquidated
         PASADENA, MD 21122                                           Disputed
         Date(s) debt was incurred 4/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4400
                                                                   Is the claim subject to offset?     No       Yes

3.723    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Omni Custom Homes, Inc                                       Contingent
         Carl Nelson                                                  Unliquidated
         14603 Huebner Rd Suite 3403                                  Disputed
         SAN ANTONIO, TX 78230
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/5/2022
         Last 4 digits of account number 3700                      Is the claim subject to offset?     No       Yes


3.724    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $991.25
         ONETIME- Absolute Fire Protection                            Contingent
         2031 Garrard St.                                             Unliquidated
         Covington, KY 41014                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.725    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,011.18
         Pablo Jablonski                                              Contingent
         61 Gold Hill Grade                                           Unliquidated
         San Rafael, CA 94301                                         Disputed
         Date(s) debt was incurred 6/4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7400
                                                                   Is the claim subject to offset?     No       Yes

3.726    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,434.81
         Pam Harrel                                                   Contingent
         Harrell's Waterproducts                                      Unliquidated
         7103 is Highway 158                                          Disputed
         Stokedale, NC 27357
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/3/2022
         Last 4 digits of account number 5500                      Is the claim subject to offset?     No       Yes




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3.727    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Pamela Hoynes                                                Contingent
         8125 South Clippinger                                        Unliquidated
         CINCINNATI, OH 45243                                         Disputed
         Date(s) debt was incurred 8/11/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 4900
                                                                   Is the claim subject to offset?     No       Yes

3.728    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Parker Davis HVAC International, Inc.                        Contingent
         3250 NW 107th Ave.                                           Unliquidated
         Doral, FL 33172                                              Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.729    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,750.00
         Partrick Hickey                                              Contingent
         258 E Pinto Ct.                                              Unliquidated
         Gilbert, AZ 85296                                            Disputed
         Date(s) debt was incurred  6/2/2022                       Basis for the claim:
         Last 4 digits of account number 6211
                                                                   Is the claim subject to offset?     No       Yes

3.730    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,313.44
         Patricia Stritmatter                                         Contingent
         79341 Liga                                                   Unliquidated
         La Quinta, CA 92253                                          Disputed
         Date(s) debt was incurred  4/27/2022                      Basis for the claim:
         Last 4 digits of account number 4602,1
                                                                   Is the claim subject to offset?     No       Yes

3.731    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,649.95
         Patricia Swenor                                              Contingent
         Cove Mountain Builders                                       Unliquidated
         814 Laura Top Way                                            Disputed
         GATLINBURG, TN 37738
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/12/2022
         Last 4 digits of account number 9122,2902,03              Is the claim subject to offset?     No       Yes


3.732    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Patrick Methven                                              Contingent
         155 E Golfview Rd                                            Unliquidated
         Ardmore, PA 19003                                            Disputed
         Date(s) debt was incurred  4/4/2022                       Basis for the claim:
         Last 4 digits of account number 0422
                                                                   Is the claim subject to offset?     No       Yes

3.733    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,337.50
         Patrick Stroup
         Ivy Homes Inc                                                Contingent
         324 E New York St STE250                                     Unliquidated
         STE 250#                                                     Disputed
         INDIANAPOLIS, IN 46204
                                                                   Basis for the claim:
         Date(s) debt was incurred 10/30/2020
         Last 4 digits of account number 9200                      Is the claim subject to offset?     No       Yes




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3.734    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,000.00
         Paul Ariano                                                  Contingent
         1041 Mansion Ridge Rd.                                       Unliquidated
         Santa Fe, NM 87501                                           Disputed
         Date(s) debt was incurred 3/18/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1221
                                                                   Is the claim subject to offset?     No       Yes

3.735    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $681.94
         Paul Cleary                                                  Contingent
         241 Dunk Rock Rd.                                            Unliquidated
         GUILFORD, CT 06437                                           Disputed
         Date(s) debt was incurred 6/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7900
                                                                   Is the claim subject to offset?     No       Yes

3.736    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         PAUL DIMARTINI                                               Contingent
         345 RIVER BEND DRIVE                                         Unliquidated
         RENO, NV 89523                                               Disputed
         Date(s) debt was incurred 8/5/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 4100
                                                                   Is the claim subject to offset?     No       Yes

3.737    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $436.99
         Paul Kondrick                                                Contingent
         2335 Westclub Terrace Cour                                   Unliquidated
         Ballwin, MO 63011                                            Disputed
         Date(s) debt was incurred 6/5/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5000
                                                                   Is the claim subject to offset?     No       Yes

3.738    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Paul Wlos                                                    Contingent
         6487 North 8000 East Rd.                                     Unliquidated
         Grant Park, IL 60940                                         Disputed
         Date(s) debt was incurred 11/4/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 0100
                                                                   Is the claim subject to offset?     No       Yes

3.739    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,503.40
         Pauls Beverage                                               Contingent
         Paul Bires                                                   Unliquidated
         6437 Oak Point Estates                                       Disputed
         LORAIN, OH 44053
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/27/2022
         Last 4 digits of account number 8600                      Is the claim subject to offset?     No       Yes


3.740    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $289,292.98
         Paxton Hardwoods                                             Contingent
         PO BOX 74007371                                              Unliquidated
         Chicago, IL 60674-7371                                       Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.741    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,718.19
         Performance Abrasives, Inc                                   Contingent
         10330 Wayne Ave.                                             Unliquidated
         Cincinnati, OH 45215                                         Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.742    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Pete and Tammy McCutchen                                     Contingent
         1525 Fielden Store Rd                                        Unliquidated
         NEW MARKET, TN 37820                                         Disputed
         Date(s) debt was incurred 1/6/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2201
                                                                   Is the claim subject to offset?     No       Yes

3.743    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,081.68
         Pete and Tammy McCutchen                                     Contingent
         1525 Fielden Store Rd                                        Unliquidated
         NEW MARKET, TN 37820                                         Disputed
         Date(s) debt was incurred 4/18/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2204
                                                                   Is the claim subject to offset?     No       Yes

3.744    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Peter Claude                                                 Contingent
         4230 Greenwood Dr                                            Unliquidated
         Benton Harbor, MI 49022                                      Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8900
                                                                   Is the claim subject to offset?     No       Yes

3.745    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $335.00
         Peter Elliott                                                Contingent
         Capital City Millwork                                        Unliquidated
         173 Heatherdown Dr.                                          Disputed
         WESTERVILLE, OH 43081
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/20/2022
         Last 4 digits of account number 5004                      Is the claim subject to offset?     No       Yes


3.746    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Peter Schroer                                                Contingent
         12 Azalea Way                                                Unliquidated
         Boxford, MA 01921                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.747    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,492.44
         Philip Fasano                                                Contingent
         816 Leigh Mill Rd                                            Unliquidated
         GREAT FALLS, VA 22066                                        Disputed
         Date(s) debt was incurred 4/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5100
                                                                   Is the claim subject to offset?     No       Yes




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3.748    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $151.96
         Phillip Rogers                                               Contingent
         2922 Albine Dr                                               Unliquidated
         GLENSHAW, PA 15116                                           Disputed
         Date(s) debt was incurred 5/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0700
                                                                   Is the claim subject to offset?     No       Yes

3.749    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $37,695.00
         Pierce Gelhaus                                               Contingent
         3750 Grand Ave.                                              Unliquidated
         DES MOINES, IA 50312                                         Disputed
         Date(s) debt was incurred 2/28/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7201
                                                                   Is the claim subject to offset?     No       Yes

3.750    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         PINEO CONSTRUCTION                                           Contingent
         44 Cradie Rock Rd.                                           Unliquidated
         PRINCETON, NJ 08540                                          Disputed
         Date(s) debt was incurred 1/12/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4200
                                                                   Is the claim subject to offset?     No       Yes

3.751    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Pinnacle Air Solutions                                       Contingent
         Chris Hall                                                   Unliquidated
         7125 Montgomery Rd                                           Disputed
         CINCINNATI, OH 45236
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/6/2021
         Last 4 digits of account number 1521                      Is the claim subject to offset?     No       Yes


3.752    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Pinnacle Building & Restoration Inc.                         Contingent
         Travis Barnett                                               Unliquidated
         6919 S Park Ridge Court                                      Disputed
         RIVERBANK, CA 95367
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/23/2021
         Last 4 digits of account number 6300                      Is the claim subject to offset?     No       Yes


3.753    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,138.48
         Pintail Development                                          Contingent
         David Sajovich                                               Unliquidated
         2805 E 4th St.                                               Disputed
         AUSTIN, TX 78702
                                                                   Basis for the claim:
         Date(s) debt was incurred   4/12/2022
         Last 4 digits of account number  6000                     Is the claim subject to offset?     No       Yes


3.754    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,340.62
         Polymershapes LLC                                            Contingent
         12074 Best Pl.                                               Unliquidated
         Sharonville, OH 45241                                        Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.755    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $345.00
         Praveen Maheshwari                                           Contingent
         6438 Farthing Dr.                                            Unliquidated
         Colorado Springs, CO 80906                                   Disputed
         Date(s) debt was incurred 6/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3400
                                                                   Is the claim subject to offset?     No       Yes

3.756    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Precision Air TN                                             Contingent
         Mike Parkinson                                               Unliquidated
         6116 New Nashville Highway                                   Disputed
         MURFREESBORO, TN 37129
                                                                   Basis for the claim:
         Date(s) debt was incurred 10/22/2020
         Last 4 digits of account number 9500                      Is the claim subject to offset?     No       Yes


3.757    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Precision Air TN                                             Contingent
         Jayme Loving                                                 Unliquidated
         6116 New Nashville Highway                                   Disputed
         MURFREESBORO, TN 37129
                                                                   Basis for the claim:
         Date(s) debt was incurred 10/14/2021
         Last 4 digits of account number 7100                      Is the claim subject to offset?     No       Yes


3.758    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,340.62
         Premier Global Transportation LLC                            Contingent
         1252 OH 28                                                   Unliquidated
         Milford, OH 45150                                            Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.759    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Premier Indoor Comfort                                       Contingent
         Brandon Godbee                                               Unliquidated
         391 Marietta Rd.                                             Disputed
         CANTON, GA 30114
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/15/2022
         Last 4 digits of account number 1200                      Is the claim subject to offset?     No       Yes


3.760    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Premier Indoor Comfort Systems                               Contingent
         Tim Wray                                                     Unliquidated
         391 Marietta Rd.                                             Disputed
         CANTON, GA 30114
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/18/2019
         Last 4 digits of account number 1000                      Is the claim subject to offset?     No       Yes


3.761    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Professional Heat & Air                                      Contingent
         Monty FairChild                                              Unliquidated
         6815 Washington Pike                                         Disputed
         KNOXVILLE, TN 37918
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/1/2021
         Last 4 digits of account number 6700                      Is the claim subject to offset?     No       Yes




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3.762    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Purified Air Conditioning                                    Contingent
         Rick Spriggs                                                 Unliquidated
         18000 Leetana Rd.                                            Disputed
         FORT MYERS, FL 33918
                                                                   Basis for the claim:
         Date(s) debt was incurred 8/20/2020
         Last 4 digits of account number 2200                      Is the claim subject to offset?     No       Yes


3.763    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         PURIFIED AIR CONDITIONING, INC                               Contingent
         ANNETTE SPRIGGS                                              Unliquidated
         5791 Country Lake Dr.                                        Disputed
         FORT MYERS, FL 33905
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/10/2022
         Last 4 digits of account number 0000                      Is the claim subject to offset?     No       Yes


3.764    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $150.00
         Quadient Postage Funding                                     Contingent
         PO Box 6813                                                  Unliquidated
         Carol Stream, IL 60197-6813                                  Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.765    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Quality Cool Air Conditioning                                Contingent
         Yuderka Rodriguez                                            Unliquidated
         12105 SW 129 CT STE 10                                       Disputed
         MIAMI, FL 33186
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/23/2020
         Last 4 digits of account number 5000                      Is the claim subject to offset?     No       Yes


3.766    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Quality Refrigeration Concepts, Inc.                         Contingent
         215 Cassell st                                               Unliquidated
         WINSTON SALEM, NC 27127                                      Disputed
         Date(s) debt was incurred 11/25/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 6900
                                                                   Is the claim subject to offset?     No       Yes

3.767    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $27,428.00
         Quintessence Hotel, Limited                                  Contingent
         c/o Mark Wallace                                             Unliquidated
         Long Bay
                                                                      Disputed
         Anguilla, BWCI A12640
                                                                   Basis for the claim:
         Date(s) debt was incurred October 27, 2021
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.768    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         R&G Mathews Heating and Air                                  Contingent
         Greg Mathews                                                 Unliquidated
         2820 Davy Allison BL                                         Disputed
         BESSEMER, AL 35020
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/29/2022
         Last 4 digits of account number 7500                      Is the claim subject to offset?     No       Yes




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3.769    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Rachel                                                       Contingent
         27015 Holly Lord                                             Unliquidated
         Magnolia, TX 77355                                           Disputed
         Date(s) debt was incurred  6/25/2020                      Basis for the claim:
         Last 4 digits of account number 5000
                                                                   Is the claim subject to offset?     No       Yes

3.770    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,483.55
         Rain City Wines                                              Contingent
         Santo Roman                                                  Unliquidated
         10131 Main St. Ste. A                                        Disputed
         BOTHELL, WA 98011
                                                                   Basis for the claim:
         Date(s) debt was incurred  5/30/2022
         Last 4 digits of account number 3900                      Is the claim subject to offset?     No       Yes


3.771    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Ralph Daniel                                                 Contingent
         138 Oakhurst trail                                           Unliquidated
         RIDGELAND, MS 39157                                          Disputed
         Date(s) debt was incurred 10/17/2019
                                                                   Basis for the claim:
         Last 4 digits of account number 7500
                                                                   Is the claim subject to offset?     No       Yes

3.772    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,779.17
         Ralph Darienzo                                               Contingent
         16 Wine Mill Rd.                                             Unliquidated
         Stamford, CT 06933                                           Disputed
         Date(s) debt was incurred  6/1/2022                       Basis for the claim:
         Last 4 digits of account number 9800
                                                                   Is the claim subject to offset?     No       Yes

3.773    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,650.00
         Randall Hale                                                 Contingent
         5121 Meadow View Lane                                        Unliquidated
         SOUTH LEBANON, OH 45065                                      Disputed
         Date(s) debt was incurred 1/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0601
                                                                   Is the claim subject to offset?     No       Yes

3.774    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Randy Hensley & Mathy Mcgly                                  Contingent
         Davidon Homes                                                Unliquidated
         1600 South Main St. Suite 150                                Disputed
         Walnut Creek, CA 94542
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/4/2020
         Last 4 digits of account number 5551                      Is the claim subject to offset?     No       Yes


3.775    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Raquel Zaki                                                  Contingent
         714 Lakeview                                                 Unliquidated
         MIAMI BEACH, FL 33140                                        Disputed
         Date(s) debt was incurred 9/29/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 8900
                                                                   Is the claim subject to offset?     No       Yes




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3.776    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Raymong Carcione                                             Contingent
         1045 Alta Vista Rd.                                          Unliquidated
         Louisville, KY 40205                                         Disputed
         Date(s) debt was incurred  5/26/2022                      Basis for the claim:
         Last 4 digits of account number 5264
                                                                   Is the claim subject to offset?     No       Yes

3.777    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Reid Huber                                                   Contingent
         2201 Kentmere Parkway                                        Unliquidated
         Wilmington, DE 19806                                         Disputed
         Date(s) debt was incurred 3/1/2018
                                                                   Basis for the claim:
         Last 4 digits of account number 9000
                                                                   Is the claim subject to offset?     No       Yes

3.778    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $317.96
         Relay Express                                                Contingent
         PO Box 706325                                                Unliquidated
         Cincinnati, OH 45270-6325                                    Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.779    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Reliable Contracting Company                                 Contingent
         Joseph Baldwin                                               Unliquidated
         808 Homestead Lane                                           Disputed
         CROWNSVILLE, MD 21032
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/25/2020
         Last 4 digits of account number 5800                      Is the claim subject to offset?     No       Yes


3.780    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Resler Mechanical INC                                        Contingent
         Russ Resler                                                  Unliquidated
         13447 E Carter St.                                           Disputed
         BLOOMFIELD, IN 47424
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/9/2022
         Last 4 digits of account number 2400                      Is the claim subject to offset?     No       Yes


3.781    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Ricardo Capretta                                             Contingent
         Capretta Architecture                                        Unliquidated
         2 Upper Alcatraz Pl.                                         Disputed
         MILL VALLEY, CA 94941
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/12/2022
         Last 4 digits of account number 8900                      Is the claim subject to offset?     No       Yes


3.782    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Ricardo Lemos                                                Contingent
         921 South Ocean BLVD                                         Unliquidated
         DELRAY BEACH, FL 33483                                       Disputed
         Date(s) debt was incurred 2/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3100
                                                                   Is the claim subject to offset?     No       Yes




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3.783    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Richard Bezozo                                               Contingent
         6 conifer drive                                              Unliquidated
         WARREN, NJ 07059                                             Disputed
         Date(s) debt was incurred  5/26/2022                      Basis for the claim:
         Last 4 digits of account number 9200
                                                                   Is the claim subject to offset?     No       Yes

3.784    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,900.00
         Richard Bezozo                                               Contingent
         6 conifer drive                                              Unliquidated
         WARREN, NJ 07059                                             Disputed
         Date(s) debt was incurred  6/7/2022                       Basis for the claim:
         Last 4 digits of account number 9201
                                                                   Is the claim subject to offset?     No       Yes

3.785    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Richard Daily                                                Contingent
         190 Terry Rd                                                 Unliquidated
         Smithtown, NY 11787                                          Disputed
         Date(s) debt was incurred 2/18/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 3070
                                                                   Is the claim subject to offset?     No       Yes

3.786    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,723.54
         Richard Dinnis                                               Contingent
         103 Heglar Oaks Ct                                           Unliquidated
         HERNDON, VA 20170                                            Disputed
         Date(s) debt was incurred 4/19/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0100
                                                                   Is the claim subject to offset?     No       Yes

3.787    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,937.56
         Richard Malinowski                                           Contingent
         1464 Via Vista                                               Unliquidated
         Nipomo, CA 94333                                             Disputed
         Date(s) debt was incurred  2/18/2022                      Basis for the claim:
         Last 4 digits of account number 6113
                                                                   Is the claim subject to offset?     No       Yes

3.788    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,274.30
         Richard Schlueter                                            Contingent
         1932 North Druid Hills Rd.                                   Unliquidated
         ATLANTA, GA 30319                                            Disputed
         Date(s) debt was incurred 4/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8002
                                                                   Is the claim subject to offset?     No       Yes

3.789    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Richard Scholten                                             Contingent
         Bill West                                                    Unliquidated
         182 Summit Lane                                              Disputed
         COPPEROPOLIS, CA 95228
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/10/2020
         Last 4 digits of account number 4400                      Is the claim subject to offset?     No       Yes




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3.790    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,500.00
         Richard Truesdell                                            Contingent
         530 Roadrunner Lane ne                                       Unliquidated
         Albuquerque, MN 87122                                        Disputed
         Date(s) debt was incurred 3/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9782,3
                                                                   Is the claim subject to offset?     No       Yes

3.791    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Richelleu                                                    Contingent
         237N River Rd.                                               Unliquidated
         Mount Clemons, MI 48043-1020                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.792    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Rick Greene                                                  Contingent
         6415 Moonseed St                                             Unliquidated
         PROSPECT, KY 40059                                           Disputed
         Date(s) debt was incurred 12/22/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 2200
                                                                   Is the claim subject to offset?     No       Yes

3.793    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Rick Lynch                                                   Contingent
         212 Hancock St.                                              Unliquidated
         Sandusky, OH 44870                                           Disputed
         Date(s) debt was incurred  12/31/2021                     Basis for the claim:
         Last 4 digits of account number 6800
                                                                   Is the claim subject to offset?     No       Yes

3.794    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Ridge Energy Savers INC.                                     Contingent
         David Beumel                                                 Unliquidated
         135 S Acult Rd.                                              Disputed
         LAKE WALES, FL 33859
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/25/2020
         Last 4 digits of account number 2400                      Is the claim subject to offset?     No       Yes


3.795    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,312.49
         Rio Hill Wine & Beer                                         Contingent
         KIMBERLY Hotz                                                Unliquidated
         1908N Hill Center                                            Disputed
         CHARLOTTESVILLE, VA 22901
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/23/2022
         Last 4 digits of account number 9400                      Is the claim subject to offset?     No       Yes


3.796    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         RJ Kielty HVAC                                               Contingent
         Bob Morgan                                                   Unliquidated
         7379 Massachusette Ave.                                      Disputed
         NEW PORT RICHEY, FL 34653
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/3/2020
         Last 4 digits of account number 9000                      Is the claim subject to offset?     No       Yes




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3.797    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,049.76
         Rob Huber                                                    Contingent
         380 Terrace View Dr.                                         Unliquidated
         Stateline, NV 89449                                          Disputed
         Date(s) debt was incurred  4/18/2022                      Basis for the claim:
         Last 4 digits of account number 7700
                                                                   Is the claim subject to offset?     No       Yes

3.798    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Rob Koran                                                    Contingent
         26322 Rosa St                                                Unliquidated
         ALISO VIEJO, CA 92656                                        Disputed
         Date(s) debt was incurred 5/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 5201
                                                                   Is the claim subject to offset?     No       Yes

3.799    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,701.14
         Rob Lemmons                                                  Contingent
         5808 Squire Gaate Drive                                      Unliquidated
         Mason, OH 45040                                              Disputed
         Date(s) debt was incurred 4/20/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8600
                                                                   Is the claim subject to offset?     No       Yes

3.800    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,411.80
         Robert Beatty                                                Contingent
         611 S Palm Canyon Suite 22                                   Unliquidated
         Palm Springs, CA 92264                                       Disputed
         Date(s) debt was incurred 6/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1000
                                                                   Is the claim subject to offset?     No       Yes

3.801    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,557.05
         Robert Blake                                                 Contingent
         971 Rambling Brook Way                                       Unliquidated
         DELAWARE, OH 43015                                           Disputed
         Date(s) debt was incurred 6/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1400
                                                                   Is the claim subject to offset?     No       Yes

3.802    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,919.42
         Robert Brindley                                              Contingent
         832 Towne Street                                             Unliquidated
         SONOMA, CA 95476                                             Disputed
         Date(s) debt was incurred  6/2/2022                       Basis for the claim:
         Last 4 digits of account number 5402
                                                                   Is the claim subject to offset?     No       Yes

3.803    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Robert Brinkman                                              Contingent
         1761 SE 7th St.                                              Unliquidated
         FORT LAUDERDALE, FL 33316                                    Disputed
         Date(s) debt was incurred 1/19/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0200
                                                                   Is the claim subject to offset?     No       Yes




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3.804    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,909.77
         Robert Engle                                                 Contingent
         29 Washiington Square West                                   Unliquidated
         NY, NY 10011                                                 Disputed
         Date(s) debt was incurred 4/18/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6501
                                                                   Is the claim subject to offset?     No       Yes

3.805    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $683.80
         Robert Jones                                                 Contingent
         9215 N Manning Ave                                           Unliquidated
         KANSAS CITY, MO 64157                                        Disputed
         Date(s) debt was incurred 5/15/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2700
                                                                   Is the claim subject to offset?     No       Yes

3.806    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Robert Keane                                                 Contingent
         40 Waterway Island Drive                                     Unliquidated
         Isle of Palms, SC 29451                                      Disputed
         Date(s) debt was incurred 7/14/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 0800
                                                                   Is the claim subject to offset?     No       Yes

3.807    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Robert Shotwell                                              Contingent
         682 County Road 316                                          Unliquidated
         Ireland, TX 76538                                            Disputed
         Date(s) debt was incurred 9/15/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 8011
                                                                   Is the claim subject to offset?     No       Yes

3.808    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,391.21
         Robert W Bugie                                               Contingent
         2704 Colerain Ave                                            Unliquidated
         Cincinnati, OH 45225                                         Disputed
         Date(s) debt was incurred   Various                       Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.809    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,261.87
         Robert Wong                                                  Contingent
         11 Kailuana Place                                            Unliquidated
         KAILUA, HI 96734                                             Disputed
         Date(s) debt was incurred  5/2/2022                       Basis for the claim:
         Last 4 digits of account number 2501
                                                                   Is the claim subject to offset?     No       Yes

3.810    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $253.26
         Robert Yellen                                                Contingent
         960 3rd St.                                                  Unliquidated
         Sainta Monica, CA 90403                                      Disputed
         Date(s) debt was incurred 5/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4200
                                                                   Is the claim subject to offset?     No       Yes




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3.811    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Robert Yellen                                                Contingent
         1712 Palisades Drive                                         Unliquidated
         Calabasas, CA 91302                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.812    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $285.67
         Robin Diener                                                 Contingent
         4675 Andalusia Trail                                         Unliquidated
         Atlanta, GA 30346                                            Disputed
         Date(s) debt was incurred  5/12/2022                      Basis for the claim:
         Last 4 digits of account number 4101
                                                                   Is the claim subject to offset?     No       Yes

3.813    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,760.77
         Rodolfo Sanchez Colberg                                      Contingent
         NA                                                           Unliquidated
         SAN JUAN, PR 00927                                           Disputed
         Date(s) debt was incurred 5/5/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3700
                                                                   Is the claim subject to offset?     No       Yes

3.814    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $385.58
         Ron Moore                                                    Contingent
         8639 Us Highway 290                                          Unliquidated
         Freedom Cellars                                              Disputed
         Johnson City, TX 78636
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/6/2022
         Last 4 digits of account number 9500                      Is the claim subject to offset?     No       Yes


3.815    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $409.00
         Ronald Glassman                                              Contingent
         27 Houston Terrace Apt. 4                                    Unliquidated
         Stamford, CT 06902                                           Disputed
         Date(s) debt was incurred 5/30/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9300
                                                                   Is the claim subject to offset?     No       Yes

3.816    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,413.78
         Ronda Diver -Ronda Divers Interiors                          Contingent
         6002 Jean Rd.                                                Unliquidated
         Lake Oswego, OR 97035                                        Disputed
         Date(s) debt was incurred 5/26/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8931
                                                                   Is the claim subject to offset?     No       Yes

3.817    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $354.22
         Roy Hathcock                                                 Contingent
         23811 Napoli Way                                             Unliquidated
         Estero, FL 34134                                             Disputed
         Date(s) debt was incurred  6/7/2022                       Basis for the claim:
         Last 4 digits of account number 3711
                                                                   Is the claim subject to offset?     No       Yes




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3.818    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,300.00
         Roy Hathcock                                                 Contingent
         13811 Napoli Way                                             Unliquidated
         Estero, FL 34134                                             Disputed
         Date(s) debt was incurred  6/7/2022                       Basis for the claim:
         Last 4 digits of account number 3701
                                                                   Is the claim subject to offset?     No       Yes

3.819    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $376.00
         RT &J Plumbing                                               Contingent
         3816 Montgomery Rd.                                          Unliquidated
         Cincinnati, OH 45212                                         Disputed
         Date(s) debt was incurred 8/1//22
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.820    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $680.72
         Rufino Velazquez                                             Contingent
         137 Claremont St.                                            Unliquidated
         DEER PARK, NY 11729                                          Disputed
         Date(s) debt was incurred 6/5/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8600
                                                                   Is the claim subject to offset?     No       Yes

3.821    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Rullie Plumbing and Heating                                  Contingent
         Robert Rullie                                                Unliquidated
         34 Lackey St.                                                Disputed
         WESTBORO, MA 01581
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/3/2022
         Last 4 digits of account number 2800                      Is the claim subject to offset?     No       Yes


3.822    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,409.80
         Rumpke                                                       Contingent
         3700 Struble Rd                                              Unliquidated
         Cincinnati, OH 45226-1805                                    Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.823    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,385.40
         Russ Keller                                                  Contingent
         Griffths Construction                                        Unliquidated
         7 tyler Lane                                                 Disputed
         VILLANOVA, PA 19085
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/11/2022
         Last 4 digits of account number 6300                      Is the claim subject to offset?     No       Yes


3.824    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Rusty Tractor Vineyards                                      Contingent
         DOUG MEYER                                                   Unliquidated
         10 Rusty Tractor Lane                                        Disputed
         LITTLE ROCK, AR 72210
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/30/2020
         Last 4 digits of account number 0001                      Is the claim subject to offset?     No       Yes




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3.825    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,200.00
         Ruth Burton                                                  Contingent
         3359 17 Mile Drive                                           Unliquidated
         PEBBLE BEACH, CA 93953                                       Disputed
         Date(s) debt was incurred 2/4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9200
                                                                   Is the claim subject to offset?     No       Yes

3.826    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,192.79
         Ryan Adler                                                   Contingent
         8314 Oak St.                                                 Unliquidated
         New Orleans, LA 70118                                        Disputed
         Date(s) debt was incurred 6/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8400
                                                                   Is the claim subject to offset?     No       Yes

3.827    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,192.79
         Ryan Adler                                                   Contingent
         8314 Oak St.                                                 Unliquidated
         New Orleans, LA 70118                                        Disputed
         Date(s) debt was incurred 6/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8400
                                                                   Is the claim subject to offset?     No       Yes

3.828    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,552.67
         Ryan Bouchard                                                Contingent
         1Davis Rd                                                    Unliquidated
         Bedford, MA 01730                                            Disputed
         Date(s) debt was incurred  5/24/2022                      Basis for the claim:
         Last 4 digits of account number 1540
                                                                   Is the claim subject to offset?     No       Yes

3.829    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Ryan Busha                                                   Contingent
         12621 W 145th St                                             Unliquidated
         OLATHE, KS 66062                                             Disputed
         Date(s) debt was incurred  10/28/2021                     Basis for the claim:
         Last 4 digits of account number 3300
                                                                   Is the claim subject to offset?     No       Yes

3.830    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,444.74
         Ryan Esteves                                                 Contingent
         2904 West Bay Villa Ave                                      Unliquidated
         Tampa, FL 33611                                              Disputed
         Date(s) debt was incurred 4/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9001
                                                                   Is the claim subject to offset?     No       Yes

3.831    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $337.40
         Ryan Fuller                                                  Contingent
         2012 Indian Road W                                           Unliquidated
         Hopkins, MN 55305                                            Disputed
         Date(s) debt was incurred  5/14/2022                      Basis for the claim:
         Last 4 digits of account number 3800
                                                                   Is the claim subject to offset?     No       Yes




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3.832    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,286.93
         Ryan Hatch                                                   Contingent
         1231 Weil St.                                                Unliquidated
         Billings, MT 59101                                           Disputed
         Date(s) debt was incurred  6/6/2022                       Basis for the claim:
         Last 4 digits of account number 0000
                                                                   Is the claim subject to offset?     No       Yes

3.833    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Ryan Lay                                                     Contingent
         6300 Cunningham Lake Road                                    Unliquidated
         BRGHTON, MI 48116                                            Disputed
         Date(s) debt was incurred 3/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6702
                                                                   Is the claim subject to offset?     No       Yes

3.834    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,574.98
         Ryan Lay                                                     Contingent
         6300 Cunningham Lake Road                                    Unliquidated
         BRGHTON, MI 48116                                            Disputed
         Date(s) debt was incurred 4/28/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6704
                                                                   Is the claim subject to offset?     No       Yes

3.835    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,523.63
         Saheb Singh                                                  Contingent
         22426 Annepe Way                                             Unliquidated
         CHATSWORTH, CA 91311                                         Disputed
         Date(s) debt was incurred 5/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7400
                                                                   Is the claim subject to offset?     No       Yes

3.836    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Salvatore Taddeo                                             Contingent
         1905 woodside lane                                           Unliquidated
         VIRGINIA BEACH, VA 23454                                     Disputed
         Date(s) debt was incurred 10/15/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 1500
                                                                   Is the claim subject to offset?     No       Yes

3.837    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Sam Chiarappa                                                Contingent
         1340 East Archwood                                           Unliquidated
         Akron, OH 44306                                              Disputed
         Date(s) debt was incurred  7/13/2017                      Basis for the claim:
         Last 4 digits of account number 0600
                                                                   Is the claim subject to offset?     No       Yes

3.838    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Sam Evans                                                    Contingent
         1180 E. Opus Street                                          Unliquidated
         BOISE, ID 83716                                              Disputed
         Date(s) debt was incurred  3/17/2022                      Basis for the claim:
         Last 4 digits of account number 4202
                                                                   Is the claim subject to offset?     No       Yes




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3.839    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,730.28
         Sam Evans                                                    Contingent
         1180 E. Opus Street                                          Unliquidated
         BOISE, ID 83716                                              Disputed
         Date(s) debt was incurred  10/29/2021                     Basis for the claim:
         Last 4 digits of account number 4200
                                                                   Is the claim subject to offset?     No       Yes

3.840    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Sam Huttenbauer                                              Contingent
         3523 Paxton Rd                                               Unliquidated
         CINCINNATI, OH 45208                                         Disputed
         Date(s) debt was incurred 6/11/2018
                                                                   Basis for the claim:
         Last 4 digits of account number 9200
                                                                   Is the claim subject to offset?     No       Yes

3.841    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,732.90
         Sam Swannie Mechanical                                       Contingent
         4540 Buford Highway Suite 100                                Unliquidated
         Northcross, GA 30071                                         Disputed
         Date(s) debt was incurred 6/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 0700
                                                                   Is the claim subject to offset?     No       Yes

3.842    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,913.78
         Samuel Rosenberg                                             Contingent
         2318 Moretown Common Road                                    Unliquidated
         MORETOWN, VT 05660                                           Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5000
                                                                   Is the claim subject to offset?     No       Yes

3.843    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $83.98
         Sandra Landers                                               Contingent
         1034 Portway Dr                                              Unliquidated
         UNINCORPORATED, OH 45255                                     Disputed
         Date(s) debt was incurred 6/12/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2700
                                                                   Is the claim subject to offset?     No       Yes

3.844    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $147.25
         Sarah Harty                                                  Contingent
         240 Old Cart Way                                             Unliquidated
         N ANDOVER, MA 01845                                          Disputed
         Date(s) debt was incurred 12/11/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 3600
                                                                   Is the claim subject to offset?     No       Yes

3.845    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $340.20
         Sarah Shepherd                                               Contingent
         Heights House Hotel                                          Unliquidated
         308 s boylan Ave.                                            Disputed
         RALEIGH, NC 27603
                                                                   Basis for the claim:
         Date(s) debt was incurred   5/10/2022
         Last 4 digits of account number  3600                     Is the claim subject to offset?     No       Yes




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3.846    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Saratoga Construction                                        Contingent
         Todd Norris                                                  Unliquidated
         515 Seneca Green Way                                         Disputed
         GREAT FALLS, VA 22066
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/18/2020
         Last 4 digits of account number 8101                      Is the claim subject to offset?     No       Yes


3.847    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,276.49
         Sawyer's Specialties                                         Contingent
         Alexi van Heerden                                            Unliquidated
         353 Main St.                                                 Disputed
         SOUTHWEST HARBOR, ME 04679
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/4/2022
         Last 4 digits of account number 1900                      Is the claim subject to offset?     No       Yes


3.848    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         SCOTT A STEWART                                              Contingent
         2914 Attleboro Road                                          Unliquidated
         SHAKER HEIGHTS, OH 44120                                     Disputed
         Date(s) debt was incurred 7/9/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 5620
                                                                   Is the claim subject to offset?     No       Yes

3.849    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Scott Colby                                                  Contingent
         Bespoke Homes, LLC                                           Unliquidated
         555 Northland Dr NE                                          Disputed
         Rockford, MI 49341
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/26/2022
         Last 4 digits of account number 1310                      Is the claim subject to offset?     No       Yes


3.850    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,750.00
         Scott Gazelle                                                Contingent
         36 Amsbury St.                                               Unliquidated
         ROCKPORT, ME 04856                                           Disputed
         Date(s) debt was incurred 4/28/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4500
                                                                   Is the claim subject to offset?     No       Yes

3.851    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,750.00
         Scott Gazelle                                                Contingent
         36 Amsbury St.                                               Unliquidated
         Rockport, ME 04856                                           Disputed
         Date(s) debt was incurred  4/28/2022                      Basis for the claim:
         Last 4 digits of account number 4580
                                                                   Is the claim subject to offset?     No       Yes

3.852    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Scott Haulsee                                                Contingent
         Homewritht Const. LLC                                        Unliquidated
         285 West Pensalvania Ave                                     Disputed
         SOUTHERN PINES, NC 28387
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/22/2021
         Last 4 digits of account number 0700                      Is the claim subject to offset?     No       Yes




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3.853    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $380.00
         Scott Holt                                                   Contingent
         2222 W. 17th St                                              Unliquidated
         WILMINGTON, DE 19806                                         Disputed
         Date(s) debt was incurred 3/10/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1201
                                                                   Is the claim subject to offset?     No       Yes

3.854    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,478.70
         Scott Hudson                                                 Contingent
         2239 FM 3432                                                 Unliquidated
         ADKINS, TX 78101                                             Disputed
         Date(s) debt was incurred  6/9/2022                       Basis for the claim:
         Last 4 digits of account number 7700
                                                                   Is the claim subject to offset?     No       Yes

3.855    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,355.51
         Scott Kettlewell                                             Contingent
         1699 Saint Jude Ct.                                          Unliquidated
         GENEVA, IL 60134                                             Disputed
         Date(s) debt was incurred  6/3/2022                       Basis for the claim:
         Last 4 digits of account number 6300
                                                                   Is the claim subject to offset?     No       Yes

3.856    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,115.00
         Scott May                                                    Contingent
         6115 Robbs Drive                                             Unliquidated
         CUMMING, GA 30041                                            Disputed
         Date(s) debt was incurred  5/16/2022                      Basis for the claim:
         Last 4 digits of account number 7701
                                                                   Is the claim subject to offset?     No       Yes

3.857    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Scott Norman                                                 Contingent
         6916 Poulsen Lane                                            Unliquidated
         FAIR HOPE, AL 36532                                          Disputed
         Date(s) debt was incurred 2/15/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9200
                                                                   Is the claim subject to offset?     No       Yes

3.858    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $114.88
         Sean Barlow                                                  Contingent
         260 East Desert Rose Drive                                   Unliquidated
         HENDERSON, NV 89015                                          Disputed
         Date(s) debt was incurred 6/6/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1500
                                                                   Is the claim subject to offset?     No       Yes

3.859    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $88.39
         Sean Luong                                                   Contingent
         8904 Isabella Circle                                         Unliquidated
         Parrish, FL 34219                                            Disputed
         Date(s) debt was incurred  5/22/2022                      Basis for the claim:
         Last 4 digits of account number 4600
                                                                   Is the claim subject to offset?     No       Yes




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3.860    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,801.15
         Sean Razee                                                   Contingent
         40 W Rawhide Rd.                                             Unliquidated
         EDWARDS, CO 81632                                            Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5203
                                                                   Is the claim subject to offset?     No       Yes

3.861    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $325.61
         SEKO WorldWide LLC                                           Contingent
         PO Box 71141                                                 Unliquidated
         Chicago, IL 60694-1141                                       Disputed
         Date(s) debt was incurred 6/4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.862    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,244.13
         Serena Schewalle-Belle Poinit                                Contingent
         1863 W Main St.                                              Unliquidated
         W Jefferson, OH 43162                                        Disputed
         Date(s) debt was incurred 5/16/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9112,3
                                                                   Is the claim subject to offset?     No       Yes

3.863    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Service Star Cooling CORP                                    Contingent
         Angelo Digorio                                               Unliquidated
         1275 Bloomfield Ave. Buiding                                 Disputed
         FAIRFIELD, NJ 07004
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/3/2021
         Last 4 digits of account number 9000                      Is the claim subject to offset?     No       Yes


3.864    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Servicemark                                                  Contingent
         John Romano                                                  Unliquidated
         489 Shoemaker Rd STE#10                                      Disputed
         KING OF PRUSSIA, PA 19406
                                                                   Basis for the claim:
         Date(s) debt was incurred 11/2/2017
         Last 4 digits of account number 9600                      Is the claim subject to offset?     No       Yes


3.865    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         SG Heating and Air Conditioning LLC                          Contingent
         Scott Greiff                                                 Unliquidated
         50 Cunningham Ave.                                           Disputed
         HAMILTON, NJ 08610
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/24/2021
         Last 4 digits of account number 0300                      Is the claim subject to offset?     No       Yes


3.866    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Sharon Reinecke                                              Contingent
         8612 Blue Ash Road                                           Unliquidated
         Cincinnati, OH 45242
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.867    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,000.00
         Sharon Ridley                                                Contingent
         2914 W Brook Lane                                            Unliquidated
         BOWIE, MD 20720                                              Disputed
         Date(s) debt was incurred  3/23/2022                      Basis for the claim:
         Last 4 digits of account number 2400
                                                                   Is the claim subject to offset?     No       Yes

3.868    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Sharon Ritchey                                               Contingent
         1010 Mill Ridge                                              Unliquidated
         GREENSBORO, GA 30642                                         Disputed
         Date(s) debt was incurred 9/30/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 9901
                                                                   Is the claim subject to offset?     No       Yes

3.869    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $368.71
         Shashank Shastry                                             Contingent
         19734 Edina Lane                                             Unliquidated
         SARATOGA, CA 95070                                           Disputed
         Date(s) debt was incurred 6/9/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6700
                                                                   Is the claim subject to offset?     No       Yes

3.870    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,296.27
         Shelie Johnson                                               Contingent
         408 Bent Creek Cove                                          Unliquidated
         ARGYLE, TX 76226                                             Disputed
         Date(s) debt was incurred  4/25/2022                      Basis for the claim:
         Last 4 digits of account number 2300
                                                                   Is the claim subject to offset?     No       Yes

3.871    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,125.74
         Sherri                                                       Contingent
         107 North Eagle                                              Unliquidated
         Naperville, IL 60540                                         Disputed
         Date(s) debt was incurred  3/10/2022                      Basis for the claim:
         Last 4 digits of account number 6250
                                                                   Is the claim subject to offset?     No       Yes

3.872    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $52,689.44
         Sherwin Williams Co.- CST Collections                        Contingent
         PO Box 33127                                                 Unliquidated
         Louoisville, KY 40232-3127                                   Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.873    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Shields Fine Wine                                            Contingent
         Josh Shields                                                 Unliquidated
         100 A Washington St.                                         Disputed
         CANTON, MA 02021
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/28/2020
         Last 4 digits of account number 4602                      Is the claim subject to offset?     No       Yes




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3.874    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,206.01
         Silco                                                        Contingent
         10765 Medallion Dr.                                          Unliquidated
         Cincinnati, OH 45241                                         Disputed
         Date(s) debt was incurred   4/22/2022                     Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.875    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Simon Wignall                                                Contingent
         279 Foreside Rd.                                             Unliquidated
         FALMOUTH, ME 04105                                           Disputed
         Date(s) debt was incurred 8/12/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 3900
                                                                   Is the claim subject to offset?     No       Yes

3.876    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Siobhan Miller                                               Contingent
         1905 Channel Points Lane                                     Unliquidated
         VIRGINIA BEACH, VA 23454                                     Disputed
         Date(s) debt was incurred 9/23/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 7800
                                                                   Is the claim subject to offset?     No       Yes

3.877    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,667.22
         Sloan Lehman                                                 Contingent
         135 W Colorado Ave                                           Unliquidated
         Teeluride, CO 81435                                          Disputed
         Date(s) debt was incurred  3/25/2022                      Basis for the claim:
         Last 4 digits of account number 3501
                                                                   Is the claim subject to offset?     No       Yes

3.878    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $373.87
         Slowomior Nurzynski                                          Contingent
         Sennebec Lake Camp                                           Unliquidated
         100 Lodge Lane                                               Disputed
         Appleton, ME 04862
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/17/2022
         Last 4 digits of account number 9400                      Is the claim subject to offset?     No       Yes


3.879    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $35.88
         Small's Hardware                                             Contingent
         3535 Harrison                                                Unliquidated
         Cincinnati, OH 45211                                         Disputed
         Date(s) debt was incurred   5/12/2022                     Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.880    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Smith Mechanical                                             Contingent
         Anita Smith                                                  Unliquidated
         5223 Grovemont Dr.                                           Disputed
         ELKRIDGE, MD 21075
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/2/2021
         Last 4 digits of account number 0900                      Is the claim subject to offset?     No       Yes




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3.881    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $462.05
         Snkanth Keesara                                              Contingent
         50 Sawyers Lane                                              Unliquidated
         Tewksbury, MA 01876                                          Disputed
         Date(s) debt was incurred 5/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2600
                                                                   Is the claim subject to offset?     No       Yes

3.882    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Sobieski Mechancal                                           Contingent
         Matt Salmon                                                  Unliquidated
         Old Arch Rd.                                                 Disputed
         Norristown, PA 19401
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/4/2021
         Last 4 digits of account number 9501                      Is the claim subject to offset?     No       Yes


3.883    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Sobieski Mechanical                                          Contingent
         George Bowersox                                              Unliquidated
         1325 Old Cooch's Bridge Rd.                                  Disputed
         NEWARK, DE 19713
                                                                   Basis for the claim:
         Date(s) debt was incurred 8/12/2021
         Last 4 digits of account number 6500                      Is the claim subject to offset?     No       Yes


3.884    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Socal homes builders Inc.
         Sharon Gabay                                                 Contingent
         7618 Woodman Ave.                                            Unliquidated
         Unit 21                                                      Disputed
         Panorama City, CA 91402
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/28/2022
         Last 4 digits of account number 5400                      Is the claim subject to offset?     No       Yes


3.885    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $644.06
         Soni Singh                                                   Contingent
         100 S Conrie Ave                                             Unliquidated
         Johnstone, NY 12095                                          Disputed
         Date(s) debt was incurred 6/12/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2600
                                                                   Is the claim subject to offset?     No       Yes

3.886    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Sonoma Wine Rooms                                            Contingent
         Paul and Shellie Mallory                                     Unliquidated
         282 Lakeview Rd.                                             Disputed
         MOCKSVILLE, NC 27028
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/21/2020
         Last 4 digits of account number 8000                      Is the claim subject to offset?     No       Yes


3.887    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Sonu Kalra                                                   Contingent
         4 Flethcer Steele Way                                        Unliquidated
         Milton, MA 02186                                             Disputed
         Date(s) debt was incurred 6/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1310
                                                                   Is the claim subject to offset?     No       Yes




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3.888    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Springer Brothers HVAC                                       Contingent
         Harry Esguerra                                               Unliquidated
         412 Dixie Hwy                                                Disputed
         AUBURNDALE, FL 33823
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/22/2020
         Last 4 digits of account number 7200                      Is the claim subject to offset?     No       Yes


3.889    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $561.82
         Stacey Bruckler                                              Contingent
         3040 Cr Re. 202                                              Unliquidated
         Burnet, TX 78611                                             Disputed
         Date(s) debt was incurred  5/16/2022                      Basis for the claim:
         Last 4 digits of account number 6800
                                                                   Is the claim subject to offset?     No       Yes

3.890    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Stack Heating                                                Contingent
         Bryan Stack                                                  Unliquidated
         37520 Colorado Ave.                                          Disputed
         AVON, OH 44011
                                                                   Basis for the claim:
         Date(s) debt was incurred  2/10/2022
         Last 4 digits of account number 7100                      Is the claim subject to offset?     No       Yes


3.891    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Stacy Heating and Air Solutions                              Contingent
         Kayla                                                        Unliquidated
         433 Lyness Ave.                                              Disputed
         HARRISON, OH 45030
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/30/2020
         Last 4 digits of account number 7400                      Is the claim subject to offset?     No       Yes


3.892    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $525.49
         Stan Fain                                                    Contingent
         160 Stones Edge Drive                                        Unliquidated
         MONTGOMERY, TX 77356                                         Disputed
         Date(s) debt was incurred 5/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1500
                                                                   Is the claim subject to offset?     No       Yes

3.893    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,000.00
         Stan Lo                                                      Contingent
         70 Eagle Chase                                               Unliquidated
         WOODBURY, NY 11797                                           Disputed
         Date(s) debt was incurred 5/17/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1501
                                                                   Is the claim subject to offset?     No       Yes

3.894    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Stanley Best Heating and Air                                 Contingent
         Tim                                                          Unliquidated
         603 Calderwood HWY                                           Disputed
         MARYVILLE, TN 37801
                                                                   Basis for the claim:
         Date(s) debt was incurred 8/13/2020
         Last 4 digits of account number 4800                      Is the claim subject to offset?     No       Yes




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3.895    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,010.00
         Star Packaging & Distribution, LLC                           Contingent
         6711 Fox Hunt Court                                          Unliquidated
         West Chester, OH 45069                                       Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.896    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,146.62
         Star-Bond Inc.                                               Contingent
         6711 Fox Hunt Court                                          Unliquidated
         West Chester, OH 45069                                       Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.897    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,889.62
         State Auto Insurance Companies                               Contingent
         PO Box 776721                                                Unliquidated
         Chicago, IL 60677-6721                                       Disputed
         Date(s) debt was incurred 8/12/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.898    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Stefanie Schmitter                                           Contingent
         2011 Edenderry Drive                                         Unliquidated
         COVINGTON, KY 41017                                          Disputed
         Date(s) debt was incurred 10/25/2018
                                                                   Basis for the claim:
         Last 4 digits of account number 8700
                                                                   Is the claim subject to offset?     No       Yes

3.899    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         STEKETEE CONSTRUCTION INC                                    Contingent
         14156 Skylark Dr.                                            Unliquidated
         Apt 521                                                      Disputed
         INDIANAPOLIS, IN 46240
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/27/2017
         Last 4 digits of account number 2576                      Is the claim subject to offset?     No       Yes


3.900    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $150.40
         Stephen Roti                                                 Contingent
         374 Broome St. Apt 4N                                        Unliquidated
         New York, NY 10013                                           Disputed
         Date(s) debt was incurred 6/21/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 6600
                                                                   Is the claim subject to offset?     No       Yes

3.901    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $483.85
         Stephen Brown                                                Contingent
         53266 Hidden River Dr.                                       Unliquidated
         SOUTH LYON, MI 48178                                         Disputed
         Date(s) debt was incurred 5/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8300
                                                                   Is the claim subject to offset?     No       Yes




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3.902    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         STEPHEN DANCA                                                Contingent
         11 OLD PLANTERS RD                                           Unliquidated
         BEVERLY, MA 01915                                            Disputed
         Date(s) debt was incurred 10/21/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 2800
                                                                   Is the claim subject to offset?     No       Yes

3.903    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Stephen K Denny INC                                          Contingent
         Stevie Sanders                                               Unliquidated
         406 Commerce Way                                             Disputed
         JUPITER, FL 33458
                                                                   Basis for the claim:
         Date(s) debt was incurred 12/17/2020
         Last 4 digits of account number 6400                      Is the claim subject to offset?     No       Yes


3.904    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $940.00
         Stephen Lang                                                 Contingent
         1350 49th Ave.                                               Unliquidated
         Capitola, CA 95010                                           Disputed
         Date(s) debt was incurred  6/9/2022                       Basis for the claim:
         Last 4 digits of account number 8200
                                                                   Is the claim subject to offset?     No       Yes

3.905    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Stephen Lee                                                  Contingent
         7460 Demar Rd.                                               Unliquidated
         INDIAN HILL, OH 45243                                        Disputed
         Date(s) debt was incurred 3/6/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 1300
                                                                   Is the claim subject to offset?     No       Yes

3.906    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         STEPHEN PANNELL                                              Contingent
         1026 BRICKHOUSE FARM LANE                                    Unliquidated
         NEWTOWN SQUARE, PA 19073                                     Disputed
         Date(s) debt was incurred 9/5/2019
                                                                   Basis for the claim:
         Last 4 digits of account number 3200
                                                                   Is the claim subject to offset?     No       Yes

3.907    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Stephen Pannell                                              Contingent
         1026 Brickhouse Farm                                         Unliquidated
         Newtown Square, PA 19073                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.908    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $115.14
         STEPHEN SWEENY                                               Contingent
         1472 Willard st                                              Unliquidated
         SAN FRANCISCO, CA 94117                                      Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1600
                                                                   Is the claim subject to offset?     No       Yes




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3.909    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $716.00
         steve + filip design                                         Contingent
         Filip Malyszko                                               Unliquidated
         3827 N Hamilton Ave.                                         Disputed
         CHICAGO, IL 60612
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/27/2022
         Last 4 digits of account number 7702                      Is the claim subject to offset?     No       Yes


3.910    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Steve Hudburg                                                Contingent
         6109 Waterscape Bay                                          Unliquidated
         Edmond, OK 73013                                             Disputed
         Date(s) debt was incurred 1/7/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 0200
                                                                   Is the claim subject to offset?     No       Yes

3.911    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,500.00
         Steve Jeriorowski                                            Contingent
         Cousins Air inc                                              Unliquidated
         3300 SW 15th St.                                             Disputed
         DEERFIELD BCH, FL 33442
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/7/2022
         Last 4 digits of account number 1600                      Is the claim subject to offset?     No       Yes


3.912    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Steve McCreary                                               Contingent
         2117 Cherokee Parkway                                        Unliquidated
         Louisville, KY 40204                                         Disputed
         Date(s) debt was incurred 5/18/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 9813
                                                                   Is the claim subject to offset?     No       Yes

3.913    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,666.39
         Steve McGraw                                                 Contingent
         Biggs Construction                                           Unliquidated
         343 West Main Street                                         Disputed
         Lake Leelanau, MI 49653
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/28/2022
         Last 4 digits of account number 1900                      Is the claim subject to offset?     No       Yes


3.914    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $602.81
         Steve Phillips                                               Contingent
         3009 NW Colonial Drive                                       Unliquidated
         Bend, OR 97703                                               Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3700
                                                                   Is the claim subject to offset?     No       Yes

3.915    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Steven Brooks                                                Contingent
         13611 Belvedere Drive                                        Unliquidated
         SOMERSET, VA 22972                                           Disputed
         Date(s) debt was incurred 6/27/2019
                                                                   Basis for the claim:
         Last 4 digits of account number 7400
                                                                   Is the claim subject to offset?     No       Yes




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3.916    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Steven Katz                                                  Contingent
         2625 S Brentwood Rlvd                                        Unliquidated
         SAINT LOUIS, MO 63112                                        Disputed
         Date(s) debt was incurred 1/4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1200
                                                                   Is the claim subject to offset?     No       Yes

3.917    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,000.00
         STEVEN PRICE                                                 Contingent
         14992 Quince Court                                           Unliquidated
         THORNTON, CO 80602                                           Disputed
         Date(s) debt was incurred 6/8/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2700
                                                                   Is the claim subject to offset?     No       Yes

3.918    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Stewart Lavelle                                              Contingent
         723 Mangrove Point Rd.                                       Unliquidated
         SARASOTA, FL 34242                                           Disputed
         Date(s) debt was incurred 9/29/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 2602
                                                                   Is the claim subject to offset?     No       Yes

3.919    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,990.06
         Stokkers and Company                                         Contingent
         Gina Egidio                                                  Unliquidated
         26 Van Wyck Lane                                             Disputed
         HUNTINGTON, NY 11743
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/9/2022
         Last 4 digits of account number 0200                      Is the claim subject to offset?     No       Yes


3.920    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Strada Services                                              Contingent
         Joe Strada                                                   Unliquidated
         3400 St. Johns Parkway                                       Disputed
         Sanford, FL 32771
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/31/2022
         Last 4 digits of account number 7000                      Is the claim subject to offset?     No       Yes


3.921    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,069.28
         Sugar Beet Food Coop General Manage                          Contingent
         812 W madson ST.                                             Unliquidated
         Oak Park, IL 60302                                           Disputed
         Date(s) debt was incurred 5/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3200
                                                                   Is the claim subject to offset?     No       Yes

3.922    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Summit Airworks                                              Contingent
         Chris Fuselier                                               Unliquidated
         4223 Duluth Ave.                                             Disputed
         Rocklin, CA 95765
                                                                   Basis for the claim:
         Date(s) debt was incurred  10/7/2020
         Last 4 digits of account number 0900                      Is the claim subject to offset?     No       Yes




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3.923    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Summit Services                                              Contingent
         Trey Layman                                                  Unliquidated
         4454 Blufton Park Cresent                                    Disputed
         Bluffton, SC 29910
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/7/2021
         Last 4 digits of account number 6600                      Is the claim subject to offset?     No       Yes


3.924    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Sunrise Liquor                                               Contingent
         Urvish Patel                                                 Unliquidated
         10057 B Sunset Strip                                         Disputed
         SUNRISE, FL 33322
                                                                   Basis for the claim:
         Date(s) debt was incurred   10/22/2020
         Last 4 digits of account number  7801                     Is the claim subject to offset?     No       Yes


3.925    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Superior Remodeling                                          Contingent
         Yakov Valk                                                   Unliquidated
         25766 Skye Ct.                                               Disputed
         FARMINGTON, MI 48336
                                                                   Basis for the claim:
         Date(s) debt was incurred 2/3/2021
         Last 4 digits of account number 6600                      Is the claim subject to offset?     No       Yes


3.926    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,012.24
         Supply Post Business Products                                Contingent
         11365 Deerfield Rd.                                          Unliquidated
         Blue Ash, OH 45242                                           Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.927    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $779.84
         SUSAN SANTIAGO                                               Contingent
         429 W Ohio St.                                               Unliquidated
         Storage Unit Owner                                           Disputed
         Chicago, IL 60654
                                                                   Basis for the claim:
         Date(s) debt was incurred  5/15/2022
         Last 4 digits of account number 2800                      Is the claim subject to offset?     No       Yes


3.928    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Swann Mechanical Services LLC                                Contingent
         Tyson Swann                                                  Unliquidated
         3109 Carter Circle Suite B                                   Disputed
         KENNESAW, GA 30144
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/17/2020
         Last 4 digits of account number 5800                      Is the claim subject to offset?     No       Yes


3.929    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,000.00
         Symmetry Construction                                        Contingent
         Sean Wayda                                                   Unliquidated
         118 W Hatcher Rd.                                            Disputed
         PHOENIX, AZ 85021
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/26/2022
         Last 4 digits of account number 7601                      Is the claim subject to offset?     No       Yes




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3.930    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,725.58
         Tai Tu                                                       Contingent
         13431 Campus Dr.                                             Unliquidated
         Oakland, CA 94619                                            Disputed
         Date(s) debt was incurred  4/12/2022                      Basis for the claim:
         Last 4 digits of account number 6531
                                                                   Is the claim subject to offset?     No       Yes

3.931    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $23,927.75
         Team Air Express, Inc                                        Contingent
         PO Box 733886                                                Unliquidated
         Dallas, TX 75373-3886                                        Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.932    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Team Bobs                                                    Contingent
         Pat Harrison                                                 Unliquidated
         1797 Park Dr.                                                Disputed
         TRAVERSE CITY, MI 49686
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/1/2021
         Last 4 digits of account number 9000                      Is the claim subject to offset?     No       Yes


3.933    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,349.13
         Team Ocean Services, Inc.                                    Contingent
         PO Box 733886                                                Unliquidated
         Dallas, TX 75373-3886                                        Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.934    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         temperature Control                                          Contingent
         Frank Demary                                                 Unliquidated
         11197 Leadbetter Rd.                                         Disputed
         Ashland, VA 23005
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/23/2020
         Last 4 digits of account number 3801                      Is the claim subject to offset?     No       Yes


3.935    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Temperature Control Service                                  Contingent
         Frank Demary                                                 Unliquidated
         11197 Leadbetter Rd.                                         Disputed
         Ashland, VA 23005
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/28/2021
         Last 4 digits of account number 3822                      Is the claim subject to offset?     No       Yes


3.936    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Teresa Clark                                                 Contingent
         The Clark Inn                                                Unliquidated
         11834 Colerain                                               Disputed
         Cincinnati, OH 45252
                                                                   Basis for the claim:
         Date(s) debt was incurred  5/31/2022
         Last 4 digits of account number 9100                      Is the claim subject to offset?     No       Yes




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3.937    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $237.49
         Terroir - A Place for Wine                                   Contingent
         Andrew Wilt                                                  Unliquidated
         9225 Garland Rd. Suite 2120                                  Disputed
         Dallas, TX 75218
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/13/2022
         Last 4 digits of account number 3300                      Is the claim subject to offset?     No       Yes


3.938    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         THE AC GUYS INC                                              Contingent
         Johnny Wynn                                                  Unliquidated
         100 Peachtree St                                             Disputed
         ST. SIMONS ISLAND, GA 31522
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/25/2020
         Last 4 digits of account number 6800                      Is the claim subject to offset?     No       Yes


3.939    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         THE AC GUYS INC                                              Contingent
         Johnny Wynn                                                  Unliquidated
         100 Peechtree St.                                            Disputed
         ST. SIMONS ISLAND, GA 31522
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/1/2021
         Last 4 digits of account number 1900                      Is the claim subject to offset?     No       Yes


3.940    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,244.13
         The Belle Point Company                                      Contingent
         Serena Schwallie                                             Unliquidated
         720 A Lakeview Plaza Blvd                                    Disputed
         WORTHINGTON, OH 43085
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/16/2022
         Last 4 digits of account number 8902,3                    Is the claim subject to offset?     No       Yes


3.941    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $23,927.39
         The Rouge                                                    Contingent
         Robert Koontz                                                Unliquidated
         7939 Arapahoe Rd. STE190                                     Disputed
         GREENWOOD VILLAGE, CO 80112
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/7/2022
         Last 4 digits of account number 0700                      Is the claim subject to offset?     No       Yes


3.942    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $173,506.66
         The Wine Enthusiast                                          Contingent
         Dino Sapienza                                                Unliquidated
         200 Summit Lake Dr. 4th                                      Disputed
         VALHALLA, NY 10595
                                                                   Basis for the claim:
         Date(s) debt was incurred 1/25/2022
         Last 4 digits of account number 5000                      Is the claim subject to offset?     No       Yes


3.943    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $769.22
         Thea Richardson                                              Contingent
         Davis Builders                                               Unliquidated
         2304 Potomac Drive                                           Disputed
         HOUSTON, TX 77056
                                                                   Basis for the claim:
         Date(s) debt was incurred  6/13/2022
         Last 4 digits of account number 9000                      Is the claim subject to offset?     No       Yes




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3.944    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Theresa Nelson                                               Contingent
         2890 ZIEGLE Avenue                                           Unliquidated
         HYDE PARK, OH 45208                                          Disputed
         Date(s) debt was incurred 8/22/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 0600
                                                                   Is the claim subject to offset?     No       Yes

3.945    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $802.85
         Thomas Betty                                                 Contingent
         22680 Douglas Rd.                                            Unliquidated
         Shaker Heights, CA 44122                                     Disputed
         Date(s) debt was incurred 5/6/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 3000
                                                                   Is the claim subject to offset?     No       Yes

3.946    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Thomas Foreman                                               Contingent
         Solum Const.                                                 Unliquidated
         9429 Double Diamond park                                     Disputed
         RENO, NV 89521
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/15/2021
         Last 4 digits of account number 8300                      Is the claim subject to offset?     No       Yes


3.947    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $799.22
         Thomas Manufacturing                                         Contingent
         414 South Cherokee Street                                    Unliquidated
         PO Box 39                                                    Disputed
         Girard, KS 66743
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/17/2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.948    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $11.56
         Thomas Roy                                                   Contingent
         16811 Gypsy Red Dr                                           Unliquidated
         CYPRESS, TX 77433                                            Disputed
         Date(s) debt was incurred  6/13/2022                      Basis for the claim:
         Last 4 digits of account number 5200
                                                                   Is the claim subject to offset?     No       Yes

3.949    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Tim Couch                                                    Contingent
         3041 Brookmonte Lane                                         Unliquidated
         LEXINGTON, KY 40515                                          Disputed
         Date(s) debt was incurred 9/15/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 5600
                                                                   Is the claim subject to offset?     No       Yes

3.950    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Tim Hawk                                                     Contingent
         20 Walnut Lane                                               Unliquidated
         DAYTON, OH 45419                                             Disputed
         Date(s) debt was incurred  6/21/2018                      Basis for the claim:
         Last 4 digits of account number 5671
                                                                   Is the claim subject to offset?     No       Yes




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3.951    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,923.71
         Tim Matthews                                                 Contingent
         930 Osprey Point Lane                                        Unliquidated
         KNOXVILLE, TN 37922                                          Disputed
         Date(s) debt was incurred 4/27/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6501
                                                                   Is the claim subject to offset?     No       Yes

3.952    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $499.61
         Timothy Patton SR                                            Contingent
         8910 Maplebrook Road                                         Unliquidated
         RANDALLSTOWN, MD 21133                                       Disputed
         Date(s) debt was incurred 4/29/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6500
                                                                   Is the claim subject to offset?     No       Yes

3.953    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,796.10
         Timothy Wagner                                               Contingent
         4013 Tuelumne                                                Unliquidated
         Santa Rosa, CA 95405                                         Disputed
         Date(s) debt was incurred 4/25/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4700
                                                                   Is the claim subject to offset?     No       Yes

3.954    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Tire Station Inc.                                            Contingent
         Tyler Sugihara                                               Unliquidated
         13025 Cerise Ave.                                            Disputed
         Hawthorne, CA 90250
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/10/2022
         Last 4 digits of account number 5100                      Is the claim subject to offset?     No       Yes


3.955    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,529.94
         Tish Szurek                                                  Contingent
         4 Fen Way                                                    Unliquidated
         ASHEVILLE, NC 28803                                          Disputed
         Date(s) debt was incurred 6/8/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5503
                                                                   Is the claim subject to offset?     No       Yes

3.956    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,022.54
         Todd Lemons                                                  Contingent
         2275 Michael Faraday Dr. Suite 6                             Unliquidated
         SAN DIEGO, CA 92154                                          Disputed
         Date(s) debt was incurred 3/8/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4500
                                                                   Is the claim subject to offset?     No       Yes

3.957    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $355.84
         Todd Ogden                                                   Contingent
         16611 Chagrin Blvd                                           Unliquidated
         Dept #2041388 50-1                                           Disputed
         Cleveland, OH 44120
                                                                   Basis for the claim:
         Date(s) debt was incurred  5/12/2022
         Last 4 digits of account number 9000                      Is the claim subject to offset?     No       Yes




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3.958    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         TOM HUTCHINSON                                               Contingent
         4201 CENTRAL AVENUE                                          Unliquidated
         SEA ISLE CITY, NJ 08243                                      Disputed
         Date(s) debt was incurred 7/10/2018
                                                                   Basis for the claim:
         Last 4 digits of account number 0011
                                                                   Is the claim subject to offset?     No       Yes

3.959    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,454.00
         Tom John                                                     Contingent
         Dykes Foodservice Solutions, Inc.                            Unliquidated
         9917 Charles Park Dr.                                        Disputed
         Westchester, OH 45069
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/26/2022
         Last 4 digits of account number 9200                      Is the claim subject to offset?     No       Yes


3.960    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $472.87
         Tomi Cellars                                                 Contingent
         Boyd Shermis                                                 Unliquidated
         140 Industrial Way Suite #D2                                 Disputed
         Calabasas, CA 91302
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/23/2022
         Last 4 digits of account number 7300                      Is the claim subject to offset?     No       Yes


3.961    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $838.25
         Tomislav Rovis                                               Contingent
         238 W                                                        Unliquidated
         108th St. #3                                                 Disputed
         Scarsdale, NY 10025
                                                                   Basis for the claim:
         Date(s) debt was incurred   6/7/2022
         Last 4 digits of account number  4000                     Is the claim subject to offset?     No       Yes


3.962    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,000.00
         Tony Clayton                                                 Contingent
         3741 La Highway 1 S                                          Unliquidated
         PORT ALLEN, LA 70767                                         Disputed
         Date(s) debt was incurred 6/3/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 1400
                                                                   Is the claim subject to offset?     No       Yes

3.963    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Tony Lafrenier                                               Contingent
         6116 New Nashville Hwy                                       Unliquidated
         MURFREESBORO, TN 37129                                       Disputed
         Date(s) debt was incurred 7/2/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 0501
                                                                   Is the claim subject to offset?     No       Yes

3.964    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $165.60
         Tony Re                                                      Contingent
         27015 trinity woods                                          Unliquidated
         SAN ANTONIO, TX 78261                                        Disputed
         Date(s) debt was incurred 4/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 8200
                                                                   Is the claim subject to offset?     No       Yes




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3.965    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $54,063.52
         Tony Reaves                                                  Contingent
         3150 Habersham Rd                                            Unliquidated
         Atlanta, Ga 30305                                            Disputed
         Date(s) debt was incurred  2/17/2022                      Basis for the claim:
         Last 4 digits of account number 8693
                                                                   Is the claim subject to offset?     No       Yes

3.966    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $577.76
         Total Office Source                                          Contingent
         4766 4766 Dues Drive #8                                      Unliquidated
         Cincinnati, OH 45246                                         Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.967    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Towne Mechanical Contractors                                 Contingent
         Mike Warner                                                  Unliquidated
         1270 McCook Ave.                                             Disputed
         Dayton, OH 45404
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/5/2021
         Last 4 digits of account number 3000                      Is the claim subject to offset?     No       Yes


3.968    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         tpq foods                                                    Contingent
         Omar Alvarerz                                                Unliquidated
         2101 N 24th St.                                              Disputed
         PHOENIX, AZ 85008
                                                                   Basis for the claim:
         Date(s) debt was incurred  12/17/2020
         Last 4 digits of account number 3302                      Is the claim subject to offset?     No       Yes


3.969    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,100.00
         Tracey Millham                                               Contingent
         750 W Broadway                                               Unliquidated
         JACKSON, WY 83001                                            Disputed
         Date(s) debt was incurred 4/25/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7400
                                                                   Is the claim subject to offset?     No       Yes

3.970    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $27,737.46
         Traci Matinex                                                Contingent
         250 West Spring St. Unit 523                                 Unliquidated
         Columbus, OH 43215                                           Disputed
         Date(s) debt was incurred 4/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5131,32
                                                                   Is the claim subject to offset?     No       Yes

3.971    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,006.90
         Tragil Wade                                                  Contingent
         3902 Pinesbury Dr.                                           Unliquidated
         Addicks Barker, TX 77084                                     Disputed
         Date(s) debt was incurred 5/17/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2400
                                                                   Is the claim subject to offset?     No       Yes




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3.972    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Travis Lackey                                                Contingent
         5143 Riverview Rd NW                                         Unliquidated
         SANDY SPRINGS, GA 30327                                      Disputed
         Date(s) debt was incurred 6/18/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 4704
                                                                   Is the claim subject to offset?     No       Yes

3.973    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $454.78
         Travis Weston                                                Contingent
         19509 Wheelbarrow Bend                                       Unliquidated
         LOXAHATCHEE, FL 33470                                        Disputed
         Date(s) debt was incurred 5/18/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2300
                                                                   Is the claim subject to offset?     No       Yes

3.974    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Triplett LLC                                                 Contingent
         Rod Triplett                                                 Unliquidated
         2436 Sterling Point Dr.                                      Disputed
         PORTSMOUTH, VA 23703
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/12/2022
         Last 4 digits of account number 3600                      Is the claim subject to offset?     No       Yes


3.975    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,000.00
         Tripp Pace                                                   Contingent
         Alfred Pace                                                  Unliquidated
         99 Evelyn Rd.                                                Disputed
         NEEDHAM, MA 02492
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/21/2022
         Last 4 digits of account number 5000                      Is the claim subject to offset?     No       Yes


3.976    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,672.34
         Tualatin Liquor                                              Contingent
         VANCE Burghard                                               Unliquidated
         19265 SW Martinazzi Ave.                                     Disputed
         TUALATIN, OR 97062
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/17/2022
         Last 4 digits of account number 2300                      Is the claim subject to offset?     No       Yes


3.977    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,366.33
         Tyler Vanderweele                                            Contingent
         65 Hammond St.                                               Unliquidated
         CHESTNUT HILL, MA 02467                                      Disputed
         Date(s) debt was incurred 5/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 6301
                                                                   Is the claim subject to offset?     No       Yes

3.978    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,777.27
         ULINE SHIPPING SUPPLY SPECIALIST                             Contingent
         PO Box 88741                                                 Unliquidated
         Chicago, IL 60680-1741                                       Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.979    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,940.08
         Ultimizers, Inc.                                             Contingent
         28380 S,E, Stone Rd.                                         Unliquidated
         Poring, OR 97009                                             Disputed
         Date(s) debt was incurred   Various                       Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.980    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Umana HVAC CORP.                                             Contingent
         Herber Umana                                                 Unliquidated
         54 Gateway East Dr.                                          Disputed
         RIVERHEAD, NY 11901
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/10/2021
         Last 4 digits of account number 8900                      Is the claim subject to offset?     No       Yes


3.981    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         United Refrigeration                                         Contingent
         Jim Muir                                                     Unliquidated
         581 West Town St.                                            Disputed
         COLUMBUS, OH 43215
                                                                   Basis for the claim:
         Date(s) debt was incurred 10/26/2017
         Last 4 digits of account number 9562                      Is the claim subject to offset?     No       Yes


3.982    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         United Refrigeration Service                                 Contingent
         Jim Muir                                                     Unliquidated
         2832 Fisher Rd.                                              Disputed
         COLUMBUS, OH 43204
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/3/2021
         Last 4 digits of account number 2000                      Is the claim subject to offset?     No       Yes


3.983    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,192.71
         University of Illinois                                       Contingent
         Jackie Szymoniak                                             Unliquidated
         2560 Stonecreek Blvd.                                        Disputed
         Urbana, IL 61820
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/19/2022
         Last 4 digits of account number 0801                      Is the claim subject to offset?     No       Yes


3.984    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,979.66
         Upward Projects                                              Contingent
         Aaron Kimberlin                                              Unliquidated
         3443 N Central Ave.                                          Disputed
         PHOENIX, AZ 85012
                                                                   Basis for the claim:
         Date(s) debt was incurred  4/26/2022
         Last 4 digits of account number 6700                      Is the claim subject to offset?     No       Yes


3.985    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $488.00
         Urban Green Remodeling                                       Contingent
         Rick Dir                                                     Unliquidated
         19455 SW Tualsesaum Pl.                                      Disputed
         TUALATIN, OR 97062
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/10/2022
         Last 4 digits of account number 9500                      Is the claim subject to offset?     No       Yes




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3.986    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,175.50
         valley installation                                          Contingent
         jose m garcia                                                Unliquidated
         93 S 1600 W                                                  Disputed
         PROVO, UT 84601
                                                                   Basis for the claim:
         Date(s) debt was incurred  6/3/2022
         Last 4 digits of account number 4200                      Is the claim subject to offset?     No       Yes


3.987    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Van Natta Mechanical Services                                Contingent
         Dan Noriega                                                  Unliquidated
         26 Whitney Rd.                                               Disputed
         MAHWAH, NJ 07430
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/13/2020
         Last 4 digits of account number 9700                      Is the claim subject to offset?     No       Yes


3.988    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,549.24
         Verizon                                                      Contingent
         PO Vox 468810                                                Unliquidated
         Newark, NJ 07101-6810                                        Disputed
         Date(s) debt was incurred 686262899-00001
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.989    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $607.35
         Vernon Voigt                                                 Contingent
         310 GREENLEAF AVE                                            Unliquidated
         WILMETTE, IL 60091                                           Disputed
         Date(s) debt was incurred 5/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2200
                                                                   Is the claim subject to offset?     No       Yes

3.990    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Vic McMurray                                                 Contingent
         17938 Augusta Pointe Ct.                                     Unliquidated
         Baton Rouge, LA 70810                                        Disputed
         Date(s) debt was incurred 10/8/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 0403
                                                                   Is the claim subject to offset?     No       Yes

3.991    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Vicky Murphy                                                 Contingent
         202 Foundry                                                  Unliquidated
         Daniel island, SC 29492                                      Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7043
                                                                   Is the claim subject to offset?     No       Yes

3.992    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,999.00
         Vintage Cellars                                              Contingent
         904 Rancheros Dr.                                            Unliquidated
         SAN MARCOS, CA 92069                                         Disputed
         Date(s) debt was incurred 3/21/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4720
                                                                   Is the claim subject to offset?     No       Yes




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3.993    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $142.47
         Violet Emmanuel                                              Contingent
         107 01101 Avenue ozone park queens New                       Unliquidated
         OZONE PARK, NY 11416                                         Disputed
         Date(s) debt was incurred 5/22/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 4300
                                                                   Is the claim subject to offset?     No       Yes

3.994    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Wallace Residence                                            Contingent
         Tim Zitt                                                     Unliquidated
         6230 Hawk Ridge                                              Disputed
         LOVELAND, OH 45243
                                                                   Basis for the claim:
         Date(s) debt was incurred 9/30/2020
         Last 4 digits of account number 1600                      Is the claim subject to offset?     No       Yes


3.995    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Wansley Refrigeration                                        Contingent
         Mickey Rocco                                                 Unliquidated
         4111 Guadalupe                                               Disputed
         AUSTIN, TX 78751
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/25/2020
         Last 4 digits of account number 0200                      Is the claim subject to offset?     No       Yes


3.996    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,401.86
         Ward Howes Lyden Design Group                                Contingent
         Rebecca Blouin                                               Unliquidated
         3351 S Highland Dr.                                          Disputed
         LAS VEGAS, NV 89109
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/22/2022
         Last 4 digits of account number 6302                      Is the claim subject to offset?     No       Yes


3.997    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Wards Air Conditioning                                       Contingent
         John Scott                                                   Unliquidated
         865 Creative Dr.                                             Disputed
         LAKELAND, FL 33813
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/12/2022
         Last 4 digits of account number 5400                      Is the claim subject to offset?     No       Yes


3.998    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $45.15
         WayFair
         Kayla Aldcroft                                               Contingent
         100 Huntington Avenue                                        Unliquidated
         4 Copley Place Suite 7000                                    Disputed
         BOSTON, MA 02116
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/17/2022
         Last 4 digits of account number 9500                      Is the claim subject to offset?     No       Yes


3.999    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,000.00
         Wayne Garland                                                Contingent
         3281 Ravello                                                 Unliquidated
         703 Creston Rd.                                              Disputed
         Paso Robles, CA 93446
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/20/2022
         Last 4 digits of account number 2900                      Is the claim subject to offset?     No       Yes




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3.100
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Wayne Groff                                                  Contingent
         1823 N Hamilton St.                                          Unliquidated
         RICHMOND, VA 23230                                           Disputed
         Date(s) debt was incurred 5/11/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 4400
                                                                   Is the claim subject to offset?     No       Yes

3.100
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Wayne paul Corp                                              Contingent
         wayne steck                                                  Unliquidated
         1600 Clelabs Path Ext Suite 10                               Disputed
         HAUPPAUGE, NY 11788
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/28/2021
         Last 4 digits of account number 5901                      Is the claim subject to offset?     No       Yes


3.100
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,631.62
         Wayside liquor inc                                           Contingent
         Brian Khazal                                                 Unliquidated
         703 Creston Rd.                                              Disputed
         PASO ROBLES, CA 93446
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/30/2022
         Last 4 digits of account number 3800                      Is the claim subject to offset?     No       Yes


3.100
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,857.96
         Wells Fargo Financial Leasing                                Contingent
         PO Box 77096                                                 Unliquidated
         Minneapolis, MN 55480-7796                                   Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,420.17
         West Coast Wine Cellars, Inc.                                Contingent
         Casey Enyeart                                                Unliquidated
         4931 NE 37th Ave.                                            Disputed
         PORTLAND, OR 97211
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/13/2022
         Last 4 digits of account number 8400                      Is the claim subject to offset?     No       Yes


3.100
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $93,216.66
         WhisperKOOL Corp                                             Contingent
         1738 EE. Alpine Ave.                                         Unliquidated
         Stockton, CA 95205-2505
                                                                      Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.100
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $809.06
         Wilhelmus Anemaat                                            Contingent
         1739 Lake Alvamar Drive                                      Unliquidated
         Lawrence, KS 66047                                           Disputed
         Date(s) debt was incurred 5/24/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 2001
                                                                   Is the claim subject to offset?     No       Yes


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3.100
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,023.08
         Wilkerson Preservation                                       Contingent
         1501 Monterey Blvd                                           Unliquidated
         San Francisco, CA 94127                                      Disputed
         Date(s) debt was incurred 2/2/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 5900
                                                                   Is the claim subject to offset?     No       Yes

3.100
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Will Coates                                                  Contingent
         17508 E 58th Highway                                         Unliquidated
         Raymore, MO 64083                                            Disputed
         Date(s) debt was incurred 11/5/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 7300
                                                                   Is the claim subject to offset?     No       Yes

3.100
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,327.48
         Willamette Valley Vineyards
         Virtual Folsom                                               Contingent
         Willamette Valley Vineyards                                  Unliquidated
         824 Sullter St. Suite 200                                    Disputed
         Fulsom, CA 95630
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/8/2022
         Last 4 digits of account number 4500                      Is the claim subject to offset?     No       Yes


3.101
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         William Albanese                                             Contingent
         A & A Construction Management                                Unliquidated
         500 Nassau Rd                                                Disputed
         Marco Island, FL 34145
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/1/2021
         Last 4 digits of account number 1920,42,35,36,37          Is the claim subject to offset?     No       Yes


3.101
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         William Brewster                                             Contingent
         Strategic Ventures                                           Unliquidated
         602 N Overlook Drive                                         Disputed
         Alexandria, VA 22305
                                                                   Basis for the claim:
         Date(s) debt was incurred 7/15/2020
         Last 4 digits of account number 7100                      Is the claim subject to offset?     No       Yes


3.101
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         William Shergy                                               Contingent
         1719 East Stonehurst Drive                                   Unliquidated
         Huntsville, AL 35801                                         Disputed
         Date(s) debt was incurred 12/29/2021
                                                                   Basis for the claim:
         Last 4 digits of account number 3900
                                                                   Is the claim subject to offset?     No       Yes




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3.101
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,557.61
         William Terry                                                Contingent
         Nashville Wine Storage                                       Unliquidated
         701 Cowan St.                                                Disputed
         NASHVILLE, TN 37209
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/2/2022
         Last 4 digits of account number 2900                      Is the claim subject to offset?     No       Yes


3.101
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Willis Jones                                                 Contingent
         652 Chiswell Ct                                              Unliquidated
         BRENTWOOD, TN 37027                                          Disputed
         Date(s) debt was incurred 7/27/2017
                                                                   Basis for the claim:
         Last 4 digits of account number 6700
                                                                   Is the claim subject to offset?     No       Yes

3.101
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $23,126.73
         Willits Redwood Company                                      Contingent
         222 Franklin Ave.                                            Unliquidated
         Willets, CA 95490                                            Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.101
6        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Wilson Bryant Air Conditioning                               Contingent
         Chris Wilson                                                 Unliquidated
         866 Harmony Rd.                                              Disputed
         EATONTON, GA 31024
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/1/2021
         Last 4 digits of account number 2000                      Is the claim subject to offset?     No       Yes


3.101
7        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,107.57
         WindMill Beverages                                           Contingent
         John Cutter                                                  Unliquidated
         2931 Point Malored Park Wa                                   Disputed
         Decatir, AL 35603
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/19/2022
         Last 4 digits of account number 6101                      Is the claim subject to offset?     No       Yes


3.101
8        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,237.41
         Wine Cellar Company                                          Contingent
         Lisa Weiss                                                   Unliquidated
         7126 Merrimac Dr.                                            Disputed
         MCLEAN, VA 22101
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/3/2022
         Last 4 digits of account number 2700                      Is the claim subject to offset?     No       Yes


3.101
9        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Wine Cellar Creations                                        Contingent
         Glen Pickering                                               Unliquidated
         50 Winter Ct.                                                Disputed
         Whitby, Ontario L1N8Y1
                                                                   Basis for the claim:
         Date(s) debt was incurred 3/10/2022
         Last 4 digits of account number 3400                      Is the claim subject to offset?     No       Yes


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          Case 1:22-bk-11315                   Doc 94 Filed 11/11/22 Entered 11/11/22 13:27:28                                           Desc Main
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Debtor      WINE CELLAR INNOVATIONS, LLC                                                    Case number (if known)            1:22-bk-11315
            Name


3.102
0        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $71,511.25
         Wine Master Cellars                                          Contingent
         4690 Joliet St.                                              Unliquidated
         Denver, CO 80239
                                                                      Disputed
         Date(s) debt was incurred   Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102
1        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Wine Not at the Trails                                       Contingent
         Michael Mullins                                              Unliquidated
         1867 Old Tomoka Road W                                       Disputed
         ORMOND BEACH, FL 32174
                                                                   Basis for the claim:
         Date(s) debt was incurred 6/9/2022
         Last 4 digits of account number 9100                      Is the claim subject to offset?     No       Yes


3.102
2        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Winsupply
         James White                                                  Contingent
         625 Old Norcross Rd. Suite D                                 Unliquidated
         Suite D                                                      Disputed
         Lawrenceville, GA 30045
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/6/2022
         Last 4 digits of account number 2500                      Is the claim subject to offset?     No       Yes


3.102
3        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,467.26
         Wright Brothers, Inc                                         Contingent
         19301 Losantiville Rd                                        Unliquidated
         Cincinnati, OH 45237                                         Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102
4        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Yakov Valk                                                   Contingent
         Superior Remodeling                                          Unliquidated
         25766 Skye Ct                                                Disputed
         Farmington Hills, MI 48336
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/18/2022
         Last 4 digits of account number 6611                      Is the claim subject to offset?     No       Yes


3.102
5        Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,920.06
         Yelverton Contracting                                        Contingent
         Aldon Yelverton                                              Unliquidated
         1327 Duplin Rd.                                              Disputed
         RALEIGH, NC 27607
                                                                   Basis for the claim:
         Date(s) debt was incurred 4/11/2022
         Last 4 digits of account number 9101                      Is the claim subject to offset?     No       Yes




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Debtor       WINE CELLAR INNOVATIONS, LLC                                                           Case number (if known)            1:22-bk-11315
             Name

3.102
6         Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,121.09
          Yoaz Saar                                                           Contingent
          Yore Fine Homes                                                     Unliquidated
          2384 W Lane Ave.                                                    Disputed
          COLUMBUS, OH 43221
                                                                           Basis for the claim:
          Date(s) debt was incurred 2/18/2022
          Last 4 digits of account number 1201                             Is the claim subject to offset?      No       Yes


3.102
7         Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $117.03
          Yvan Bodart                                                         Contingent
          518 Shawmut Avenue, 4                                               Unliquidated
          BOSTON, MA 02118                                                    Disputed
          Date(s) debt was incurred 5/19/2022
                                                                           Basis for the claim:
          Last 4 digits of account number 8500
                                                                           Is the claim subject to offset?      No       Yes

3.102
8         Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $173.93
          ZACHARY GIDEON                                                      Contingent
          1903 West 67th Terrace                                              Unliquidated
          MISSION HILLS, KS 66208                                             Disputed
          Date(s) debt was incurred 3/9/2022
                                                                           Basis for the claim:
          Last 4 digits of account number 9700
                                                                           Is the claim subject to offset?      No       Yes

3.102
9         Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Zed Francis                                                         Contingent
          8237 Greystone Ct.                                                  Unliquidated
          Burr Ridge, IL 60527                                                Disputed
          Date(s) debt was incurred  2/24/2022                             Basis for the claim:
          Last 4 digits of account number 5500
                                                                           Is the claim subject to offset?      No       Yes

3.103
0         Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Zeto                                                                Contingent
          Su Peterson                                                         Unliquidated
          325 Battleground Avenue                                             Disputed
          GREENSBORO, NC 27401
                                                                           Basis for the claim:
          Date(s) debt was incurred 4/28/2022
          Last 4 digits of account number 0000                             Is the claim subject to offset?      No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Alan G. Snipes
          Page Scrantom                                                                             Line     3.370
          Synovus Center, 1111 Bay Avenue, 3rd Fl
                                                                                                           Not listed. Explain
          Columbus, GA 31901

4.2       Geoffrey Fieger
          19390 West Ten Mile Road                                                                  Line     3.767
          Southfield, MI 48075
                                                                                                           Not listed. Explain


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            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.3       Janice B. Grubin
          Barclay Damon LLP                                                            Line     3.18
          1270 Avenue of the Americas, Suite 501
                                                                                              Not listed. Explain
          New York, NY 10020

4.4       Janice B. Grubin
          Barclay Damon LLP                                                            Line     3.1005
          1270 Avenue of the Americas, Suite 501
                                                                                              Not listed. Explain
          New York, NY 10020

4.5       Janice B. Grubin
          Barclay Damon LLP                                                            Line     3.1020
          1270 Avenue of the Americas, Suite 501
                                                                                              Not listed. Explain
          New York, NY 10020

4.6       Jonathan W. Jordan
          King & Spalding LLP                                                          Line     3.340
          1180 Peachtree Street NE, Suite 1600
                                                                                              Not listed. Explain
          Atlanta, GA 30309

4.7       W. Timothy Miller
          Taft, Stettinius & Hollister LLP                                             Line     3.18
          425 Walnut Street, Suite 1800
                                                                                              Not listed. Explain
          Cincinnati, OH 45202-3957

4.8       W. Timothy Miller
          Taft, Stettinius & Hollister LLP                                             Line     3.1005
          425 Walnut Street, Suite 1800
                                                                                              Not listed. Explain
          Cincinnati, OH 45202-3957

4.9       W. Timothy Miller
          Taft, Stettinius & Hollister LLP                                             Line     3.1020
          425 Walnut Street, Suite 1800
                                                                                              Not listed. Explain
          Cincinnati, OH 45202-3957


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                     41,426.32
5b. Total claims from Part 2                                                              5b.    +     $                  5,999,899.95

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                    6,041,326.27




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Fill in this information to identify the case:

Debtor name       WINE CELLAR INNOVATIONS, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF OHIO, WESTERN DIVISION

Case number (if known)     1:22-bk-11315
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      WINE CELLAR INNOVATIONS, LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF OHIO, WESTERN DIVISION

Case number (if known)   1:22-bk-11315
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    James L.                    2493 Erie Avenue                                          Heartland                          D
          Deckebach                   Cincinnati, OH 45208                                                                         E/F       3.370
                                                                                                                                   G




   2.2    James L.                    2493 Erie Avenue                                          Johnstone Supply                   D
          Deckebach                   Cincinnati, OH 45208                                                                         E/F       3.498
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         WINE CELLAR INNOVATIONS, LLC

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF OHIO, WESTERN DIVISION

Case number (if known)    1:22-bk-11315
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $7,835,653.73
      From 1/01/2022 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                           $13,959,658.26
      From 1/01/2021 to 12/31/2021
                                                                                          Other


      For year before that:                                                               Operating a business                           $12,028,687.70
      From 1/01/2020 to 12/31/2020
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       WINE CELLAR INNOVATIONS, LLC                                                   Case number (if known) 1:22-bk-11315



      Creditor's Name and Address                              Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                   Check all that apply
      3.1.
             Fed Ex                                            May 27, 2022                     $19,855.64           Secured debt
             PO Box 371461                                     ($11,746.89)                                          Unsecured loan repayments
             Pittsburgh, PA 15250-7461                         and June 10,
                                                                                                                     Suppliers or vendors
                                                               2022
                                                                                                                     Services
                                                               ($8,108.75)
                                                                                                                     Other


      3.2.
             Heartland                                         June 1, 2022                     $70,977.59           Secured debt
             One Heartland Way                                 ($30,991.82),                                         Unsecured loan repayments
             Jeffersonville, IN 47130                          June 15,
                                                                                                                     Suppliers or vendors
                                                               2022
                                                                                                                     Services
                                                               ($32,318.85),
                                                               and June 16,                                          Other
                                                               2022
                                                               ($7,667,22)
      3.3.
             Sonoma Wine Access                                June 2, 2022                     $19,323.75           Secured debt
                                                               ($8,838.75)                                           Unsecured loan repayments
                                                               and June 10,
                                                                                                                     Suppliers or vendors
                                                               2022
                                                                                                                     Services
                                                               ($10,485.00)
                                                                                                                     Other


      3.4.
             Air Innovations - Wine Guardian                   May 27, 2022                     $44,356.82           Secured debt
             7000 Performance Drive                            ($10,997.24),                                         Unsecured loan repayments
             North Syracuse, NY 13212                          June June
                                                                                                                     Suppliers or vendors
                                                               14, 2022
                                                                                                                     Services
                                                               ($15,114.00),
                                                               and June 14,                                          Other
                                                               2022
                                                               ($18,245.58)
      3.5.
             Sherwin Williams                                  June 8, 2022                     $12,921.10           Secured debt
                                                                                                                     Unsecured loan repayments
                                                                                                                     Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other


      3.6.
             Premier Global Transportation                     June 7, 2022                       $7,800.00          Secured debt
             1252 OH-28                                                                                              Unsecured loan repayments
             Milford, OH 45150
                                                                                                                     Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other


      3.7.
             Vaughn Burger                                     June 6, 2022                     $11,629.06           Secured debt
                                                                                                                     Unsecured loan repayments
                                                                                                                     Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other




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      Creditor's Name and Address                             Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                  Check all that apply
      3.8.
             Tri-State Fabricators, Inc.                      June 14,                         $12,395.72           Secured debt
             1146 Ferris Road                                 2022                                                  Unsecured loan repayments
             Amelia, OH 45102
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other


      3.9.
             American Express-Global Merchant                 May 31, 2022                     $33,141.73           Secured debt
             Service                                          ($9,690.55),                                          Unsecured loan repayments
             PO Box 299051                                    June 6, 2022                                          Suppliers or vendors
             Ft. Lauderdale, FL 33329-9051                    ($11,520.90)                                          Services
                                                              and June 15,
                                                              2022                                                  Other
                                                              ($11,930.28)
      3.10
      .
           First National Bank of Omaha                       June 6, 2022                    $198,662.14           Secured debt
             PO Box 2818                                      ($10,000.00),                                         Unsecured loan repayments
             Omaha, NE 68103-2818                             June 13,                                              Suppliers or vendors
                                                              2022                                                  Services
                                                              ($10,000.00),
                                                              and June 15,                                          Other
                                                              2022
                                                              ($178,662.14)
      3.11
      .
           Fifth Third Bank                                   May 25, 2022                    $320,371.42           Secured debt
             38 Fountain Square Plaza                         ($110,659.95)                                         Unsecured loan repayments
             Cincinnati, OH 45202                             and June 15,                                          Suppliers or vendors
                                                              2022                                                  Services
                                                              ($209,711.47)
                                                                                                                    Other


      3.12
      .
           Wine Master Cellars                                May 31, 2022                     $11,297.11           Secured debt
             4690 Joliet St.                                                                                        Unsecured loan repayments
             Denver, CO 80239                                                                                       Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other


      3.13
      .
           Paxton Hardwoods                                   May 27, 2022                     $14,311.16           Secured debt
             PO BOX 74007371                                                                                        Unsecured loan repayments
             Chicago, IL 60674-7371
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other


      3.14
      .
           Willits Redwood Company                            May 31, 2022                     $24,660.04           Secured debt
             222 Franklin Ave.                                                                                      Unsecured loan repayments
             Willets, CA 95490
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other


      3.15
      .
           California Department of Tax and Fee               May 25, 2022                     $39,449.11           Secured debt
             Ad                                               ($8,000.00)                                           Unsecured loan repayments
             PO Box 942879                                    and June 15,                                          Suppliers or vendors
             Sacremento, CA 94279-0001                        2022                                                  Services
                                                              ($31,449.11)
                                                                                                                    Other



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      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.16
      .
           Georgia Department of Revenue                           June 21,                           $9,874.45          Secured debt
             1800 Century BLVD NE                                  2022                                                  Unsecured loan repayments
             Atlanta, GA 30345                                                                                           Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.17
      .
           Duke Energy                                             June 6, 2022                     $25,481.74           Secured debt
             PO Box 1094                                           ($17,190.91)                                          Unsecured loan repayments
             Charlotte, NC 28201-1094                              and July 21,                                          Suppliers or vendors
                                                                   2022
                                                                                                                         Services
                                                                   ($8,290.83)
                                                                                                                         Other


      3.18
      .
           Moxisoft Solutions                                      July 5, 2022                     $17,040.00           Secured debt
             3819 Eastern Avenue                                   ($8,520.00)                                           Unsecured loan repayments
             Cincinnati, OH 45226                                  and July 21,                                          Suppliers or vendors
                                                                   2022
                                                                                                                         Services
                                                                   ($8,520.00)
                                                                                                                         Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.   James L. Deckebach                                    August 31,                         Unknown          Transferred ownership of
             2493 Erie Avenue                                      2021                                                James L. Deckebach #2 LLC to
             Cincinnati, OH 45208                                                                                      James L. Deckebach. James L.
             Owner                                                                                                     Deckebach #2 LLC owns
                                                                                                                       certain trademarks used in the
                                                                                                                       Debtor's business.

      4.2.   Johnstone Supply                                      August 26,                         $7,871.05
             1640 E. Kemper Road                                   2021
             Cincinnati, OH 45246

      4.3.   Johnstone Supply                                      September 2,                       $1,453.10
             1640 E. Kemper Road                                   2021
             Cincinnati, OH 45246

      4.4.   Johnstone Supply                                      September 9,                       $5,487.61
             1640 E. Kemper Road                                   2021
             Cincinnati, OH 45246

      4.5.   Johnstone Supply                                      September                        $14,032.13
             1640 E. Kemper Road                                   16, 2021
             Cincinnati, OH 45246

      4.6.   Johnstone Supply                                      September                          $6,730.33
             1640 E. Kemper Road                                   23, 2021
             Cincinnati, OH 45246



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      Insider's name and address                           Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.7.   Johnstone Supply                              September                          $7,766.21
             1640 E. Kemper Road                           27, 2021
             Cincinnati, OH 45246

      4.8.   Johnstone Supply                              October 14,                        $8,713.98
             1640 E. Kemper Road                           2021
             Cincinnati, OH 45246

      4.9.   Johnstone Supply                              October 18,                        $9,765.37
             1640 E. Kemper Road                           2021
             Cincinnati, OH 45246

      4.10 Johnstone Supply                                October 28,                        $8,062.88
      .    1640 E. Kemper Road                             2021
             Cincinnati, OH 45246

      4.11 Johnstone Supply                                November 1,                        $6,773.90
      .    1640 E. Kemper Road                             2021
             Cincinnati, OH 45246

      4.12 Johnstone Supply                                November                           $3,593.08
      .    1640 E. Kemper Road                             15, 2021
             Cincinnati, OH 45246

      4.13 Johnstone Supply                                November                             $936.57
      .    1640 E. Kemper Road                             22, 2021
             Cincinnati, OH 45246

      4.14 Johnstone Supply                                December 2,                      $13,335.75
      .    1640 E. Kemper Road                             2021
             Cincinnati, OH 45246

      4.15 Johnstone Supply                                December 9,                        $7,472.27
      .    1640 E. Kemper Road                             2021
             Cincinnati, OH 45246

      4.16 Johnstone Supply                                December                           $7,878.58
      .    1640 E. Kemper Road                             16, 2021
             Cincinnati, OH 45246

      4.17 Johnstone Supply                                December                         $10,810.93
      .                                                    20, 2021

      4.18 Johnstone Supply                                December                           $2,131.70
      .    1640 E. Kemper Road                             27, 2021
             Cincinnati, OH 45246

      4.19 Johnstone Supply                                January 6,                         $8,641.45
      .    1640 E. Kemper Road                             2022
             Cincinnati, OH 45246

      4.20 Johnstone Supply                                Janaury 10,                      $14,404.66
      .    1640 E. Kemper Road                             2022
             Cincinnati, OH 45246

      4.21 Johnstone Supply                                January 20,                        $6,420.99
      .    1460 E. Kemper Road                             2022
             Cincinnati, OH 45246

      4.22 Johnstone Supply                                January 24,                        $9,335.61
      .    1640 E. Kemper Road                             2022
             Cincinnati, OH 45246

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Debtor      WINE CELLAR INNOVATIONS, LLC                                                Case number (if known) 1:22-bk-11315



      Insider's name and address                           Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.23 Johnstone Supply                                February 3,                        $8,270.83
      .    1640 E. Kemper Road                             2022
             Cincinnati, OH 45246

      4.24 Johnstone Supply                                February 7,                        $9,888.30
      .    1640 E. Kemper Road                             2022
             Cincinnati, OH 45246

      4.25 Johnstone Supply                                February 14,                       $5,280.33
      .    1640 E. Kemper Road                             2022
             Cincinnati, OH 45246

      4.26 Johnstone Supply                                February 21,                     $15,014.02
      .    1640 E. Kemper Road                             2022
             Cincinnati, OH 45246

      4.27 Johnstone Supply                                March 10,                          $5,555.18
      .    1640 E. Kemper Road                             2022
             Cincinnati, OH 45246

      4.28 Johnstone Supply                                March 17,                        $10,034.43
      .    1640 East Kemper Road                           2022
             Cincinnati, OH 45246

      4.29 Johnstone Supply                                March 24,                          $4,293.44
      .    1640 E. Kemper Road                             2022
             Cincinnati, OH 45246

      4.30 Johnstone Supply                                March 31,                        $11,076.85
      .    1640 E. Kemper Road                             2022
             Cincinnati, OH 45246

      4.31 Johnstone Supply                                April 7, 2022                      $6,403.64
      .    1640 E. Kemper Road
             Cincinnati, OH 45246

      4.32 Johnstone Supply                                April 14,                        $15,482.81
      .    1640 E. Kemper Road                             2022
             Cincinnati, OH 45246

      4.33 Johnstone Supply                                April 21,                          $7,923.89
      .    1640 E. Kemper Road                             2022
             Cincinnati, OH 45246

      4.34 Johnstone Supply                                April 28,                        $10,082.11
      .    1640 E. Kemper Road                             2022
             Cincinnati, OH 45246

      4.35 Johnstone Supply                                May 5, 2022                        $6,332.71
      .    1640 E. Kemper Road
             Cincinnati, OH 45246

      4.36 Johnstone Supply                                May 9, 2022                        $7,637.88
      .    1640 E. Kemper Road
             Cincinnati, OH 45246

      4.37 Heartland                                       September                          $1,897.99
      .                                                    23, 2021

      4.38 Heartland                                       December                           $2,551.01
      .                                                    30, 2021


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      Insider's name and address                          Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.39 Heartland                                      January 5,                         $4,750.00
      .                                                   2022

      4.40 Heartland                                      March 2,                             $125.00
      .                                                   2022

      4.41 Heartland                                      April 22,                            $350.00
      .                                                   2022

      4.42 Heartland                                      May 16, 2022                       $8,901.85
      .

      4.43 Heartland                                      May 25, 2022                       $8,901.85
      .

      4.44 Heartland                                      June 3, 2022                       $2,800.00
      .

      4.45 Heartland                                      June 16,                             $138.28
      .                                                   2022

      4.46 Heartland                                      June 16,                           $1,237.31
      .                                                   2022

      4.47 Heartland                                      June 16,                           $1,255.67
      .                                                   2022

      4.48 Heartland                                      June 16,                           $1,500.00
      .                                                   2022

      4.49 Heartland                                      June 16,                           $1,500.12
      .                                                   2022

      4.50 Heartland                                      June 16,                           $1,949.25
      .                                                   2022

      4.51 Heartland                                      June 16,                           $2,428.89
      .                                                   2022

      4.52 Heartland                                      June 16,                           $3,817.99
      .                                                   2022

      4.53 Heartland                                      June 16,                           $3,885.97
      .                                                   2022

      4.54 Heartland                                      June 16,                           $4,200.72
      .                                                   2022

      4.55 Heartland                                      June 16,                           $4,254.05
      .                                                   2022

      4.56 Heartland                                      June 16,                           $5,000.00
      .                                                   2022

      4.57 Heartland                                      June 16,                           $6,087.02
      .                                                   2022

      4.58 Heartland                                      June 16,                           $7,667.22
      .                                                   2022

      4.59 Heartland                                      June 16,                           $7,999.38
      .                                                   2022


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      Insider's name and address                          Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.60 Heartland                                      June 16,                           $8,000.00
      .                                                   2022

      4.61 Heartland                                      June 17,                               $77.80
      .                                                   2022

      4.62 Heartland                                      June 17,                             $125.69
      .                                                   2022

      4.63 Heartland                                      Juen 17,                           $4,028.55
      .                                                   2022

      4.64 Heartland                                      June 17,                           $5,500.00
      .                                                   2022

      4.65 Heartland                                      June 17,                           $8,941.65
      .                                                   2022

      4.66 Heartland                                      June 17,                         $14,717.69
      .                                                   2022

      4.67 Heartland                                      June 17,                         $22,479.55
      .                                                   2022

      4.68 Heartland                                      June 17,                           $8,000.00        Return NSF
      .                                                   2022

      4.69 Heartland                                      June 17,                           $7,999.38        Return NSF
      .                                                   2022

      4.70 Heartland                                      June 21,                             $339.22
      .                                                   2022

      4.71 Heartland                                      June 21,                           $1,695.00
      .                                                   2022

      4.72 Heartland                                      June 21,                           $1,727.06
      .                                                   2022

      4.73 Heartland                                      June 21,                           $1,840.77
      .                                                   2022

      4.74 Heartland                                      June 21,                           $1,845.43
      .                                                   2022

      4.75 Heartland                                      June 21,                           $2,408.45
      .                                                   2022

      4.76 Heartland                                      June 21,                           $2,845.00
      .                                                   2022

      4.77 Heartland                                      June 21,                           $3,430.54
      .                                                   2022

      4.78 Heartland                                      June 21,                           $3,613.49
      .                                                   2022

      4.79 Heartland                                      June 21,                           $4,100.00
      .                                                   2022

      4.80 Heartland                                      June 21,                           $5,250.00
      .                                                   2022

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      Insider's name and address                          Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.81 Heartland                                      June 21,                           $5,513.94
      .                                                   2022

      4.82 Heartland                                      June 21,                           $5,800.00
      .                                                   2022

      4.83 Heartland                                      June 21,                           $6,500.00
      .                                                   2022

      4.84 Heartland                                      June 21,                           $7,500.00
      .                                                   2022

      4.85 Heartland                                      June 21,                         $11,716.33
      .                                                   2022

      4.86 Heartland                                      June 21,                         $13,000.00
      .                                                   2022

      4.87 Heartland                                      June 21,                           $8,941.65        Return NSF
      .                                                   2022

      4.88 Heartland                                      June 21,                         $22,479.55         Return NSF
      .                                                   2022

      4.89 Heartland                                      June 21,                           $5,500.00        Return NSF
      .                                                   2022

      4.90 Heartland                                      June 21,                         $14,717.69         Return NSF
      .                                                   2022

      4.91 Heartland                                      June 21,                         $21,650.00         Return NSF
      .                                                   2022

      4.92 Heartland                                      June 22,                             $336.23
      .                                                   2022

      4.93 Heartland                                      June 22,                           $1,354.08
      .                                                   2022

      4.94 Heartland                                      June 22,                           $2,873.07
      .                                                   2022

      4.95 Heartland                                      June 22,                           $6,566.70
      .                                                   2022

      4.96 Heartland                                      June 22,                           $7,000.00
      .                                                   2022

      4.97 Heartland                                      June 22,                           $1,695.00        Return NSF
      .                                                   2022

      4.98 Heartland                                      June 22,                           $1,727.06        Return NSF
      .                                                   2022

      4.99 Heartland                                      June 22,                           $1,840.77        Return NSF
      .                                                   2022

      4.10 Heartland                                      June 22,                           $1,845.43        Return NSF
      0.                                                  2022

      4.10 Heartland                                      June 22,                           $2,408.45        Return NSF
      1.                                                  2022

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      Insider's name and address                          Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.10 Heartland                                      June 22,                           $2,845.00        Return NSF
      2.                                                  2022

      4.10 Heartland                                      June 22,                           $3,430.54        Return NSF
      3.                                                  2022

      4.10 Heartland                                      June 22,                           $3,613.49        Return NSF
      4.                                                  2022

      4.10 Heartland                                      June 22,                           $4,100.00        Return NSF
      5.                                                  2022

      4.10 Heartland                                      June 22,                           $5,250.00        Return NSF
      6.                                                  2022

      4.10 Heartland                                      June 22,                           $5,513.94        Return NSF
      7.                                                  2022

      4.10 Heartland                                      June 22,                           $5,800.00        Return NSF
      8.                                                  2022

      4.10 Heartland                                      June 22,                           $6,500.00        Return NSF
      9.                                                  2022

      4.11 Heartland                                      June 22,                           $7,500.00        Return NSF
      0.                                                  2022

      4.11 Heartland                                      June 22,                         $11,716.33         Return NSF
      1.                                                  2022

      4.11 Heartland                                      June 22,                         $13,000.00         Return NSF
      2.                                                  2022

      4.11 Heartland                                      June 23,                           $1,354.08        Return NSF
      3.                                                  2022

      4.11 Heartland                                      June 23,                           $2,873.07        Return NSF
      4.                                                  2022

      4.11 Heartland                                      June 23,                           $6,566.70        Return NSF
      5.                                                  2022

      4.11 Heartland                                      June 23,                           $7,000.00        Return NSF
      6.                                                  2022

      4.11 Heartland                                      June 27,                         $77,230.09         Return NSF
      7.                                                  2022

      4.11 Heartland                                      June 24,                         $77,230.09
      8.                                                  2022

      4.11 Heartland Processing                           September 1,                     $20,998.61
      9.                                                  2021

      4.12 Heartland Processing                           October 3,                       $21,620.33
      0.                                                  2021

      4.12 Heartland Processing                           November 1,                      $21,223.44
      1.                                                  2021

      4.12 Heartland Processing                           December 1,                      $22,777.38
      2.                                                  2021

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      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.12 Heartland Processing                                    February 1,                      $21,569.17
      3.                                                           2022

      4.12 Heartland Processing                                    March 1,                         $26,234.99
      4.                                                           2022

      4.12 Heartland Processing                                    May 1, 2022                      $29,271.26
      5.

      4.12 Heartland Processing                                    May 2, 2022                      $35,705.08
      6.

      4.12 Heartland Transaction Fees                              May 23, 2022                       $5,411.52
      7.

      4.12 Hearland Processing                                     June 1, 2022                     $30,991.82
      8.

      4.12 AMEX                                                    June 23,                           $7,023.92          Return NSF
      9.                                                           2022

      4.13 AMEX                                                    June 23,                        $113,976.37           Return NSF
      0.                                                           2022

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Diorio Forest Products Inc. v.                                        Hanover General District                      Pending
             Wine Cellar Innovations, LLC                                          Court                                         On appeal
             V22-2282                                                              7530 County Complex Road
                                                                                                                                 Concluded
                                                                                   PO Box 176
                                                                                   Hanover, VA 23069

      7.2.   Johnstone Supply v. Wine                                              Common Pleas Court,                           Pending
             Cellar Innovations, LLC                                               Hamilton, County, OH                          On appeal
             A-2202561
                                                                                                                                 Concluded


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             Case title                               Nature of case               Court or agency's name and                 Status of case
             Case number                                                           address
      7.3.   Paxton Hardwoods v. Wine                                              Common Pleas Court,                           Pending
             Cellar Innovations, LLC                                               Hamilton County OH                            On appeal
             A-2202626
                                                                                                                                 Concluded

      7.4.   In Re Sharon Reinecke                    Ohio Industrial              Bureau of Worker's                            Pending
             Claim No. 21-135688                      Commission                   Compensation                                  On appeal
                                                                                   125 East Court Street
                                                                                                                                 Concluded
                                                                                   Room 3; 6th Floor
                                                                                   Cincinnati, OH 45202

      7.5.   Sullivan Builders, Inc. v. Wine          Breach of contract           Hamilton County Small                         Pending
             Cellar Innovations                                                    Claims Court                                  On appeal
             22CV20009
                                                                                                                                 Concluded

      7.6.   Milan Magera DBA Tatra                   Breach of contract           Hamilton County Small                         Pending
             Services LLC v. Wine Cellar                                           Claims Court                                  On appeal
             Innovations
                                                                                                                                 Concluded
             22CV15509

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address             Description of the gifts or contributions                 Dates given                             Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                  Dates of loss                Value of property
      how the loss occurred                                                                                                                               lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address
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               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Cohen, Todd, Kite & Stanford,
               LLC
               250 East Fifth Street
               Suite 2350                                                                                              August 24,
               Cincinnati, OH 45202-5136                 Attorney Fees                                                 2022                      $10,917.00

               Email or website address


               Who made the payment, if not debtor?




      11.2.    Cohen, Todd, Kite & Stanford,
               LLC
               250 East Fifth Street
               Suite 2350                                                                                              August 30,
               Cincinnati, OH 45202-5136                 Attorney Fees                                                 2022                      $20,000.00

               Email or website address


               Who made the payment, if not debtor?
               James L. Deckebach



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

         None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

         None.

              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value
      13.1 Cincy Lift Truck                            2 Forlifts: Hyster H60FT Serial:
      .    7685 State Route 48, Suite 5                L177V14329L and Caterpillar 2P5000
              Maineville, OH 45039                     Serial: AT3540819                                         August 1, 2022                   Unknown

              Relationship to debtor
              Vendor




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             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value
      13.2                                             All existing inventory of the Revue metal
      .                                                wine racks, along with instruction
                                                       manuals, hardware, skid boxes for
                                                       shipping, and light foam used in shipping
             Tris-State Fabricators, Inc.              process. Estimated value of finished                       Around August
                                                       product is approximately $30,000.00.                       2022                                 $0.00

             Relationship to debtor
             Vendor


      13.3                                             Paxton Hardwoods picked up all raw
      .    Paxton Hardwoods                            material, lumber inventory that was at
             PO BOX 74007371                           debtor's facility and issued credits in
             Chicago, IL 60674-7371                    some amount to debtor.                                     July 2022                      Unknown

             Relationship to debtor
             Vendor


 Part 7:     Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,

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    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.    Stock Yards Bank & Trust                 XXXX-1562                     Checking                                                         $230.71
               101 West 4th Street                                                    Savings
               Cincinnati, OH 45202
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other

      18.2.    North Side Bank & Trust                  XXXX-1578                     Checking                                                     $69,912.62
               4125 Hamilton Avenue                                                   Savings
               Cincinnati, OH 45223
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other

      18.3.    Fifth Third Bank                         XXXX-2853                     Checking                                                            $0.00
               Cincinnati, OH                                                         Savings
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
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     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    James L. Deckebach, LTD                  Predecessor to Wine Cellar                        EIN:         XX-XXXXXXX
            4575 Eastern Avenue                      Innovations, LLC
            Cincinnati, OH 45226                                                                       From-To      July 25, 2003

   25.2.    Wine Rack Superstore                     d/b/a operation of debtor                         EIN:
            4575 Eastern Avenue
            Cincinnati, OH 45226                                                                       From-To



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To




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      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Karl Dostal
                    MCM CPAs and Advisors
                    201 East Fifth Street
                    Suite 2100
                    Cincinnati, OH 45202

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      James L. Deckebach                      2493 Erie Avenue                                    President                                 100
                                              Cincinnati, OH 45208



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value


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             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1                                                                                                       Periodic
      .                                                                                                          payments
                                                                                                                 from debtor to
                                                                                                                 Mr.
                                                                                                                 Deckebach
                                                                                                                 between
             James L. Deckebach                                                                                  August 27,
             2493 Erie Avenue                                                                                    2021 and
             Cincinnati, OH 45208                      $392,780.16                                               June 14, 2022.

             Relationship to debtor
             Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:     Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         November 11, 2022

/s/ James L. Deckebach                                          James L. Deckebach
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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